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Study No. 15 - Gabapentin vs. Morphine vs. (Gapabentin + Morphine) vs. Placebo for PDPN and PHN - Gilron Study Detailed Summary –K. Innes, TL Perry, M.D., July 27, 2008 – FINAL VERSION



                                                       STUDY NO. 15 - STUDY DETAIL SUMMARY AND ANALYSIS: GILRON, NEJM 2005
                                                                                                                                                                                             July 27, 2008 – FINAL VERSION

All information in the following document was taken from the article Morphine, Gabapentin, or Their Combination for Neuropathic Pain, published by Ian Gilron, M.D., et al in the March 31st, 2005 issue of the New
England Journal of Medicine (Volume 352, issue 13). The PowerPoint slides contain no information which is not already included in the report.

To be included in the efficacy analysis in this study, a patient had to complete at least two rounds of treatment. Therefore, included in the efficacy analysis were 3 patients who withdrew sometime after completing two
treatment periods.

This study did not report a number of important values.
• First of all, what constituted compliance for this particular study is not defined anywhere in this report and the degree of compliance or adherence to the study protocol has not been included. It is unclear whether
    or not compliance was even monitored.
• Mortality is not mentioned and neither are serious adverse events.
• The number of withdrawals due to adverse events is also unclear (see table for details)

Adverse events were only mentioned in this report if they were moderate to severe and had and incidence of greater than 5% for any treatment.
• No definition is given as to what would constitute a moderate to severe adverse event.
• Adverse events were compared only with active placebo (lorazepam) and with the Gabapentin-morphine combination treatment, and, the nature of the significance is unclear (see table for details).

This study employed an active placebo, lorazepam, which has been shown to induce sedation but not analgesia. This could potentially reduce the period effects seen in other Gabapentin/placebo studies, which were
most likely caused by unblinding due to the sedative effects of Gabapentin. In fact, the statistical analysis in this study demonstrated no significant period effects. Furthermore, during each treatment period, a
“blinding” questionnaire was completed by both patients and research nurses in order to gauge which treatments the patients and their research nurses thought they were receiving which is another interesting way to
assess the degree of unblinding. However, although the results of the questionnaire are reported, the paper offers little interpretation.

This study has inappropriately used Standard Error. The preferred presentation of descriptive statistics in a clinical trial is mean + SD; the preferred presentation of an estimate and its precision is mean and 95%
confidence interval. Presenting the estimate and its precision as the mean + standard error, as is done in this paper, is discouraged because it is commonly confused with the mean + standard deviation but standard
error is always smaller (usually substantially so) than the standard deviation and can therefore be misleading. Since this report is not very clear on the numbers of patients used for specific analyses, it is difficult, if not
impossible, to determine the standard deviation from the standard error in this case and therefore difficult to make any comparisons independently.

Numerical values for the baseline pain intensity for each sequence group, or for new baselines at end of treatment phase washouts, are not reported. They are only represented visually in Figure 2A such that one can
estimate them. This makes it impossible to assess precisely the change in pain intensity from original baseline or each new post-washout baseline for each treatment sequence group.




                                                                                                                                                                                                                            1 of 1
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Related to the above paragraph, although Table 2 on page 1332 of this report reports the scores of the short-form McGill pain questionnaire (MPQ), the Brief Pain Inventory (BPI), Medical Outcomes Study 36-Item
Short Form General Health Survey (SF-36), and Beck Depression Inventory (BDI), the table only provides standard error, and not standard deviation or the number of patients in each assessment. The standard
deviation of the differences between baseline and treatment for each patient is also not provided making it impossible to assess the change from baseline.

Extremely odd is the fact that the standard errors reported in Table 2 for MPQ, and BPI are identical for the baseline, active placebo (lorazepam), Gabapentin, morphine, and combination groups; furthermore, for the
SF-36. In fact, the standard errors in each row of this table are identical or nearly identical for all treatment groups.

With regard to the titration schedule, for the first three weeks of each five-week treatment period, the dose was escalated towards a maximal tolerated dose or a target ceiling dose, whichever was reached first. The
target ceiling dose for Gabapentin treatment alone was 3200 mg / day; however, the mean maximal tolerated dose was 2207 mg / day (SE = 89 mg) which appears to reinforce findings of other studies that Gabapentin
is less tolerable at high does (has dose-dependent toxicity).

The dosing schedule may artificially discriminate against morphine (at least for efficacy) insofar as the relative reduction in target/ceiling dose is more for morphine than for Gabapentin in older patients (> half of those
randomized) and during the combination (M + G) phases of crossover treatment. The reduced mean dose of morphine used in the (M + G) combination group may be at least partly an artefact of the trial design, which
allowed 50% lower ceiling doses of morphine in this arm.

The report does not provide any information on the age of completers, so it is not possible to know whether older patients responded differently to any treatment than younger ones, or how doses compared in younger
vs. older patients.

Careful inspection of the red or azure curves for week-by-week pain scores in Figure 2A suggests that at least in 2/4 sequence groups including 23/43 of the completing patients, gabapentin had no analgesic effect. A
new figure created at the end of this document attempts to compare the treatment groups more directly by combining imputed pain score measurements (obtained by interpolation from Figure 2A) for all patients in the
“completer” analysis who were exposed to each treatment. This provides an alternative way of looking at the data, which may clarify the relative effects on pain of active placebo (lorazepam), gabapentin, morphine,
and (morphine + gabapentin) in this experiment.




                                                                                                                                                                                                                        2 of 2
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Study / Design /             Inclusion Criteria /      Intervention(s), Experimental Design,     Predefined Outcomes / Issues in                        Outcomes Hierarchy (Cochrane,              Comments / Conclusions of
Dates                        Baseline                  N of Subjects Randomized (ITT) / N        Statistical Analysis                                   investigators: primary / secondary)        Kelsey Innes/ TL Perry, M.D.
                             Characteristics           Who Completed Study
Published:                   PDPN and PHN              Patient Flow                              Analysis                                               1. Mortality: not reported                 1. Design of trial with
Gilron I, Bailey JM et al.                             Figure 1: Enrolment, Randomization,       •   40 patients for 80% power to detect a 2-                                                         disproportionally reduced
Morphine, Gabapentin,        Baseline                  Withdrawals, and Completion of the Four       sided alpha of 0.05 a mean difference in           2. Serious Adverse Events: not reported       target/ceiling dose of
or their Combination for     Characteristics:          Treatment Periods (P. 1329)                                                                                                                    morphine vs. Gabapentin
                                                                                                     pain intensity at week 4 among the
Neuropathic Pain.            • See page 1325                                                         treatments that was equivalent to 1 point on       3. Withdrawals Due to Adverse Events:         (50% less for M, 25% less
N Engl J Med 2005;                                                                                   a scale from 0 – 10.                               • 3 patients WDAE in total                    for G) for older patients (>
352:1324 – 34.               DPN:                                                                •   Was estimated that if 58 enrolled, 40 would        • 2 assigned to the sequence G, M,            half of all patients – Table 1
                             • Distal symmetric,                                                     complete all 4 treatment periods.                      GM, P withdrew after completing two       median age, p. 1330) and
Support: Independent,           sensory diabetic                                                 •   Had to complete at least two treatment                 treatment periods so assume               disproportionately reduced
Canadian Institutes of          polyneuropathy as                                                                                                           withdrew during combination               target/ceiling morphine dose
                                                                                                     periods to be included in efficacy analysis
Health Research.                determined on the                                                                                                           treatment (in period C)                   (50% less for M vs. 25%
Pfizer supplied                                                                                  •   Linear mixed model with drug regimen,                                                            less for G) for combination
                                basis of their
                                                                                                     sequence, treatment period, and first-order        • 1 assigned to the sequence M, P, G,
Gabapentin (Neurontin)          medical history                                                                                                             GM withdrew after completing three        therapy produced (not-
but had no other input                                                                               carryover effect were fitted with pain                                                           unexpectedly) the lower
                                and…                                                                                                                        periods, so again, assume withdrawal
to study. Lead author                                                                                intensity data.                                                                                  mean doses of M and G
                             • Either an                                                                                                                    during combination treatment.
and 1 other author              unequivocal                                                                                                             • Most common adverse events                  used in combination group,
report membership on                                                                             Sensitivity analysis (by each treatment                                                              and may have reduced the
                                decrease in                                                      period):                                                   included Constipation, Sedation and
Pfizer paid advisory            response to                                                                                                                 Dry Mouth.                                apparent efficacy of M (or
board or research                                                                                “The level of change in the intensity of pain                                                        MG combination) groups vs.
                                pinprick,                                                        during each treatment period was calculated as         • Note that figure 1, p. 1329
support from Pfizer.            temperature, or                                                                                                             suggests that there were 14               active placebo (lorazepam).
                                                       •   86 were screened, 29 excluded, 57     the difference between the score for pain at
                                vibration or absent                                                                                                         withdrawals before the end of             Clinical significance of AE
                                                           randomized and 16 withdrew during     baseline (mean of last 3 days before period A or
Study Design:                   ankle jerk reflexes.                                                                                                        Treatment Period B but states at p.       from morphine-induced
                                                           treatment periods                     ? last 3 days of washout periods) and the scores
Randomized, double-                                                                                                                                         1328 text that 13 withdrew during         constipation hard to weight
                                                           o 13 before completing second         for pain during treatment (mean of last 3 days at
blind, active placebo-       PHN:                                                                                                                           the same period                           against other AE.
                                                                treatment period (B)             maximum tolerated dose)”…% change = change
controlled, four-period      • Had had an                                                                                                                                                             Combining M with G (MG)
                                                           o 3 due to AEs but after completing   in pain score/baseline pain score x 100%. NB:
crossover trial.                eruption of herpes                                                                                                      4. Total Withdrawals (see pt. flow            appears to increase some
                                                                at least 2 treatment periods.    The intent/purpose of this “sensitivity analysis” is
                                zoster rash not                                                                                                         diagram, p. 1329)                             AE vs. G or M alone.
                                                           o 41 completed the trial              not further described, but no difference was
Study Duration: 5               more recently than     Design:                                   found between groups except for combination
weeks.                          six months before                                                                                                       Total Withdrawals: 16
                                                       • Balanced Latin-square design (see       vs. active placebo (lorazepam) (see below and p.
Patients received daily         enrolment.                                                                                                              • Active placebo (lorazepam): 1 of 44      2. Trial employed use of an
                                                           table below)                          1328, p. 1330 discussion).
active placebo,                                                                                                                                             (2.27%) who started active placebo        active placebo, lorazepam.
lorazepam, (P),                                                                                                                                                                                       This was intended to reduce




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sustained-release          Inclusion Criteria                       M       P       G     GM            Primary Outcome Measure                                 (lorazepam) treatment.                        the potential period effects
morphine (M),                                                       P      GM       M      G                                                                    o During Treatment period B                   which have occurred in
Gabapentin (G), or a       •   Daily moderate                       G       M      GM      P            Mean Daily Pain Intensity (PI) in Patients          •   Gabapentin: 4 of 48 (8.33%) who               other studies, by preventing
combination of                 pain for three                      GM       G       P      M            Receiving a Maximal Tolerated Dose:                     began treatment with Gabapentin               unblinding. This drug also
Gabapentin and                 months or more        •        Notice that you have one of each of M,                                                            o 3 during treatment period A                 employed a blinding
Morphine (GM), not         •   Age of 18-89 years             P, G and GM in each row and column        •   Figure 2A Mean Weekly Pain shows weekly             o 1 during Treatment period B                 questionnaire to assess
necessarily in that        •   Serum alanine         •        Latin Square (LS) designs make it             mean scores for daily pain intensity            •   Morphine: 5 of 49 (10.20%) of those           which treatments the
order, each given orally       aminotransferase               possible to assign the order of the           throughout the trial for each of the four           who began treatment with morphine.            patients and the research
for 5 weeks.                   or aspartate                   treatments to subjects to avoid               treatment sequences. It was too large for           o 4 in treatment period A                     nurse thought the patients
                               aminotransferase               confounding treatment conditions with         this column and is therefore found at the           o 1 in treatment period B                     were receiving and was
Study Number: N/A              level less than 1.2            order                                         end of this document.                           •   Gabapentin-Morphine: 6 of 47                  completed by both patients
(independent)                  times the normal      •        LS designs also enable the                •   Another figure was created using figure 2A          (12.77%) who began the combination            and the nurse when the
                               level                          independent assessment of condition           which combines all of the treatment periods.        treatment.                                    patients were taking the
Protocol approved by       •   Creatinine level               and order.                                    (See appendix 1).                                   o 4 in treatment period A                     maximal tolerated dose of
an institutional ethics        less than 1.5 times                                                      •   Mean intensity of pain on a scale from 0 –          o 1 in treatment period C                     the assigned study drug. It
                                                     •        P. 1325-26 describes random allocation
review board.                  the upper limit of                                                           10.                                                 o 1 in treatment period D                     is less clear how to interpret
                                                              of patients to treatment order.
                               the normal range                                                             o 0 = no pain, 10 = worst pain ever                                                               the findings regarding
Patients recruited         •   Sufficient language                                                          o Ratings averaged over 7 days in which         5. Total Adverse Events: not reported             blinding/unblinding.
                                                     Treatment Regimen
between February 2001          skills to                                                                         the patients were receiving the maximal    • Table 3 on p. 1333 lists adverse
                                                     • Medication placed in blue and grey
and November 2003.             communicate with                                                                  tolerated dose of the study drug.              events in percentages with no             3. This study inappropriately
                                                         capsules, blue capsules twice daily,
                               research staff                                                           •   P. 1333 in discussion notes surprise that           associated numbers for each group.           used Standard Error for
                                                         grey capsules 3X daily. See table below
Test of unblinding:                                                                                         Gabapentin did not produce significantly            Since it is not specified where during       presentation of descriptive
                                                         and p. 1326.
YES                        Exclusion Criteria                                                               better results than active placebo                  a given treatment period a specific          statistics, except in Table 1
                           • Hypersensitivity to                                                            (lorazepam) with regard to this primary             patient dropped out, it is difficult to      (baseline characteristics).
                                                         Tx       Blue               Grey
                               study medications                  30 mg, SR                                 outcome. (See new figure plotted by K.              determine the numbers associated             The preferred presentation
                                                         M                           Lactose placebo                                                            with each percentage                         of the descriptive statistics is
                           • Another painful                      morphine                                  Innes summarizing effects for all patients by
                               condition as severe                15 mg SR           300 mg                 treatment, shown separately at end of this                                                       mean + SD. The preferred
                                                         GM                                                                                                                                                  presentation of an estimate
                               as the DPN/PHN                     morphine           Gabapentin             table after original Figure 2(A) from Gilron)   Gabapentin:
                                                                                     400 mg             •   Note: “mean pain intensity” is analogous to                                                      and its precision is mean
                           • Any recent                  G        Lactose placebo
                                                                                     Gabapentin             “NRS pain scale” in other studies               Dose Titration (Weeks 1-3)                       and 95% CI. The standard
                               myocardial
                                                                  0.2 mg             0.1 mg                                                                 The following adverse events occurred for        error is smaller than the SD
                               infarction (doesn’t       P
                                                                  lorazepam          lorazepam
                                                                                                        Active placebo (lorazepam)                          those taking Gabapentin during titration         always and is therefore
                               specify how recent)
                                                                                                        Mean PI at Week 4: 5.72                             and were significantly less compared to          misleading. Presenting an
                           • Unstable angina or
                                                     •        Target daily dose ceilings (see p. 1326                                                                                                        estimate and its precision as




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                    congestive heart           or table below)                             SE : 0.23                                         the Gabapentin morphine combination              the mean + SE, as is done
                    failure                    o Certain adjustments made for                                                                treatment. (p < 0.05)                            in this paper, is usually
                •   Any central                     those over 60 and those weighing       Gabapentin:                                       • Constipation 4.2% (20.9% for GM)               discouraged because it is
                    neurologic disorder             less than 60 kg (see p. 1326)          Mean PI at Week 4: 4.49                           • Sedation 10.4%, (20.9% for GM)                 commonly confused with the
                    (including seizures)       Tx         Target Daily Dose Ceiling        SE: 0.34                                          • Dry Mouth 8.3% (20.9% for GM)                  mean + SD. Furthermore,
                •   A serious mood             M                   120 mg                                                                                                                     mean + SE is not a 95%
                    disorder                                  Morphine: 60 mg              Morphine:                                         Significantly less compared to active            confidence interval as is
                                               GM
                                                            Gabapentin: 2400 mg            Mean PI at Week 4: 3.70                                                                            almost inferred here.
                •   A history of serious                                                                                                     placebo (lorazepam) (p < 0.05)
                                               G                  3200 mg                  SE: 0.34                                                                                           • This is particularly
                    drug or alcohol                                                                                                          • Insomnia (4.2%), (25.6% for active
                                               P             Lorazepam: 1.6 mg                                                                                                                      frustrating in this paper
                    abuse                                                                                                                        placebo)
                                           •   For mean tolerated doses and SEs see        Gabapentin-Morphine:                                                                                     as sample sizes for
                •   Pregnancy                                                                                                                • Vomiting (0%) – note that this makes
                                               page 1328.                                  Mean PI at Week 4: 3.06                                                                                  efficacy variables (e.g.,
                •   Lactation                                                                                                                    no sense since vomiting for placebo
                                           •   NB: the design virtually guarantees         SE: 0.33                                                                                                 MPQ, BPI, etc.) are not
                •   Lack of a primary                                                                                                            was also 0%
                                               that patients in combination phases                                                                                                                  given and it cannot be
                    care physician.
                                               will take a lower mean dose of M and        •    Pain treated with GM combination was lower                                                          assumed that all
                                                                                                                                             At Maximal Tolerated Dose, Week 4
                                               G than during M and G phases –                   than with morphine alone (P = 0.04)                                                                 patients were assessed
                Excluded / Permitted                                                                                                         The following adverse events occurred for
                                               results at p. 1328 and Figure 2 (C) are     •    Pain treated with GM combination was lower                                                          for each of these
                Medication                                                                                                                   those taking Gabapentin during week 4 at
                                               pre-determined, not experimental                 than with Gabapentin alone (P < 0.001) or                                                           variables due to
                • Non-opioid drugs                                                                                                           maximal tolerated dose and were
                                               outcomes. (TLP)Titration / Treatment /           active placebo (lorazepam) (P < 0.001)                                                              inconsistencies in the
                    other than                                                                                                               significant compared to the Gabapentin
                                               Washout                                     •    No additional p-values are reported.                                                                sample sizes in for
                    Gabapentin                                                                                                               morphine combination treatment.
                                           •   For first three of five weeks dose                                                                                                                   other endpoints (e.g.
                    permitted at steady                                                                                                      • Constipation 2.1 % (20.9% for GM)
                                               escalated towards max. tolerated dose /     Figure 2B Mean Daily Pain (P. 1331)                                                                      blinding questionnaire,
                    dose throughout                                                                                                          • Edema 0% (9.3 % for GM)
                                               target ceiling dose (whichever hit first)                                                                                                            see below)
                    trial
                                               o See comments
                • Procedural pain              o For details on how max. tolerated
                                                                                                                                             Morphine:
                    therapies                                                                                                                Dose Titration (Weeks 1-3)                   4. With regard to the titration,
                                                    dose was determined see p. 1326 /                                                                                                        for the first 3 weeks of each
                    forbidden.                                                                                                               The following adverse events occurred for
                                                    1327                                                                                                                                     5-week period, the dose was
                • Patients were given                                                                                                        those taking morphine during titration and
                                           •   4 week pt. received maximal
                                                th
                                                                                                                                                                                             escalated toward a maximal
                    docusate sodium                                                                                                          were significantly less compared to active
                                               tolerated dose for particular treatment                                                                                                       tolerated dose or the target
                    (100 – 300 mg per                                                                                                        placebo (lorazepam) treatment. (p < 0.05)
                                           •   5th week – 4-day dose tapering and                                                                                                            ceiling dose, whichever was
                    day) as prophylaxis                                                    •    The above figure shows the mean (+ SE)       • Constipation, 43.2% versus 4.7% for
                                               three-day complete washout.                                                                                                                   reached first. This would
                    against                                                                     daily pain scores during week 4 at the           active placebo (lorazepam).
                                                                                                                                                                                             seemingly allow patients to
                    constipation.                                                               maximal tolerated dose of each regimen.
                                                                                                                                             At Maximal Tolerated Dose, Week 4               maintain only a dose they
                • Sennosides were
                                                                                                                                                                                             were comfortable with,




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                    given (17 – 34 mg                                           Secondary Outcomes:                           The following adverse events occurred for       which would minimize
                    twice daily) to                                             Table 2 from page 1332                        those taking morphine during week 4 at          adverse effects. This is
                    those who                                                                                                 maximal tolerated dose and were                 closer to good clinical
                    developed                                                                                                 significant compared to the Gabapentin          practice, as opposed to the
                    constipation.                                                                                             morphine combination treatment.                 forced titration used in most
                                                                                                                              • Dry mouth 4.6% versus 20.9 % for              other studies.
                                                                                                                                   GM
                                                                                                                                                                          5. The secondary outcome
                                                                                                                              Significant compared to active placebo         measure Global Pain
                                                                                                                              (lorazepam) (P < 0.05)                         Relief, which was assessed
                                                                                                                              • Constipation 38.6% versus 4.7% for           in response to questions
                                                                                                                                   active placebo (lorazepam).               from the research nurse on
                                                                                                                                                                             the following scale: pain
                                                                                                                              Gabapentin-Morphine:                           worse, no relief, slight relief,
                                                                                                                              Dose Titration (Weeks 1-3)                     moderate relief, a lot of
                                                                                                                              The following adverse events occurred for      relief, complete relief. This
                                                                                                                              those taking the Gabapentin-Morphine           scale seems skewed
                                                                                                                              combination during titration and were          towards relief and, it patients
                                                                                                                              significantly less compared to active          experienced worse pain, the
                                                                                Pain (rated according to MPQ)
                                                                                                                              placebo (lorazepam) treatment. (p < 0.05)      degree of “worsening” would
                                                                                • Scale of 0 – 45 with higher numbers                                                        not be captured, in
                                                                                    indicating more severe pain               • Constipation, 44.2% compared to
                                                                                                                                   4.7% on active placebo (lorazepam).       comparison with the
                                                                                • Total scores for GM were lower than…                                                       conventional 7-point PGIC
                                                                                    o P (P < 0.05)                            • Dry mouth, 32.6% versus 2.3 % on
                                                                                                                                   active placebo (lorazepam)                reported in most other
                                                                                    o G (P < 0.05)                                                                           studies.
                                                                                    o M (P < 0.05)                            • Insomnia 2.3% versus 25.6% on
                                                                                                                                   active placebo (lorazepam).            6. Table 2 (p. 1332 ) reports,
                                                                                                                                                                             among other things, the
                                                                                Adverse Effects                                                                              scores on the SF-36 QoL
                                                                                • GM had a higher frequency of constipation   At Maximal Tolerated Dose, Week 4
                                                                                                                              The following adverse events occurred for      questionnaire. They have
                                                                                   than Gabapentin (P = 0.006) but not                                                       only provided standard
                                                                                   morphine                                   those taking the Gabapentin-morphine
                                                                                                                              combination during week 4 at maximal           error, not standard
                                                                                • GM higher incidence of dry mouth than                                                      deviation. It is also
                                                                                                                              tolerated dose and were significant
                                                                                   morphine (p = 0.03) but not Gabapentin                                                    impossible to determine the
                                                                                                                              compared to active placebo (lorazepam)
                                                                                • See table 3 on page 1333 for more details                                                  number of patients on which




                                                                                                                                                                                              6 of 6
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                                                                                    o   It is difficult to see trends in table 3;   (P < 0.05)                                     the SE is based and
                                                                                        therefore, I have made excel tables         • Constipation 20.9% vs. 4.7% on               therefore, no confidence
                                                                                        included at the end of this document to          active placebo (lorazepam)                interval can be created. The
                                                                                        make it easier to understand.               • Dry mouth 20.9% versus 0% for                SD of the difference is also
                                                                                                                                         active placebo (lorazepam)                not provided making it
                                                                                Maximal Tolerated Dosages                           •                                              impossible to double check
                                                                                • See page 1328                                                                                    the p-values.
                                                                                • Mean maximal tolerated dose (MTD) for             6. Validated measures of improvement           • Also not that in Table 2
                                                                                   each drug, including active placebo              in global function including return to              the standard errors
                                                                                   (lorazepam), listed below with Standard          work, study, activities of daily living:            reported for MPQ, and
                                                                                   Error in brackets                                                                                    BPI are identical for the
                                                                                • See comments in column 2 of this table:           •   None reported for this study.                   baseline, placebo,
                                                                                   maximum tolerated doses were obligatorily                                                            Gabapentin, morphine,
                                                                                   lower for G and M in GM combination group        7. > 50% reduction in pain score (NRS,              and combination
                                                                                   than in G or M groups, due to experimental       VRS) from baseline to endpoint:                     groups; furthermore, for
                                                                                   design.                                                                                              the SF-36, the standard
                                                                                                                                    •   Not reported for this study.                    errors for Gabapentin
                                                                                Active placebo (lorazepam)                                                                              and Morphine are
                                                                                MTD: 1.38 (0.05) mg                                 8. Mean between-group difference in                 identical and nearly
                                                                                                                                    change of pain score (NRS, VRS) from                identical are the other
                                                                                Morphine                                            baseline to pre-defined endpoint by                 groups. Lastly, all
                                                                                MTD: 45.3 (3.9) mg                                  ITT-LOCF –where this was the pre-                   treatment groups have
                                                                                                                                    defined primary endpoint in trial                   a standard error of 1.0
                                                                                Gabapentin                                                                                              for BDI and baseline
                                                                                MTD: 2207 (89) mg                                   •   Change from baseline was not                    has a standard error of
                                                                                                                                        assessed in this study.                         1.1.
                                                                                Gabapentin-Morphine                                 •   This is not true ITT, nor ITT-LOCF as   7. All patients did not complete
                                                                                MTD Morphine: 34.4 (2.6) mg                             only patients who completed two            the Blinding
                                                                                MTD Gabapentin: 1705 (83) mg                            rounds of treatment were included in       Questionnaire, P. 1327
                                                                                                                                        the efficacy analysis.                     states that “A ‘blinding’
                                                                                •   P-value for morphine in combination less        •   The primary outcome was mean daily         questionnaire to assess
                                                                                    than vs. morphine alone was < 0.05                  pain intensity for those patients          which treatments the
                                                                                •   P-value for Gabapentin alone vs.                    receiving the maximal tolerated dose.      patients and the research
                                                                                                                                                                                   nurse thought the patients




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                                                                                     Gabapentin in combination was < 0.05        •   Mean intensity of pain on a scale         were receiving was
                                                                                                                                     from 0 – 10.                              completed by both patients
                                                                                Figure 2C Maximal Tolerated Dose (P. 1331)
                                                                                                                                     o 0 = no pain, 10 = worst pain ever       and the nurse when the
                                                                                                                                                                               patients were taking the
                                                                                                                                 Mean Pain Intensity at week 4 at the          maximal tolerated dose of
                                                                                                                                 maximum tolerated dosage was as               the assigned study drug” By
                                                                                                                                 follows for each treatment group. Note        counting patients who
                                                                                                                                 that baseline pain intensity is included in   completed each drug in
                                                                                                                                 Figure 2B as a comparison only and was        each period (not those who
                                                                                                                                 not used in efficacy analysis. It is          dropped out during a given
                                                                                •    The above figure shows the mean (+ SE)      impossible to determine the precise           treatment period) one
                                                                                     maximal tolerated doses of Gabapentin and   values for baseline pain scores for each      should theoretically get the
                                                                                     morphine administered as single agents as   treatment group (sequence) from this          upper bound of the number
                                                                                     compared with them in combination.          paper (see figure 2A, p. 1331). The paper     of people who completed
                                                                                                                                 does state that the baseline pain intensity   each blinding questionnaire.
                                                                                Mood                                             for patients with diabetic neuropathy was     Therefore, referring to Table
                                                                                • Assessed according to Beck Depression          5.8 (SE = 1.8) and 5.6 (SE = 1.6) for         1 (p. 1329) we see that 43
                                                                                   Inventory on a scale from 0 – 63              patients with post-herpetic neuralgia         completed Active placebo
                                                                                   o Higher numbers indicating more severe       (Table 1, p. 1330). The mean PI for all       (lorazepam) treatment, 44
                                                                                       depression                                patients at baseline is given below.          completed Gabapentin
                                                                                                                                                                               treatment, 44 completed
                                                                                • When receiving Gm lower than
                                                                                                                                 Mean pain score (Pain Intensity), all         morphine treatment, and 41
                                                                                   o P (P < 0.001)
                                                                                                                                 subjects at baseline (randomization),         completed the Gabapentin
                                                                                   o M (P = 0.03)
                                                                                                                                 N=57:                                         morphine combination
                                                                                                                                 Mean PI baseline: 5.72, SE : 0.23 (p.         treatment. Looking at one
                                                                                Quality of Life / Health Status
                                                                                                                                 1328)                                         example, it states that 25
                                                                                • Assessed according to medical outcomes
                                                                                                                                                                               (66%) of those who
                                                                                   study, SF-36
                                                                                                                                 For PDPN: 5.8 (1.8); for PHN: 5.6 (1.6)       completed active placebo
                                                                                • Higher numbers indicate better health-                                                       (lorazepam) treatment
                                                                                                                                 (SD in parentheses)
                                                                                   related QoL.                                                                                guessed that they were on
                                                                                • Results in Table 2 of page 1332.               Mean pain score (Pain Intensity) At           placebo. However, 25 / 43
                                                                                • GM higher scores for vitality and social       week 4 (completers, baseline mean             is 58% meaning that the
                                                                                   functioning than active placebo               pain scores for these patients are not        number used was smaller
                                                                                   (lorazepam) (P = 0.007 and p = 0.004          reported and baseline for entire group        than 43 (most likely n used




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                                                                                    respectively)                                 was not used in efficacy analysis,             was 38. The other
                                                                                •   GM higher scores than morphine for vitality   therefore changes from baseline are            percentages for this variable
                                                                                    and social functioning (P = 0.03, P = 0.04    not meaningful) – week 4 scores, (SE)          similarly prove that not all
                                                                                    respectively)                                 from p. 1328:                                  possible patients completed
                                                                                                                                                                                 this efficacy assessment
                                                                                Pain related interference:                        Active placebo (lorazepam) (N=?): 4.49         and therefore it is likely that
                                                                                • Assessed according to Brief Pain Inventory      (0.34)                                         certain patients did not
                                                                                    o Scale from 0 – 10                                                                          complete the other efficacy
                                                                                    o 0 = no interference, 10 = complete          Gabapentin: 4.15 (0.33)                        assessments (e.g. MPQ,
                                                                                         interference                             Morphine: 3.70 (0.34)                          BPI etc.) and actual number
                                                                                • See page 1328 for results as well as Table 2                                                   of assessments completed
                                                                                    on page 1332                                  Gabapentin-Morphine: 3.06 (0.33)               for each of these efficacy
                                                                                • Gabapentin-morphine combination scores          • Pain score for GM combination < M            variables are not reported.
                                                                                    for pain interference with mood lower than       alone (p= 0.04),Pain score for GM        8. Compliance is not
                                                                                    active placebo (lorazepam) (P < 0.001) or        combination < G alone (p < 0.001)           mentioned in this report
                                                                                    morphine (P = 0.03)                           • Pain score for GM combination <              making it impossible to
                                                                                • Scores for pain-related interference with          active placebo (lorazepam) (p <             determine the degree to
                                                                                    general activity, normal work, sleep, and        0.001)                                      which patients adhered to
                                                                                    enjoyment of life were significantly lower                                                   the protocol.
                                                                                    when patients were receiving any of the       9. % of patients achieving “much            9. P. 1328, states that “16
                                                                                    active treatments.                            improved” or “moderately improved”             withdrew during the
                                                                                                                                  • The global pain relief scale employed        treatment periods —13
                                                                                Mental Status:                                        in this study differs from the more        before completing the
                                                                                • See page 1329                                       commonly used PGIC 7-point scale           second treatment period
                                                                                • Mini-mental state examination (scale from 0         and was a 6-point scale as follows:        (period B), and 3 because of
                                                                                   – 30, lower numbers indicating impaired            o Pain worse                               adverse effects but after
                                                                                   mental status)                                     o No relief                                completing at least two
                                                                                                                                      o Slight relief                            treatment periods”
                                                                                Active placebo (lorazepam)                            o Moderate Relief                          • It is assumed then that
                                                                                Score + SE: 28.9 + 0.3                                o A lot of relief                               3 patients WDAE
                                                                                Gabapentin                                            o Complete relief                          • Reasons for the
                                                                                Score + SE: 28.8 + 0.3                                                                                withdrawal of the other
                                                                                Morphine                                          The only data reported for this indicator           13 are unclear.
                                                                                                                                                                                      Fruthermore, the patient




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                                                                                Score + SE: 29.0 + 0.2                               was the number of patients who achieved                flow diagram would
                                                                                Gabapentin-Morphine                                  at least moderate pain relief, the results             imply 14, not 13
                                                                                Score + SE: 29.0 + 0.3                               as reported in the paper are as follows:               withdrew before the end
                                                                                                                                                                                            of treatment period B.
                                                                                Global Pain Relief                                   Active placebo (lorazepam): 13/43 (30%)          • In addition, adverse
                                                                                • See page 1329                                      Gabapentin: 27/44 (61%)                                effects are only
                                                                                • Assessed by research nurse on following            Morphine: 35/44 (80%)                                  reported if they were
                                                                                    scale (see comments)                             Gabapentin-Morphine: 32/41 (78%)                       “moderate to severe”
                                                                                    o Pain Worse                                                                                            and had and incidence
                                                                                    o No Relief                                      However, these denominators only                       of greater than 5% for
                                                                                    o Slight relief                                  account for the number of patients who                 any treatment.
                                                                                    o Moderate Relief                                completed a given treatment. Using the       10. No comparisons of the
                                                                                    o A lot of Relief                                number of patients who began a given             adverse events are reported
                                                                                    o Complete Relief                                treatment (ITT analysis for patients             except for the comparison
                                                                                                                                     starting treatment with any of P, G, M,          with active placebo
                                                                                Active placebo (lorazepam)                           GM):                                             (lorazepam) and the
                                                                                N of patients who reported at least moderate                                                          comparison with the G-M
                                                                                pain relief: 13/43 (31%) * note that a calculation   Active placebo (lorazepam): 13/44                combination. Furthermore,
                                                                                for this number yields 30% not 31% as reported       (29.55%)                                         certain comparisons make
                                                                                by the paper.                                        Gabapentin: 27/48 (56.25%)                       no sense: during the
                                                                                                                                     Morphine: 35/49 (71.43%)                         titration, Gabapentin was
                                                                                P-value: < 0.05 for the comparison with all          Gabapentin-Morphine: 32/47 (68.1%)               listed as having P < 0.05
                                                                                treatments.                                                                                           when compared with active
                                                                                                                                     •   These results cannot be included in          placebo (lorazepam) in
                                                                                Gabapentin                                               meta-analysis because the grouped            terms of vomiting, however,
                                                                                N of patients who reported at least moderate             category “at least moderate pain             according to the chart 0% of
                                                                                pain relief: 27/44 (61%)                                 relief” may be equivalent (as it             Gabapentin patients and 0%
                                                                                                                                         comprises the best 3 of 6 possible           of active placebo
                                                                                P-value: not reported                                    categorical scores) with a “much or          (lorazepam) patients
                                                                                                                                         moderately better” grouped category          experienced vomiting during
                                                                                Morphine:                                                which includes only the best 2 of 7          titration.
                                                                                                                                         categorical scores in the usual PGIC.
                                                                                N of patients who reported at least moderate
                                                                                pain relief: 35/44 (80%)                             10. Histogram presentation of all PGIC




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                                                                                                                                   7-point results
                                                                                P-value: not reported

                                                                                Gabapentin-Morphine:                               •   It is impossible to create the specified
                                                                                N of patients who reported at least moderate           histogram for this study as the
                                                                                pain relief: 32/41 (78%)                               number of patients in each category
                                                                                P-value: not reported                                  for PGIC is not reported.

                                                                                However, these denominators only account for
                                                                                the number of patients who completed a given
                                                                                treatment. When we include the number of
                                                                                patients who began a given treatment (Figure 1,
                                                                                p. 1329, patients starting Treatment Periods A-
                                                                                D), we see slightly different results:

                                                                                Active placebo (lorazepam): 13/44 (29.55%)
                                                                                Gabapentin: 27/48 (56.25%)
                                                                                Morphine: 35/49 (71.43%)
                                                                                Gabapentin-Morphine: 32/47 (68.1%)

                                                                                TLP comment: These figures corrected for true
                                                                                denominators appear to be closer to an ITT
                                                                                analysis and could be used if we were to attempt
                                                                                to use these figures in meta-analysis.

                                                                                Blinding Questionnaire:
                                                                                • Number of correct guesses of patients with
                                                                                    respect to treatment assignment (p. 1329)

                                                                                Active placebo (lorazepam): 25 (66%)
                                                                                Gabapentin: 16 (42%)
                                                                                Morphine: 16 (44%)
                                                                                Gabapentin – Morphine: 8 (25%)




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                                                                                •   Number of correct guesses of research
                                                                                    nurses with regard to a patients’ treatment
                                                                                    were (p. 1330)

                                                                                Active placebo (lorazepam): 29 (71%)
                                                                                Gabapentin: 18 (43%)
                                                                                Morphine: 14 (33%)
                                                                                Gabapentin-Morphine: 21 (53%)




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Figure 2A – Mean Weekly Pain (p. 1331)




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                   APPENDIX 1: MEAN WEEKLY PAIN SCORE BY TREATMENT GROUP – POOLED RESULTS (BY TREATMENT) FROM TREATMENT SEQUENCE GROUPS

The figure below t was derived using Figure 2A. The justification for the creation of this figure is that no period or sequence effects were observed throughout this trial and therefore, it seemed reasonable to combine
treatment periods by extracting periods on each drug (or combination) from each of the 4 sequence groups. Measurements for average pain score (at baseline, week 1, week 2, week 3, week 4, and week 5/washout)
for each treatment group (Placebo, Gabapentin, Morphine, Gabapentin-Morphine Combination) during each treatment period (A, B, C, D) were extrapolated as precisely as possible by inspection of figure 2A. For
each week (and baseline) of each treatment period, these averages for a given treatment were multiplied by the number of patients assigned to that treatment, for that treatment period. These products were then
totalled for each of baseline, and weeks 1, 2, 3, 4, 5/washout For example, the Gabapentin total for week 1 was (mean score pain score for Gabapentin treatment week 1, period A)*(number of patients assigned to
Gabapentin in treatment period A) + (mean score pain score for Gabapentin treatment week 1, period B)*(number of patients assigned to Gabapentin in treatment period B) + (mean score pain score for Gabapentin
treatment week 1, period C)*(number of patients assigned to Gabapentin in treatment period C) + (mean score pain score for Gabapentin treatment week 1, period D)*(number of patients assigned to Gabapentin in
treatment period D). The totals were then divided by the total number of patients who were, at some point in the study, assigned to the treatment in question in order to produce the graph below. Note that for
subsequent treatments of a given sequence, the end of washout (week 5) value for mean pain score of the immediately preceding treatment period became the baseline mean pain score for the subsequent treatment
period, except for the final washout.

Notice that the Gabapentin treatment group has a lower baseline compared with the active placebo (lorazepam) treatment group but parallels almost exactly the progress of the active placebo, indicating no major
difference between the two groups. (The difference between these two groups remains the same throughout the course of 5 weeks). While Gilron et al report that the combination group (M + G) is significantly
superior to other treatments, the azure curve (M + G) below diverges markedly from the yellow morphine treatment curve only in week 1 and then seems to parallel the morphine treatment group, until regressing to a
lower new baseline at end of the final washout.


                                                                Mean Weekly Pain Score by Treatment Group – Pooled Results (By Treatment)
                                                                                    From 4 Treatment Sequence Groups
                                                                 6


                                                                 5


                                                                 4
                                     Score for Pain Intensity




                                                                                                                                                   Active Placebo (Lorazepam)
                                                                                                                                                   Gabapentin
                                                                 3
                                                                                                                                                   Morphine
                                                                                                                                                   Gabapentin-Morphine Combination
                                                                 2


                                                                 1


                                                                 0
                                                                                                                                                                                                                 14 of 14
                                                                 Baseline      Week 1      Week 2       Week 3        Week 4    Washout (Week 5)
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 PFIZER 945­1008 ­ Study No. 16 ­ UNPUBLISHED TRIAL – SUMMARY – FINAL – July 15, 2008
Study/ Design/dates                Inclusion                     Intervention(s), experimental          Predefined outcomes/issues in        Outcomes hierarchy (Cochrane,              Comments/conclusions of Dr.
                                   criteria/baseline             design,                                statistical analysis                 investigators: primary/secondary)          Perry
                                   characteristics               N of subjects randomized (ITT)/
                                                                 N who completed study
Study No. 16                       Painful diabetic peripheral   Study design: 15 week                  Predefined outcomes:                 Mortality (p. 40):                         1. Enrichment bias by
Pfizer                             neuropathy (PDPN):            randomized, double-blind,                                                   P = 1/189 (0.5%) ; G = 1/200(0.5%)         exclusion of patients who
Protocol 945-1008                                                placebo-controlled, parallel-group,    Primary:                                                                        previously did not tolerate
Phase IV                           Inclusion:                    43 “centre” trial of gabapentin                                             Serious Adverse Events (p. 53):            gabapentin or failed to benefit
A 15 week, multi-center                 • Type 1 or 2 DM              • Screened: 724                   Pain score (Likert 0-10 score) as    P = 15/189 7.9%); G = 15/200 (7.5%)        at high dose.
DBRCT of gabapentin for                     under stable Rx           • 1 week placebo lead-in          group mean of individual means
efficacy and quality of life in         • Painful distal                  prior to determination of     from patients’ last 7 available      Total Withdrawals (p. 40/63):              2. Toxicity (AE) findings are
patients with painful                       polyneuropathy                eligibility at baseline,      scores while on study medication     P=54/189 (29%); G=64/200 (32%)             similar to other studies.
diabetic peripheral                         due to DM for > 3             randomization                 (up to end of Week 12) from daily                                               Exclusion of patients with
neuropathy                                  months                    • randomization: G=200,           diary records of previous 24 hours   Withdrawal Due to Adverse Events (p.       creatinine clearance < 60
UNPUBLISHED, 63 pages                                                                                   (LOCF for noncompleters).            55):                                       mL/min biases study in favour
                                        • No prior                        P=189
April 4, 2002 – November 11,                                                                                                                 Permanent (true WDAE): P = 17/189          of gabapentin, vs. more
2003
                                            treatment with            • 2 week forced titration
                                            gabapentin                                                  Analysis by ANCOVA with              (9.0%); G = 25/200 (12.5%)                 frequent AE expected in clinical
                                                                          phase: Day 1 G=300
Report date March 24, 2005                                                                              treatment and center as fixed        Temporary/dose reduction: P = 9/189        practice.
                                            (“enrichment                  mg/d; Day 2 600 mg/d;
Pfizer_LKnapp_0062222                                                                                   effects and baseline mean score as   (4.8%); G=28/200 (14%)
                                            bias”)                        Day 3 900 mg/d; Day 7
(June 2, 2005 Clinical Study                                                                            covariate (p. 31)                                                               3. Claimed significance for
Synopsis is identical)                  • No chronic                      1800 mg/d; end of week 2
                                                                          3600 mg/d (appears to be                                           Total Withdrawals: not reported in main    primary endpoint using very
Sponsor’s signatories: Bruce                kidney disease
                                                                          step change on each day)      NB: Patients who took study          report (apparently shown in Table          high dose gabapentin is based
Parsons, M.D., Ph.D., Guy                   (Cr clearance >
                                                                                                        drug for only 2-7 days (P=2; G=4)    13.4.1, see p. 10/63 of paper version of   on non-ITT analysis which
Cohen, Ph.D.                                60 mL/min                 • subjects who could not
                                                                                                        apparently were not evaluated at     study report (24 March 2005).              excludes early dropouts, and
                                            predicted                     tolerate medication during
                                                                                                        all for outcomes and are                                                        LOCF analysis of later
                                            (violated for                 titration could decrease to
NB: Original protocol of                                                                                dropped from “ITT analysis”.                                                    dropouts. Sensitivity analysis
                                            some patients)                1800 mg/d, but if still
December 4, 2001 and                                                                                    Patients who took study drug for                                                using BOCF for the later
                                        • Pain score                      intolerant were withdrawn                                          Total patients with AE’s:
amendments of May 2, 2002                                                                               8-14 days (P=9, G=20) may have                                                  dropouts (still missing Week 1
                                            (Likert) >4 and               from study and were to                                             P = 126/189 (67%); G = 159/200 (80%)
and August 7, 2002 are not                                                                              completed first post-treatment                                                  dropouts) renders primary
available but are referred to at            pain score (VAS)              have final “end of study”
                                                                                                        efficacy assessments at start of                                                outcome trivial and not
                                            > 4 at baseline               assessment done within 1                                           Total AE’s (patients may have > 1):
pp 37-38 of report. Statistical                                                                         week 3 (visit 3) – not clearly                                                  significant.
                                   Exclusion:                             week                                                               P=326; G=521
analysis plan (SAP) original of




                                                                                                                                                                                                                          1
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June 10, 2003, updated March          •   Intolerant to            •    12 weeks at steady dose         stated in text as no numbers are
16, 2004 also not available.              gabapentin or                 of G or P                       shown in report for patient           NB: As for other studies, gabapentin         4. Dichotomous outcome from
                                          failed previously        •    outcome evaluations at          assessments at each week from         caused more nervous system AE in             responder analysis is
This trial appears to be                  to achieve pain               baseline, weeks 2, 6, 10,       Week 3 onwards. (p. 44) A             particular. Patients experiencing > 1 AE     consistent with some other
primarily a “marketing trial”             relief from                   14                              “sensitivity analysis” is             per body system were counted as if they      studies which report this
insofar as it is labeled “Phase           gabapentin @                                                  described (p 34) to impute BOCF       had 1 AE for that body system, i.e.          outcome, e.g. difference in 50%
IV” and as the “centers”                  >1800 mg/d           Patient flow: (no flow diagram           for missing scores, but this may      “dizziness” and “somnolence” in the          pain reduction is:
appear to be primary care             •   Exposed to           available)                               apply only to the Week 1              same person would count only as 1
physicians (“PCP’s”) and no               gabapentin within                                             dropouts???                           event (p. 37). Excerpted results:            P=45/189 (24%); G=75/200
                                                                   • Screened: 724 patients
institutional review boards nor           30 days                       (43 centers)                                                               • Nervous system (all): P =             (38%); Difference = 14%; p=0.002
ethics committees were                •   Severe pain from                                              Secondary:                                      19.6% ; G=39.5% (p. 55)            NNT = 7
involved (see page 14 of
                                                                   • Randomized: 389                    NB: all secondary outcomes are
                                          other causes             • Gabapentin 200;                                                               • Nervous system (all) counted
report).                                                                                                dependent, not independent of                   from table at p. 56: P=33/189      e.g. difference in PCIC for
                                      •   Creatinine                    completed 136 (68%);            primary outcome, as they all
                                          clearance < 60                                                                                                (17%); G=83/200 (43%)              patients reporting “very much
                                                                        discontinued 64 (32%)           measure various aspects of the
                                          mL/min                                                                                                   • Dizziness: P=15/189 (7.9%);           improved or much improved”
                                                                   • Placebo 189; completed             same thing (pain relief).                                                          is:
                                      •   Plantar ulcers                135(71%); discontinued                                                          G=38/200 (19%)
                                                                                                            • Weekly mean pain scores
                                          within 3 months               54 (29%)                                                                   • Somnolence: P=8/189 (4.2%);
                                                                                                            • “responders” analysis:                    G=31/200 (16%)                     P=50/189 (26%); G=85/200
                                                                                                                 compared by CMH test                                                      (43%);
                                  NB: This creates             Analysis: (protocol not available,                                                  • Aesthenia: P=8/189 (4.2%);
                                                                                                                 between treatment groups                                                  Difference = 17%
                                  “enrichment bias”            so analysis plan taken from final                                                        G=22/200 (11%)
                                                                                                                 for proportion of patients                                                p=0.0003
                                                               report, p. 30)                                    with > 50% or > 30%               • Peripheral edema: P=7/189             NNT = 6
                                  Allowable drugs: ASA,            • “ITT” population defined                    reduction in individual pain           (3.7%); G=33/200 (17%)
                                  aceteminophen, NSAID’s                 as subjects who took at                 score at “endpoint” vs       “Treatment   related AE” (p 57) showed a
                                  including coxibs, SSRI’s               least one dose of study                 baseline                     similar pattern: P=58/189 (31%);
                                  Excluded drugs:                                                                                             G=98/200 (49%).                              5. Details of analysis are not
                                                                         medicine and had at least          • weekly mean sleep-                                                           available as appendices to this
                                  “mediations commonly                   1 post-treatment efficacy                                            While the report does not cite statistical
                                                                                                                 interference scores                                                       report not available.
                                  used for neuropathic pain,             measurement – this                                                   significance, the above figures are
                                  hypnotics, analgesics,                                                    • CGIC and PGIC at final          comparable to all other studies, i.e. NNH
                                                                         excludes patients who                   visit, compared by CMH
                                  antiepileptics, certain                                                                                     is about 4-5 for the most typical AE such    6. Publication of this trial with
                                                                         could not tolerate titration            test between treatment
                                  antidepressants, antacids”                                                                                  as dizziness/somnolence/asthenia, etc.       much larger numbers than
                                                                         phase and did not reach                 group for proportion “very                                                Backonja trial would have
                                                                         week 2 first assessment                 much improved or much
                                  Baseline characteristics:                                                                                   Weight: (mean, or mean change, by            reduced the estimate of
                                                                         (not true ITT, nor ITT-                 improved”, etc.
                                  see next column. Details                                                                                    group)                                       apparent group difference
                                                                         LOCF) – see p. 30



                                                                                                                                                                                                                               2
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                      of baseline outcome             •    “evaluable” population             •   SF-MPQ                    Not reported in complete report (?          between placebo and
                      scores are not presented.            includes patients who              •   Treatment Outcomes in     Appendices)                                 gabapentin, increased evidence
                                                           could tolerate > 1800                  Pain Survey (TOPS)                                                    that higher dose gabapentin is
                                                           mg/d G for > 4 weeks               •   Hospital Anxiety and                                                  not more efficacious for pain,
                                                           fixed dose – this                      Depression Scale (HADS)   Primary outcome:                            and reinforced evidence that
                                                           eliminates patients who                                          Group mean pain scores at                   toxicity generally outweighs
                                                           did not like gabapentin                                          “endpoint”– not ITT and “endpoint” =        benefit as NNH=4-5 for
                                                                                          Safety: all patients randomized
                                                           and will not be considered                                       last observation carried forward as if      neurological adverse effects vs.
                                                                                          who took 1 dose of study drug
                                                           further here                                                     all endpoints were at 12 weeks (p. 45):     NNT = 6-7 for patient’s global
                                                      •    safety population is all                                         N: P=186/189; G=195/200                     impression of moderate or
                                                           patients                                                         Baseline: P=6.51 +/- 0.10 (SE); G=6.28      greater improvement in pain or
                                                      •    “Sensitivity Analysis” (see                                      +/- 0.11 (SE)                               > 50% reduction in NRS pain
                                                           p. 51) imputes BOCF                                              Endpoint: P=4.82 +/- 0.17 (SE); G = 3.94    score.
                                                           (baseline observation                                            +/- 0.17 (SE)
                                                           carried forward) to P=52,                                        LSM adjusted endpoint from ANCOVA:
                                                           G=60 patients who                                                   P=4.78 =/-0.18 (SE); G = 4.01 +/- 0.17
                                                           discontinued after Week                                          (SE)
                                                           1, but not to the P=2, G=4                                       Difference = -0.765 (-1.21, -0.32); p =
                                                           patients who discontinued                                        0.0008 (favours G)
                                                           during Week 1
                                                                                                                            “Sensitivity analysis” renders group
                                                  Randomization: “subjects were                                             mean differences non-significant (pp
                                                  assigned at the site, in the order in                                     50-51):
                                                  which they were enrolled into the                                         NB: Week one dropouts are not
                                                  study, to receive their allocated                                         accounted for (P=2, G=4). Sensitivity
                                                  treatment sequence, in a 1:1                                              analysis using baseline observation
                                                  manner, according to a computer-                                          carried forward (BOCF) values for the
                                                  generated randomization scheme                                            other early dropouts (P=52, G=60) but
                                                  prepared by Pfizer prior to the start                                     not including P=2, G=4 who dropped
                                                  of the study” (p. 24)                                                     out during week 1, nor 1 other subject
                                                                                                                            from each group reduces LSM
                                                  Blinding: medications prepared as                                         adjusted differences from baseline:
                                                  matching capsules by Pfizer; no




                                                                                                                                                                                                      3
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                                           test of blinding described; blind                      Pbaseline= 6.51 +/- 0.10 (SE) –
                                           broken for one placebo-treated                         (N=186/189)
                                           patient who had cardiac arrest.                        Pendpoint = 5.07 +/- ? (SE)
                                                                                                  Pendpoint = 5.11 +/- ? (SE) - LSM
                                                                                                  adjustment from ANCOVA:

                                                                                                  Gbaseline= 6.28 +/- 0.11 (SE) –
                                                                                                  (N=195/200)
                                                                                                  Gendpoint = 4.56 +/- ? (SE)
                                                                                                  Gendpoint= 4.54 +/- ? (SE) - LSM
                                                                                                  adjustment from ANCOVA:

                                                                                                  Baseline vs LSM adjusted endpoint:
                                                                                                  P=-1.40 +/- 0.17 (SE); G=-1.74 +/- 0.16
                                                                                                  (SE)
                                                                                                  Difference = -0.34 (-0.77, 0.09); p=0.12

                                                                                                  This more conservative analysis,
                                                                                                  which still omits P=3, G=5 patients,
                                                                                                  renders the difference on primary
                                                                                                  outcome of group mean pain score at
                                                                                                  endpoint both trivial and non-
                                                                                                  significant.

                                                                                                  Given the non-ITT analysis of
                                                                                                  subjects randomized who dropped
                                                                                                  out early, this “BOCF sensitivity
                                                                                                  analysis” is more suitable to use for
                                                                                                  Cochrane meta-analysis, since it is
                                                                                                  more conservative and likely to be
                                                                                                  closer to the results of a true ITT
                                                                                                  analysis.




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                                                                                                  Weekly mean pain scores are referred to
                                                                                                  (p. 45) but not shown in report.

                                                                                                  Secondary outcomes:

                                                                                                  “Responder” analysis(expressed here
                                                                                                  by Dr. T. L. Perry as closer to true ITT by
                                                                                                  using the “responder” numerators
                                                                                                  presented at p. 46 but correcting for
                                                                                                  complete ITT denominators; this is still
                                                                                                  “ITT-LOCF” rather than true ITT because
                                                                                                  “endpoint” for some patients is still at
                                                                                                  dropout prior to 12 weeks, including
                                                                                                  more early dropouts from G group than
                                                                                                  from P group.):

                                                                                                  >50% reduction in pain score:
                                                                                                  P=45/189 (24%); G=75/200 (38%);
                                                                                                  p=0.002

                                                                                                  >30% reduction in pain score:
                                                                                                  P=76/189 (40%); G=110/200 (55%);
                                                                                                  p=0.002

                                                                                                  PGIC “very much improved or much
                                                                                                  improved” (expressed here by Dr. T.L.
                                                                                                  Perry as closer to true ITT by using the
                                                                                                  numerators provided at p. 48 but
                                                                                                  correcting for complete ITT
                                                                                                  denominators; this is still “ITT-LOCF”
                                                                                                  rather than true ITT because “endpoint”
                                                                                                  for some patients is still at dropout prior
                                                                                                  to 12 weeks, including more early




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                                                                                                  dropouts from G group than from P
                                                                                                  group.):
                                                                                                  P=50/189 (26%); G=85/200 (43%);
                                                                                                  p=0.0003

                                                                                                  Other secondary outcomes:
                                                                                                  No difference claimed for SF-MPQ,
                                                                                                  Treatment Outomes in Pain Survey
                                                                                                  (TOPS), Hospital Anxiety and
                                                                                                  Depression “Scale (HADS).

                                                                                                  Does a larger dose have a greater
                                                                                                  effect?:
                                                                                                  At p. 52 endpoint mean pain scores are
                                                                                                  presented “for subjects who titrated to a
                                                                                                  maximum dose of 3600 mg/d”, referring
                                                                                                  to N=186 for P and N=169 for G,
                                                                                                  whereas a “Duration of Treatment” chart
                                                                                                  at p. 44 suggests N= 178 for P and
                                                                                                  N=176 patients for G continued beyond
                                                                                                  2 weeks. (This may reflect titration to
                                                                                                  3600 mg/day BEFORE 2 weeks,
                                                                                                  something not discernable without
                                                                                                  reference to experimental protocol.)
                                                                                                  Amongst patients titrated to 3600
                                                                                                  mg/day, the putative LSM (ANCOVA)
                                                                                                  group mean difference was -0.957
                                                                                                  (“p=0.001”) favouringgabapentin. This
                                                                                                  is interpreted by the authors as a
                                                                                                  “slightly larger difference between the
                                                                                                  treatment groups” (i.e. vs. -0.765 in the
                                                                                                  non-ITT analysis of all patients). While
                                                                                                  this result is intrinsically uninterpretable,




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                                                                                                  like other data it is not consistent with a
                                                                                                  clinically useful dose-response effect
                                                                                                  insofar as even if true, the group mean
                                                                                                  effect would be less than the clinical
                                                                                                  threshold for utility.

                                                                                                  NB: Report does not discuss
                                                                                                  correction of multiple statistical tests
                                                                                                  for multiple comparisons.




                                                                                                                                                7
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Study No. 17 ‐ CHANDRA 2006 – GABAPENTIN vs. NORTRIPTYLINE FOR PHN – DBRCT (PUBLISHED VERSION ONLY) – final ‐ Dr. Thomas L. Perry, July 19, 2008                                                                      1



Study No. 17 ­ CHANDRA 2006 – GABAPENTIN vs. NORTRIPTYLINE FOR PHN – DBRCT (Published) ­ SUMMARY
Study/ Design/dates               Inclusion                  Intervention(s), experimental        Predefined outcomes/issues in      Outcomes hierarchy (Cochrane,           Comments/conclusions of Dr. Perry
                                  criteria/baseline          design,                              statistical analysis               investigators: primary/secondary)
                                  characteristics            N of subjects randomized (ITT)/
                                                             N who completed study
Study No. 17                      Post-herpetic              Study design: 9 week “double         Predefined outcomes:               Mortality:Not reported                  1. This study does not claim any
Chandra K, Shafiq N et al.        neuralgia (PHN)            blind” (see comments re                                                                                         difference in outcomes and has no
Gabapentin versus                                            description of randomization),       Primary:                           Serious Adverse Events (Not             placebo group. The NRS pain rating
Nortriptyline in post-herpetic    Inclusion:                 parallel group RCT comparing NT                                         reported in standard fashion, but       change attributed to both drugs is
                                  • > 18 years old           with G – without placebo control     Difference in mean Likert 11-      surmisable from text (p. 361):          somewhat larger than what is claimed
neuralgia patients: a
                                  • PHN pain > 8                                                  point NRS pain score from          NT = 1/38 (severe urinary retention);   in most studies, and is LOCF with no
randomized, double-blind                                                                                                                                                     indication of the number of patients
                                       weeks after           Patient flow (Fig 1, p 362):         baseline to end of study period.   G = not reported
clinical trial – The GONIP                                                                                                                                                   contributing to the scores. Given the
trial. International Journal of        healing of rash       • Sceened: 110                       (TLP: we will assume LOCF for
                                                                                                  noncompleters as this is not       Withdrawal Due to Adverse               lack of a placebo group, and the lack
Clinical Pharmacology &           • Pain intensity > 4       • 1 week run-in period (not
                                                                                                  discussed.).                       Events:                                 of information on sample size (LOCF)
Therapeutics 2006; 44: 358-            (VAS) at                  described further)
                                                                                                                                     Not reported                            the reported NRS pain score changes
63
                                       screening and         •   Excluded: 34 (22 due to low                                                                                 can not be pooled with other studies
                                       randomization             baseline pain scores)            Secondary (all compared at
                                                                                                  endpoint vs. baseline):            Total patients with AE’s (p. 361        in a meta-analysis.
                                  • Mean pain score          •   Randomized: NT=38, G=38
Support: Pfizer India Ltd.                                                                        NB: all secondary outcomes are     text, and p. 362, Table 3):
                                       (Likert 0-10) > 4     •   “ITT” (?ITT-LOCF – Fig 1 and     dependent, not independent of      NT=21/38 (55%, ITT); G= not             2. The determination of patients
                                       during baseline           text do not clarify whether
Trial design: “The study was           week                                                       primary outcome, as they all       reported                                with AE and total AE is not
                                                                 patients completed or simply     measure various aspects of the
partly funded by Pfizer who       • Muscle relaxants,                                                                                                                        described in sufficient detail to
                                                                 provided at least 1 post-        same thing (pain relief).
had no role in protocol                anticonvulsants,                                                                              Most important AE’s (Table 3):          pool in meta-analysis.
                                                                 baseline evaluation):
design, data analysis or               topical analgesics,       NT=36, G=34
                                                                                                  • SF-MPQ                           Dry mouth: NT=18 patients; G=0
manuscript preparation.”               antivirals stopped                                         • 5-category pain score using      Postural hypotension: NT=12             3. The main lesson one can learn
                                                             •   “Lost to follow up”: NT=2, G=3                                      patients; G=0
                                       > 1 week before                                                words (e.g. “no pain” …                                                from this trial is that it is at least
                                                                                                      “excruciating pain”            Constipation: NT=8; G=0
DBRCT, 9 weeks including 1             screening             TLP: we will consider this an                                                                                   reasonable in principle to assess
                                  Exclusion:                                                      • sleep (VAS)                      Sleepiness: NT=6; G=4
week run-in, comparing                                       ITT-LOCF analysis in absence                                                                                    “disability”; however without a
gabapentin (G) with               • Priortreatment                                                • disability rated categorically                                           placebo group in a condition
                                                             of evidence that NT=36, G=34             “no, mild, moderate, severe
nortriptyline (NT) – to final         with or                completed 8 week treatment.                                                                                     where most patients improve
                                                                                                      disability” where “mild        Total AE’s (patients may have > 1
doses (depending on patient           hypersensitivity                                                                               as total exceeds total patients         rapidly (especially at this mean
                                      to NT, G                                                        disability implied pain that




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Study No. 17 ‐ CHANDRA 2006 – GABAPENTIN vs. NORTRIPTYLINE FOR PHN – DBRCT (PUBLISHED VERSION ONLY) – final ‐ Dr. Thomas L. Perry, July 19, 2008                                                                      2



response) of:                    •   “Hepatic or renal     Drug doses:                               interfered only with some          with AE):                              age, the figures are meaningless .
NT = 150 mg/d                        insufficiency”        • initial dose x 2 weeks,                 activities such as exercise,       NT=47; G=9
G= 2700 mg/d                                               both in divided doses:                    moderate disability implied                                               4. An interesting observation is
                                 NB: This creates          NT=50 mg/d, G=900 mg/d                    pain significantly interfered      Primary outcome:                       that at least 21/38 patients
                                 “enrichment               • optionaltitration up if drug well       with or prefented ADL such         Change from baseline to endpoint
No placebo comparator                                                                                                                                                          randomized to nortriptyline
                                 bias”favouring both NT    tolerated at 2 weeks:                     as dressing, wearing clothes,      (presumably LOCF), NRS pain
arm.                                                                                                 eating, cleaning or shopping,
                                                                                                                                                                               experienced dry mouth,
                                 and G                     NT=75 mg/d, G=1800 mg/d;                                                     scale:
                                                                                                     severe disability implied                                                 confirming that this drug has
“Drugs placed in identical                                 • titration up if drug well                                                                                         potent anticholinergic effects.
                                 Allowable drugs: non-                                               patient was in bed with pain       NT = 2.18 (1.9); G = 1.97 (1.68);
capsules to achieve blinding.”                             tolerated at 4 weeks:                                                                                               (Some experiments comparing NT
                                 opioid analgesics not                                               for part or all of the day.” (p.   p=0.62
(p. 359)                                                   NT=150 mg/d, G=2700 mg/d                                                                                            with amitriptyline have claimed less
                                 further specified                                                   360)
                                                                                                 •   “Clinical effectiveness” rated     The number of patients assessed,       frequent anticholinergic effects.)
                                                           Analysis: (p. 360)
Patients screened and            Baseline                                                            categorically as “excellent,       and the timing of assessments, is
                                                           “Assuming a SD of 1.5 and
enrolled between January         characteristics:          normally distributed responses …
                                                                                                     good, improved but                 not reported (LOCF rather than 8
2002 – January 2005 (p. 360)     Mean age: NT 52.5, G                                                unsatisfactory or                  week f/u probable, but not stated)
                                                           sample size of 25 pts/group was
                                 55.6                                                                unchanged.” (see p. 360)           NB: from Table 2, p. 361 – and text
                                                           calculated to provide 90% poerwo
Randomization: “Consecutive      Daily pain score          detect a difference of 1.25 in        •   self reported adverse effects      it is impossible to tell how many
eligible patients were           (Likert): NT 5.8 (1.4),   primary endpoint (a change in the         and adverse effects (“side         patients contributed to outcome
randomized to either NT or G     G 5.6 (1.1)               pain intensity score on 11-point          effects”, not = adverse            assessment for each group, except
                                                           scale from baseline to …week 8 …          events) from checklist             that it is < the number randomized
in a 1:1 computer-generated
                                 No apparent               Each treatment arm was assessed                                              for each group – subsequent
random number table. The                                                                                                                discussion concerning secondary
randomization code was           differences from          by comparing the week 8 results to
                                                           the baseline results using repeated                                          outcomes suggests that at least for
supplied in sealed envelopes Table 1, p. 361.                                                                                           categorical “clinical effectiveness”
                                                           measures ANOVA. Between-
which was opened by the                                                                                                                 rating, NT=4/36=11.1% and
                                                           groups comparison was done by
investigator only at the time of                           using ANCOVA. Global                                                         G=4/34=11.7% patients had no data
enrolment…. The pharmacist,                                impression of therapy was                                                    available such that the total
the person involved in                                     analysed using Chi-square test..”                                            numerators for many observations
randomization allocation, the                                                                                                           were always < or << the number of
investigator evaluating the                                                                                                             patients randomized.)
outcome and the trial subject
were blinded to the
treatment.” (p. 359) –



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Comment: were the                                                                              Disability rating (NB numbers of
investigators blind?                                                                           patients rated is not reported:
                                                                                               “improved”: NT 42%; G 40%
                                                                                               “same”: NT 50%; G 52%
                                                                                               “worsened”: NT 9%; G 8%
                                                                                               (numbers rounded to nearest
                                                                                               integer)

                                                                                               > 50% reduction in NRS pain
                                                                                               score at endpoint vs. baseline
                                                                                               (NOT a pre-specified outcome,
                                                                                               expressed here as patients
                                                                                               reported as achieving endpoint
                                                                                               over number randomized/group):

                                                                                               NT: 9/38 (24%); G: 7/38 (18%)

                                                                                               “Clinical Effectiveness” rating”
                                                                                               (corrected to show numbers
                                                                                               derivable from percentages at p.
                                                                                               361 divided by original
                                                                                               randomized denominators,
                                                                                               assuming dropouts and patients
                                                                                               for which “no data were
                                                                                               available” should be classified as
                                                                                               unchanged):
                                                                                               Unchanged: NT=12 G=14
                                                                                               Improved but not satisfactory:
                                                                                               NT=10; G=8
                                                                                               Good: NT=12; G=8
                                                                                               Excellent: NT=4; G=8

                                                                                               NB: Report does not discuss




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                                                                                               correction of multiple statistical
                                                                                               tests for multiple comparisons,
                                                                                               but claims no statistical
                                                                                               significance for any comparison.




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RAO 2007 – Study No. 18 ‐ GABAPENTIN FOR CANCER CHEMOTHERAPY‐INDUCED PERIPHERAL NEUROPATHY – DBR CROSSOVER TRIAL (PUBLISHED VERSION                                                                         1
ONLY) – final ‐ Dr. Thomas L. Perry, July 23, 2008


RAO 2007 – Study No. 18 ­ GABAPENTIN FOR CANCER CHEMOTHERAPY­INDUCED PERIPHERAL NEUROPATHY – DBR CROSSOVER TRIAL (Published) ­
SUMMARY
Study/ Design/dates          Inclusion criteria/baseline     Intervention(s), experimental     Predefined                      Outcomes hierarchy (Cochrane,          Comments/conclusions of Dr. Perry
                             characteristics                 design,                           outcomes/issues in              investigators: primary/secondary)
                                                             N of subjects randomized (ITT)/   statistical analysis
                                                             N who completed study
Study No. 18                 Cancer chemotherapy-            Study design: 14 week double      Predefined outcomes:            TLP: I don’t think we can meta-        1. This study does not claim any
Rao RD, Michalak JC.         induced (painful) peripheral    blind crossover trial RCT                                         analyse any of these results           difference in outcomes and
Efficacy of Gabapentin in    neuropathy (CIPN)               gabapentin (target dose 2700      Primary:                        with any credibility. It is better     concludes that“this trial failed to
the Management of                                            mg/d) with placebo as 2 arms:                                     to present this study on its           demonstrate any benefit to using
                             Inclusion:                      G/P x 6 weeks each with 2 week    Average pain assessed by
Chemotherapy-induced                                                                                                           own, as a negative study.              gabapentin to treat symptoms
                             • Adults with symptomatic       washout between treatments vs     10-point NRS and 4-point
Peripheral Neuropathy:                                       P/G x 6 weeks, each with 2 week
                                                                                                                                                                      caused by CIPN”. (p. 2110,
                                  (painful) CIPN > 1 month                                     ENS over 1 “particular” day,
A Phase 3 Randomized,                                        washout between treatments.
                                                                                                                               Mortality: Not reported                abstract)
                                  due to neurotoxic                                            assessed weekly, compared
Double-Blind, Placebo-                                                                         at 6 weeks (end of first
                                  chemotherapy                                                                                 Serious Adverse Events:Not
controlled, Crossover                                        Patient flow (Fig 2, p 2113):     phase) and at 14 weeks                                                 2. The description of patient flow
                             • “Average pain at                                                                                reported
Trial (N00C3). Cancer             baseline: >4 on 11-point   • Sceened: 115                    (end of second phase) – NB:                                            and presentation of statistics is
2007; 110: 2110-8                 numerical rating scale     • Excluded: 0                     analysis appears to be of                                              inadequate, but suggests that the
                                                                                                                               Withdrawal Due to Adverse              report concerns only completers,
                                  (NRS), OR score >1 on      • Randomized: 115 as G/P=57,      completers only, not ITT-
                                                                                                                               Events: Not reported
Support: U.S. Public              Eastern Cooperative            P/G=58                        LOCF and not ITT.                                                      i.e. 78/115 patients at 6 week
Health Service, North             Oncology Group 4-point                                                                                                              parallel comparison (phase 1 prior
                                                             •   Completed crossover: 68/115                                   Total patients with AE’s:
Central Cancer Treatment          neuropathy scale at            as:
                                                                                               Secondary (all compared
                                                                                                                               not reported
                                                                                                                                                                      to crossover) and 68/115 patients at
Group (IRB approval) and          screening and                                                at both 6 weeks and 14                                                 end of second 6 week parallel
                                                                 G/P = 32/57 (56%)
Mayo Clinic.                      randomization                                                weeks for completers vs.                                               comparison. It is not clear how the
                                                                 P/G = 36/58 (62%)                                             Total AE: reported for completers
                             • Creatinine (serum) < 1.5                                        baseline):                                                             crossover design is analysed in a
                                                             •   Withdrawn from treatments:    NB: all secondary outcomes      only (Table 3, p. 2116 reports only
Trial design: independent         x ULN                          G = 21/100 exposed to G                                       AE “attributed to therapy”, whereas    complex and mysterious statistical
                             • Life expectancy                                                 are dependent, not
                                                                 P = 22/99 exposed to P        independent of primary          Table 2, p. 2114 reports AE, grade >   analysis.
DBRCT, 14weeks . After            estimated > 6 months       (derived from Figure 2, p.                                        2 (not further defined) for
                                                                                               outcome, as they all
randomization (no run-in),   • Muscle relaxants,             2113)                                                             completers. By adding those from       3. Presentation of safety data is
                                                                                               measure various aspects of
6 weeks comparing                 anticonvulsants, topical                                                                     the relevant phases of G/P and P/G     inadequate and the methods
                                                                                               the same thing (pain relief).
gabapentin (G) with               analgesics, antivirals                                                                       groups and dividing by the number      section does not discuss how
                                                             TLP: Results presented in
                                  stopped >                                                                                    completing in each group, one can




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ONLY) – final ‐ Dr. Thomas L. Perry, July 23, 2008


placebo (P)– totarget dose Exclusion:                        Table 2, p. 2114 appear to be a     See report p. 2112 for         derive these results, which apply to    safety was assessed.
of G=2700 mg/d               • Other causes of               “completers-6 week and              details. Only outcomes         completers and only for AE, “> grade
regardless of efficacy at      symptomatic neuropathy        completers-14 week” analysis,       relevant to Cochrane meta-     2”:                                4. The report claims to have found
lower doses; then 2-week • Patients using                    judging by the N’s at the top       analysis (TLP et al) are       G = 75 AE 74 patients              that gabapentin was “remarkably
                               antidepressants, opioids,                                         described below:               P = 79 AE in 71 patients
washout, followed by                                         row of Table 2, i.e. patients                                                                         well tolerated” (p. 2116) and
crossover to the alternative   anticonvulsants,              who completed first 6 weeks of                                                                        suggests that the median maximum
                               clonazepam, mexiltine,                                            (Disability outcome)           NB: These are not ITT, nor ITT-
arm for 6 weeks.                                             G or P are compared at 6            WHO classification scale for   LOCF and CANNOT be used in
                                                                                                                                                                   dose of gabapentin achieved was
                                  topical analgesics, etc.   weeks, and patients who             neuropathy-related             meta-analysis for safety outcomes 2700 mg/d, which seems
Drugs in identical capsules                                  completed first 6 weeks AND         symptoms, 5-point              (theywould almost certainly        implausible given the results of
(p. 2112).                                                   completed crossover 6 weeks         categorical scale where:       underestimate AE) – note this is a other studies in less sick patients.
                              Allowable drugs: above drugs
                              could be started during
                                                             are compared at 14 weeks.           0=none                         sick population compared with
Patients screened and         experiment, along with         See “statistical analysis” below.   1=paresthesias and/or          other studies, and many AE are          TLP: I don’t think we can meta-
enrolled between March        NSAIDs.                                                            decreased tendon reflexes      likely to be unrelated to G, P.         analyse any of these results with
2002 2002 – December                                         Drug doses/titration (p.            2=severe paresthesias                                                  any credibility. It is better to
2003 (p. 2113)                                               2112):                              and/or mild weakness           Most important AE’s (Table 3):          present this study on its own, as a
                              Baseline characteristics:
                                                             Titration schedule not detailed.    3=intolerable paresthesias     Not reported except for “AE             negative study.
                                                             “Gabapentin incrementally           and/or marked motor loss       attributed to therapy”, therefore not
Randomization:                G/P arm: N=57
                                                             escalated over 3 weeks to targer    4=paralysis                    shown here
“Randomization was            P/G arm: N=58
performed by using a          Mean age: 59                   dose of 2700 mg/d … If toxic
                                                             events occurred, the dose was       Subject global impression
dynamic allocation            Age range: 25-84
                                                             reduced to apreviously well-        of change:                     Primary outcome:
procedure that balanced                                      tolerated dose level. After         7-point categorical scale      NRS, ENS pain scores at 6 weeks,
marginal distirbutions of     Pain characteristics:
                                                             treatment with the maximal dose     which appears identical to     14 weeks (for completers only)
stratification factors                                       for 3 weeks, patients were          PGIC used in other studies.    compared with baseline:
between treatment             NB: No SD are reported for                                         However, these are reported
                                                             weaned from the drug …” (?                                         For average pain NRS:
                              any numerical values (Table                                        only as mean outcomes
groups.” (p. 2112)                                           Washout period) … Placebo was
                              2, p. 2114)                                                        (mean of ordinal scale
                                                             handled in a “similar manner”                                      G/P group:
Dose selection based on                                                                          values).                       baseline = 4.3 (no SD); 6 weeks
                              NRS ‘average pain”, ENS
Backonja trial (JAMA                                                                                                            (treatment with G) = 3.3, 14 weeks
                              rating:
1998) and Gilron trial                                       Statistical Analysis: (p. 2112-                                    (treatment with P) = 3.1
(NEJM 2005) - see p. 2112     G/P arm: NRS=4.3; ENS=1.9      13)
– the latter reference may                                   Unusually complicated                                              P/G group:
                              P/G arm: NRS=3.6; ENS=2.0




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RAO 2007 – Study No. 18 ‐ GABAPENTIN FOR CANCER CHEMOTHERAPY‐INDUCED PERIPHERAL NEUROPATHY – DBR CROSSOVER TRIAL (PUBLISHED VERSION           3
ONLY) – final ‐ Dr. Thomas L. Perry, July 23, 2008


refer to Gilron’s protocol,   NB: NRS “average pain” at         description. Power calculation          Baseline – 3.6 (no SD); 6 weeks
since Gilron was in           baseline could be < 4 for         toprovide 80% power to detect           (treatment with P) = 3.0; 14 weeks
progress as of February       group (or individuals) because    differences in average pain scores      (treatment with G) = 2.5
2001.                         some patients could enter trial   of 0.63 SD via Student t test with
                              on basis of Eastern               2.5% Type 1 error rate with             Comparisons from statistical
                              Cooperative Oncology Group        Bonferroni correction for 2 primary     model:
                              ENS scale criterion. Groups       endpoints. “Missing data were           G/P vs. P/G NRS at baseline: p=0.06
                              appear balanced given likely      handled in a number of ways to          G/P vs P/G NRS at 6 weeks: p=0.8
                              substantial SD’s and p=0.06       assess the robustness or results        G/P vs. P/G NRS at 14 weeks: p=0.2
                              at baseline for NRS average       obtained, relative to missing           No difference is claimed.
                              pain, p=0.7 for ENS average       data… Results that used all
                              pain                              available data without imputation       Graphs of time course of pain in
                                                                are presented here. Otherwise           completers are shown after end of
                              WHO neuropathy scale              see original report.                    this table.
                              (see column 4, this table):
                              G/P = 1.5
                              P/G = 1.5                                                                 “Disability”(WHO neuropathy
                                                                                                        score):
                              No apparent differences
                              from Table 1, p. 2113                                                     No difference is claimed (see
                                                                                                        Table 2, p. 2114)

                                                                                                        SGIC (PGIC equivalent):
                                                                                                        Reported only as means in Table
                                                                                                        2, p. 2114
                                                                                                        (+ change = improvement)
                                                                                                        G/P at 6 weeks: +0.3 (no SD)
                                                                                                        G/P at 14 weeks: +0.5;
                                                                                                        P/G at 6 weeks: +0.2
                                                                                                        P/G at 14 weeks: +0.1
                                                                                                        For G/P vs P/G at 6 weeks, p=0.7
                                                                                                        For G/P vs. P/G at 14 weeks, p=0.3
                                                                                                        NO DIFFERENCE IS CLAIMED




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ONLY) – final ‐ Dr. Thomas L. Perry, July 23, 2008


Notes: This is a negative trial which found no benefit from gabapentin for CIPN. However, the methodology and loss of patients make it impossible to include
the results in a meta­analysis of outcomes




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Rintala et al, 2007 (PUBLISHED) trial summary – Study No. 19 –Prepared by Thomas L. Perry, M.D., – FINAL, July 23, 2008                                                     1



                Study No. 19
                RINTALA ET AL, 2007 –
                PUBLISHED TRIAL SUMMARY
Study/          Inclusion criteria/baseline      Intervention(s), experimental       Predefined                   Outcomes hierarchy                 Comments/conclusi
Design/dates    characteristics                  design,                             outcomes/issues in           (Cochrane, investigators:          ons of Dr. Perry
                                                 N of subjects randomized            statistical analysis         primary/secondary)
                                                 (ITT)/ N who completed study
Study No. 19    Pain from spinal cord (SCI) at   Study design: 31 week study         Predefined outcomes:         Mortality: not reported            1. Small study
Publication:    any level                        with 1 week baseline run‐in (no                                                                     which is hard to
Rintala DH,     (“neuropathic pain” associated   study drug) followed by 3 10‐       Primary:                     SAE: not reported                  interpret.
Holmes SA et    with or below spinal level)      week periods during which
al.                                              patients started with               Pain score (Likert 0‐10      WDAE (shown as WDAE                2. Adverse events
Comparison      Inclusion:                       diphenhydramine (D, active          score) as group mean of      divided by number of patients      cannot be compared
of the              • Patients age 18‐70 with    placebo), amitriptyline (A), or     individual means from        who started each treatment, i.e.   with other studies.
                                                                                                                  WDAE over number who
Effectiveness          SCI > 12 months prior     gabapentin (G)and crossed over      patients’ last 7 available   received drug and were
of                  • Pain score (Likert) >5     to the other 2 drugs in 6           scores while on study        therefore eligible to withdraw,    3. Gabapentin not
Amitriptylin           when first recruited      different permutations. Drug        medication (up to end of     ITT for each drug):                more effective than
e and           Exclusion:                       was titrated towards target dose    Week 12) from daily                                             diphenhydramine.
Gabapentin          • Safety issues (e.g.        during first 4 weeks, then          diary records of previous    Diphenhydramine: 2/31              Amitriptyline may
on Chronic             cardiac)                  maintained (or reduced, if not      24 hours (LOCF for           Amitriptyline: 4/34                be effective also as
Neuropathic         • “renal insufficiency” (not tolerated) for 4 weeks, then        noncompleters).              Gabapentin: 5/32                   antidepressant,
Pain in                defined)                  tapered during Week 9, then                                                                         according to
Persons with                                     stopped for washout during          Analysis by ANCOVA with      This can be used for meta­         author’s sub­
Spinal Cord     No enrichment bias               Week 10.                            treatment and center as      analysis of WDAE for               analyses by
Injury. Arch                                         • Screened: 50                  fixed effects and baseline   amitriptyline vs.                  “depressive” status
Phys Med        Allowable drugs: no analgesics       • Randomized: 38 patients       mean score as covariate      gabapentin, but not for            of patients.
Rehabil         except oxycodone 5                       were randomized in sets     (p. 31)                      placebo, since
2007; 88:       mg/acetaminophen 325 mg                  of 6 consecutive patients                                diphenhydramine is active          4. Authors’
1547­60         supplied up to 8 tablets/day for         to 6 sequences (e.g. GAD,   NB: Patients who took        placebo with its own AE.           literature review
                breakthrough pain                        GDA, AGD, ADG, DGA,         study drug for only 2­7      Withdrawals (total ­shown          notes survey studies




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Rintala et al, 2007 (PUBLISHED) trial summary – Study No. 19 –Prepared by Thomas L. Perry, M.D., – FINAL, July 23, 2008                                                      2



Independent                                              DAG) using a table of         days (P=2; G=4)             as withdrawals divided by              of patients with pain
study           Baseline                                 random numbers for each       apparently were not         number of patients who started         from spinal cord
                                                                                                                   each treatment, i.e. withdrawals
sponsored by    characteristics:supplied for             set, varied from set to set   evaluated at all for        over number who received drug
                                                                                                                                                          injury suggesting
US Veterans     study completers (all 3 periods)     •   Patients starting with        outcomes and are            and were therefore eligible to         that neither
Affairs         vs non‐completers (< 3 periods)          D=13, A=12, G=13              dropped from “ITT           withdraw, [not including 1 w/d         amitriptyline nor
(VHARHDS                                             •   Gradual titration over 4      analysis”. Patients who     from A who “withdrew from study        gabapentin are very
                                                                                                                   after completing all of this arm due
grant)          Completers (N=22): mean pain             weeks toD=75 mg/day,          took study drug for 8­14    to moving out of state” – not          effective.
                intensity 5.6 +/‐ 2.2(VAS 10 pt          A=150 mg/day, G=3600          days (P=9, G=20) may        attributable to any group] ­ ITT for
November        scale); median 6, range 0.4‐9.6;         mg/day, all in 3 divided      have completed first        each drug)):
2001 – April    breakthrough tablets during              doses                         post­treatment efficacy
2004            baseline week = 16.9 =/‐ 17          •   Subjects could take lower     assessments at start of     Diphenhydramine: 3/31
                Non‐completers (N=16): mean              doses if experiencing         week 3 (visit 3) – not      Amitriptyline: 6/34
                pain intensity 6.6 +/‐ 2.3;              “unacceptable side            clearly stated in text as   Gabapentin: 6/32
                median 6, range 3‐10;                    effects” or if pain relief    no numbers are shown
                breakthrough tablets during              achieved                      in report for patient       Adverse Events:
                baseline week = 22.3 +/‐ 17.2        •   Subjects could cross over     assessments at each
                                                         early to next scheduled       week from Week 3            Patients with AE:
                                                         group after 1 week            onwards. (p. 44) A          not reported
                                                         washout, if they could not    “sensitivity analysis” is
                                                         tolerate AE                   described (p 34) to         Total AE:
                                                     •   4 weeks at steady dose if     impute BOCF for             not reported in a manner
                                                         achieved/tolerated            missing scores, but this    which is interpretable
                                                     •   outcome evaluations at        may apply only to the
                                                         clinic or home at baseline,   Week 1 dropouts???
                                                         weeks 2, 4 6 (for some
                                                         participants), 8, 10 during   Secondary:
                                                         each phase plus               NB: all secondary
                                                         telephone contact 1‐2         outcomes are
                                                         times/week throughout         dependent, not              Validated measures of
                                                         each 10 week phase            independent of primary      improvement in global




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Rintala et al, 2007 (PUBLISHED) trial summary – Study No. 19 –Prepared by Thomas L. Perry, M.D., – FINAL, July 23, 2008                            3



                                                                                      outcome, as they all         function including return
                                                  Patient flow: (complex – see        measure various              to work, study, activities of
                                                  diagram p. 1551)                    aspects of the same          daily living
                                                     • Randomized: 38                 thing (pain relief).
                                                     • Completed all 3 crossover         • Weekly mean pain        Not reported.
                                                        groups: 22/38                        scores
                                                     • Did not complete all 3            • “responders”            “Responder” analysis >
                                                        groups: 16/38                        analysis:             50% reduction in pain
                                                     • Started D: 31/38                      compared by CMH       from baseline:
                                                     • Started A: 34/38                      test between
                                                     • Started G: 32/38                      treatment groups      Not reported
                                                     • Completed D: 25/31                    for proportion of
                                                     • Completed A: 28/34                    patients with >       Primary outcome
                                                                                             50% or > 30%          (endpoint):
                                                     • Completed G: 26/32
                                                                                             reduction in
                                                                                             individual pain       Not meta­analysable.
                                                  Analysis: complex – see
                                                  publication for details. Patients          score at “endpoint”
                                                                                             vs baseline           The study reports on
                                                  were analysed as a group, by
                                                  completers vs. non‐completers,         • weekly mean             average week 8 final pain
                                                                                             sleep‐interference    ratings for completers
                                                  by “depressive symptomatology
                                                  group” at baseline (more                   scores                only, with no ITT nor ITT­
                                                                                         • CGIC and PGIC at        LOCF analysis for non­
                                                  depressed vs. less depressed
                                                  patients by a depression score),           final visit,          completers – the outcome
                                                                                             compared by CMH       is not comparable to other
                                                  etc.
                                                                                             test between          studies.
                                                  Randomization:see above and                treatment group
                                                  p. 1548                                    for proportion        The authors report mean
                                                                                             “very much            VAS ratings for pain during
                                                  Blinding: medications prepared             improved or much      week 8 for 22 completers (of
                                                  as matching capsules by                    improved”, etc.       38 patients randomized) as:




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Rintala et al, 2007 (PUBLISHED) trial summary – Study No. 19 –Prepared by Thomas L. Perry, M.D., – FINAL, July 23, 2008                                               4



                                                  commercial compounding                •   SF‐MPQ
                                                  pharmacy; no test of blinding         •   Treatment           D: 5.11 (2.54)
                                                  described                                 Outcomes in Pain    A: 3.46 (2.09)
                                                                                            Survey (TOPS)       G: 4.85 (2.86)
                                                                                        •   Hospital Anxiety
                                                                                            and Depression      “Repeated measures ANOVA
                                                                                            Scale (HADS)        indicated a main effect of
                                                                                                                medication (F=4.61, P=.016)
                                                                                    Safety: all patients        … Follow­up paired t tests
                                                                                    randomized who took 1       with Bonferroni adjustment …
                                                                                    dose of study drug          indicated that average pain
                                                                                                                intensity in week 8 with
                                                                                                                amitriptyline therapy was
                                                                                                                significantly lower than with
                                                                                                                gabapentin therapy (t=2.32,
                                                                                                                P=.03; effect size, Cohen
                                                                                                                d=.55) , or with
                                                                                                                diphenhydramine therapy
                                                                                                                (t=2.76, P=.012; Cohen
                                                                                                                d=.71).”

                                                                                                                Patient Global Impression
                                                                                                                of Change at
                                                                                                                endpoint(PGIC):
                                                                                                                Not reported.
Notes: This is a negative study which concluded: “… Gabapentin was no more effective than diphenhydramine (p=0.97)”….Amitriptyline is more efficacious in relieving
neuropathic pain than diphenhydramine at or below the level of spinal cord injury in people who have considerable depressive symptomatology.” The reporting is by
completers and by groups depression scoreBecause of the large number of withdrawals and the analysis by completers rather than ITT or even ITT‐LOCF, the analysis
cannot be compared in meta‐analysis with other trials.




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 Study No. 20 ­ Pfizer 0945­00S­P02 – GABAPENTIN FOR HIV­ASSOCIATED PAINFUL NEUROPATHY (PUBLISHED VERSION ONLY) – SUMMARY prepared by Dr. 1
 TL Perry – FINAL – July 27, 2008


 Study No. 20 ­ Pfizer 0945­00S­P02 – GABAPENTIN FOR HIV­ASSOCIATED PAINFUL NEUROPATHY (PUBLISHED VERSION ONLY) – SUMMARY prepared by Dr.
 TL Perry – FINAL – July 27, 2008
Study/ Design/dates           Inclusion criteria/baseline           Intervention(s), experimental design,      Predefined               Outcomes hierarchy (Cochrane, investigators:            Comments/conclusions
                              characteristics                       N of subjects randomized (ITT)/ N who      outcomes/issues in       primary/secondary)                                      of Dr. Perry
                                                                    completed study                            statistical analysis
Study No. 20                  HIV-associated sensory                Study design: 5 week multicentre           Predefined outcomes:     Doses attained: G400 mg/d: 1/15 (WDAE);                 1. Unusual trial insofar
Pfizer, apparently            neuropathy                            outpatient DBRCT parallel group study of                            G1200 mg/d: 4/15; G2400 mg/d: 10/15                     as it reports a very
Protocol 0945-00S-P02         (HIV-SN)                              gabapentin vs. placebo. 1 week             NB: Although this                                                                unusual analysis of
Hahn K, Arendt G, et al. A    (HIV-associated distal-symmetric      screening phase, 4 weeks double blind                                                                                       “median” pain scores
                              polyneuropathy)                                                                  appears to be a Pfizer   Mortality: not reported
placebo-controlled trial of                                         therapy, then 2 weeks open.                protocol (0945-00S-                                                              and enrolled patients of
gabapentin for painful HIV-                                                                                                             Serious Adverse Events: not formally reported (1        whom some had very
associated sensory            Inclusion:                                                                       P02) the protocol and
                                                                    Gabapentin titrated from baseline as 400                            patient discontinued G for “severe dizziness and        low pain scores at
neuropathies. J. Neurol            • > age 18                                                                  pre-defined outcomes                                                             baseline.
                                                                    mg/d (3 divided doses), then increased                              somnolence” 2 days after treatment with 400 mg/day is
2004; 251 : 1260-6                 • painful HIV -SN                as tolerated every 4 days to 1200 mg/d
                                                                                                               and statistical          shown below as SAE)
                                   • completion of                  by end of week 2, then increased for       analysis plan is not     P = 0/11 (0%) G = 1/15 (7%)                             2. Toxicity (AE)
Support: Pfizer grant,                 baseline pain diary                                                     available. No other
                                                                    pain to masimum of 2400 mg/d.                                                                                               findings are similar to
apparently protocol.                   for 1 week                                                              Pfizer protocol          Withdrawal Due to Adverse Events:                       other studies.
                                   • no apparent                    Patient flow:                              proposed analysis of     P=0/11; G=1/15
Dates: not identified,                 minimum pain                                                            median pain scores
apparently prior to MS                                                  • Screened: not reported                                                                                                3. Claimed significance
                                       score (range of                  • Randomized: 26; P=11; G=15           instead of mean pain     Total Withdrawals:                                      for primary endpoint is
submission of August 14,               medians: 1.5/10 -
2003                                                                    • Withdrawals: P=1, G=1                scores – this may be     P=1/11; G=1/15                                          very doubtful, and it is
                                       9.3/10, see below!                                                      a post-hoc analysis                                                              impossible to tell
                              Exclusion:                                • Dose attained: G1200 mg/d 4,                                                                                          whether the analysis
                                                                                                               different from the       Total patients with AE’s:
Design: 5 week                                                               G2400 mg/d 10
                                   • taking                                                                    original planned         Not reported                                            was pre-planned or
multicentre German                     tricyclic/tetracyclic            • Completed: P=10, G=14                                                                                                 post-hoc.
outpatient DBRCT                                                                                               analysis.
                                       antidepressant or                                                                                Total AE’s (patients may have > 1):
parallel group study of                other                        Analysis: (p. 1262)                                                 Not reported                                            4. Authors’ claim that
                                                                    Primary efficacy parameter – change in     Primary:
gabapentin vs. placebo.                anticonvulsant,                                                                                                                                          “gabapentin was more
1 week screening phase,                central analgesics           median pain score from baseline to 4th                                                                                      effective in reducing
                                                                                                               Pain score (VAS 100 mm   Specific AE:
                                       (opioids), etc.              treatment week, evaluated by daily pain                                                                                     the pain and the sleep
4 weeks double blind                                                                                           scale) from SF-MPZ       Somnolence: P=2/11; G=12/15
                                   • other causes of                diaries. Score determined by calculating                                                                                    interference score …
therapy, then 2 weeks                                               median pain score for baseline and week    recorded in a diary by   Dizziness: P=5/11; G=9/15
open. (not summarized                  painful neuropathy                                                                               Ataxia: P=3/11; G=7/15                                  than placebo” is not
                                                                    4. Sleep interference calculated in same   patients twice daily.




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 Study No. 20 ­ Pfizer 0945­00S­P02 – GABAPENTIN FOR HIV­ASSOCIATED PAINFUL NEUROPATHY (PUBLISHED VERSION ONLY) – SUMMARY prepared by Dr. 2
 TL Perry – FINAL – July 27, 2008


in this table)              •   “chronic renal        manner. Difference in change from                                      Functional improvement: not reported                      really supported by the
                                insufficiency”        baseline to endpoint analysed by          Primary outcome is                                                                     data.
Randomization: not                                    Wilcoxon test. See text for other         reported in publication as   >50% reduction in pain score:
described in detail                                   analyses.                                 the difference between       not reported                                              5. Details of analysis
                        Allowable drugs: NSAIDs                                                 weekly median pain                                                                     are not available as
                        – opioids not allowed         TLP cannot tell whether the summary       score at week 4              Primary outcome:                                          unpublished Pfizer
Concealment:
                                                      statistics presented are:                 endpoint, vs. baseline       There is no indication whether analysis is ITT-LOCF       report not available.
identically appearing                                                                           week.
                        Baseline characteristics                                                                             reported as apparent ITT with all patients reported. As
capsules
                                                          a) the group mean for P or G of                                    reported in publication (p. 1263), median pain score
                        Age as median (range):                weekly median pain scores for     ITT or ITT-LOCF not          reduction from baseline to week 4:
Test of blinding: not                                         patients in those groups;         specified, but only 1
                        P: 44 (35-61)
reported                                                                                        dropout from each            P (N=11) change of medians: 4.7-3.3 = 1.4 (p=0.646
                        G: 46 (27-59)
                        Duration of painful               b) the group median for P or G of     group.                       for comparison of endpoint with baseline)
                        neuropathy as median                  weekly median pain scores for
                        (range):                              patients in those groups          Secondary:                   G (N=15) change of medians: 5.1-2.85 = 2.25 (p<0.05
                        P: 28 weeks (4-240)                                                     Median weekly mean           for comparison of endpoint with baseline)
                        G: 48 weeks (2-384)                                                     sleep-interference scores
                        Pain score at baseline as                                                                            NB: the P, G group “median” pain scores are
                        median (range):               Randomization: “… by producing a                                       almost identical at endpoint (P=3.3/10; G=2.85/10)
                        P: 4.7 (1.5-9.3)              randomization schedule that assigned                                   and TLP cannot tell whether these are the group
                        G: 5.1 (1.7-8.7)              each patient to G or a matching placebo                                means or group medians of individual patient
                                                      … Patients were sequentially assigned                                  median weekly pain scores.
                                                      to a patient number” (p. 1262)
                                                                                                                             The authors report the differences from baseline to
                                                      Concealment: “identically appearing                                    endpoint as “% reduction in pain”.
                                                      capsules”
                                                                                                                             These results are not suitable for meta-analysis.
                                                      Blinding: not tested
                                                                                                                             Secondary outcomes:
                                                                                                                             As above, but for sleep interference, a non-
                                                                                                                             independent outcome.
                                                                                                                             PGIC: not reported




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 Study No. 21 – Arnold 2007 – GABAPENTIN FOR FIBROMYALGIA (PUBLISHED) – SUMMARY prepared by Dr. TL Perry – FINAL – July 27, 2008                                                                                    1



 Study No. 21­ Arnold 2007 – GABAPENTIN FOR FIBROMYALGIA (PUBLISHED) – SUMMARY prepared by Dr. TL Perry – FINAL – July 27, 2008
Study/ Design/dates               Inclusion                    Intervention(s), experimental design,       Predefined               Outcomes hierarchy (Cochrane, investigators:                Comments/conclusi
                                  criteria/baseline            N of subjects randomized (ITT)/ N who       outcomes/issues in       primary/secondary)                                          ons of Dr. Perry
                                  characteristics              completed study                             statistical analysis
Study No. 21                      Fibromyalgia                 Study design: 12 week 3-center U.S.         Predefined               Doses attained: median dose of G=1800 mg/d (interquartile   1. Trial reporting is
Arnold LM, Goldengerg DL et                                    outpatient DBRCT parallel group study       outcomes:                range 1200-2400 mg/d)                                       hard to understand
al. Gabapentin in the Treatment   Inclusion:                                                                                                                                                    in terms of the
                                                               of gabapentin vs. placebo. 7-60 day
of Fibromyalgia : A                                                                                                                                                                             statistical analysis.
Randomized, Double-Blind,
                                       • age 18                screening phase, then 12 weeks              Primary (BPI, 11—        Mortality: not reported
                                       • ACR criteria for      double blind therapy, then 1 week           point pain scale
Placebo-Controlled Multicenter
                                           fibromyalgia                                                    from 0-10):              Serious Adverse Events: not reported                        2. Toxicity (AE)
Trial. Arthritis & Rheumatism.                                 dose tapering phase.
2007 ; 56 : 1336-44                    • Average Brief                                                     Primary analysis of                                                                  findings are similar
                                           Pain Inventory                                                  BPI which measures       Withdrawal Due to Adverse Events:                           to other studies.
                                                               Dose titration:
Support:: U.S. National                    (BPI) score > 4                                                 pain severity during     P=7/75 (9%); G=12/75 (16%)
                                                               Gabapentin titrated from baseline as 300
Institute of Arthritis and                 (11 point scale                                                 the past 24 hours was                                                                3. Claimed
                                                               mg/d (bedtime dose) for week 1, then 300
Musculoskeletal and Skin                   0-10) at                                                        recorded at baseline     Total Withdrawals:                                          significance for
                                                               mg b.i.d. and 600 mg h.s. (1200 mg/d) for
Diseases grant N01-AR-1-                   screening and                                                   (week 0) and weeks       P=13/75; G=18/75                                            primary endpoint
                                                               weeks 2-3, then divided doses as 1800
2264. Lead author and one                  randomization                                                   1, 2, 4, 6, 8,10, 12;                                                                is uncertain, as
                                                               mg/d for weeks 4-5, then 2400 mg/d
other author consult for                   (baseline)                                                      “Longitudinal analysis                                                               multiple analyses
                                                               (divided doses, 1200 mg at bedtime) for                              Total patients with AE’s:
Pfizer.                           Exclusion:                                                               of rate of change of                                                                 were applied and
                                                               remainder of study from week 6 on. If not                            Not reported
                                                                                                           BPI pain score during                                                                Figure 2 does not
                                       • Pain from other       tolerated, dose reduced to 1200 mg/d as
                                                                                                           treatment between
Dates: September 2003 -                                                                                                                                                                         show tests of
                                           arthritic causes,   divided doses. Doses stable for last 4                               Total AE’s (patients may have > 1):
                                                                                                           groups.”                                                                             significance at any
January 2006                               etc. (opioids),     weeks of therapy, then tapered by 300                                Not reported
                                                                                                                                                                                                point.
                                       • Unstable              mg/d until discontinuation.
Design: 12 week 3-center                                                                                   Secondary                Specific AE:
                                           medical or
U.S. outpatient DBRCT                      psychiatric         Patient flow: (Figure 1, p. 1338)           analysis “changes        Somnolence: P=6/75 (8%); G=14/75 (19%)
                                                                                                                                                                                                4. A secondary
                                                                                                           from baseline to                                                                     analysis (see
parallel group study of                    illness, or             • Screened: 252                                                  Sedation: P=3/75 (4%); G=18/75 (24%)
                                                                                                                                                                                                original report at p.
                                           history of                                                      endpoint (ITT-           TLP: we will conservatively use “sedation” for meta-
gabapentin vs. placebo.                                            • Excluded: 102                                                                                                              1341 and 1342)
7-60 day screening phase,                  psychosis,                                                      LOCF)”                   analysis, since we cannot combine the 2 categories,
                                                                   • Randomized: 150; P=75; G=75                                                                                                assessing only
                                           mania, risk of                                                                           which probably overlap.
then 12 weeks double                                               • Withdrawals: P=13/75, G=18/75                                                                                              adherent patients
blind therapy, then 1 week                 suicide, etc.                                                   Response to                                                                          showed a slightly
                                                                   • Completed: P=62/75, G=57/75
dose tapering phase.                   • Recent                                                            treatment: defined       Dizziness: P=7/75 (9%); G=19/75 (25%)
                                                                                                                                                                                                lower effect of
                                           substance               • Total of 1077/1200 possible           as > 30% reduction       Lightheadedness: P=1/75 (1%); G=11/75 (15%)




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                                  abuse                      study visits of which P=541/600;     in pain severity by    TLP: we will use “sedation” for meta-analysis, since we      gabapentin in this
Randomization: not            •   “treatment                 G=533/600 (from Figure 2), 989       BPI from baseline to   cannot combine the 2 categories, which probably overlap.     model, which does
described in detail               refractory” in             visits while on study medication     endpoint               “Dizziness” is the more common term in other studies,        not make
                                  opinion of                 (numbers for P, G not reported                              and the ARI is similar for both.                             pharmacologic
                                  investigator               and not calculable from Figure                                                                                           sense.
Concealment: “matching”
                              •   prior treatment            2 for each experimental group                               Edema: P=6/75 (8%); G=12/75 (16%)                            5. The reporting of
                                                                                                  Secondary:
                                  with gabapentin            as timing of dropouts from                                  Aesthenia: P=5/75 (7%); G=6/75 (8%)                          “responder”
Test of blinding: not                                        therapy is not shown)                   • Overall                                                                        analysis and PGIC
                                  or pregabalin                                                                          Weight gain: P=0/75 (0%); G=6/75 (8%)
reported                                                                                                 impact of
                              •   drugs with CNS        •    Numbers persisting are generally
                                                                                                         fibromyalgia
                                                                                                                                                                                      is not compatible
                                  effects except             similar over 12 weeks from                                  Functional improvement: not reported                         with other studies
                                                                                                         FIQ scale (0-                                                                and therefore
                                  for occasional             Figure 2 (p. 1340) although
                                                                                                         80)                                                                          cannot be meta-
                                  use of sedating            gabapentin patients drop out                                >50% reduction in pain score:
                                                             more near end of experiment)            • Tender point                                                                   analysed.
                                  antihistamines                                                                         not reported (authors report > 30% reduction in BPI at
                                                                                                         assessment
                              •   analgesics                                                                             endpoint vs. baseline as:
                                                                                                         by                                                                           6. Although the
                                  other than OTC                                                                         P=23/75 (31%); G=38/75 (51%); p=0.014
                                                                                                         “dolorimeter”                                                                authors claim
                                                    Analysis: (p. 1338 et seq)
                                                    Power calculation for 90% power to detect
                                                                                                     • Clinical                                                                       improvement on
                                                                                                                         Primary outcome (BPI 11-point pain scale, over time):
                                                                                                         Global                                                                       functional scales
                                                    0.60 effect size difference for gabapentin.                          Primary analysis: Table 2 reports “Observed values and
                                                                                                         Impression                                                                   such as an 8.4
                                                    BPI average pain severity score chosen a                             model-based estimates”, not ITT or ITT-LOCF for the
                          Allowable drugs:                                                               of Severity                                                                  point difference
                                                    priori as primary outcome measure. Type                              time course. Figure 2 reports what appears to be ITT-
                          acetaminophen or OTC                                                           (CGIS; 7-                                                                    favouring G over P
                                                    1 error of p=0.05 set. Secondary                                     LOCF, which is not shown as significantly different at any
                          NSAIDs                                                                         point scale)                                                                 on an 80—point
                                                    measures “intended to confirm the findings
                                                                                                     • Patient           time point, although number of patients assessed for G,      “Fibromyalgia
                                                    of the primary measure”; no adjustment for
                          Baseline                  multiple comparisons performed. For                  Global          P, is shown.                                                 Impact
                          characteristics           continuous variables (primary outcome =              Impression                                                                   Questionnaire”,
                                                    BPI) longitudinal analysis of rate of                of              Secondary analysis: from text (p. 1340):                     they do not adduce
                          Age (mean):               change of outcome between groups,                    Improvement     N for each group is not specified for ITT-LOCF although      evidence of
                          P: 47                     estimated by “random regression models               (PGII,          P=62/75, G=57/75 completed. Numerical values for each        substantive
                          G: 49                     as described elsewhere” … using all                  equivalent to   group shown in text at p. 1340 are different from            functional
                                                    observations from all time points …(see              PGIC; 7         numerical values for completers shown in Table 2 (table      improvement.
                          BPI pain score at         text, p. 1339) As a secondary analysis,              point scale
                                                                                                                         text does not clarify this).
                          baseline as mean (SD):    changes from baseline to end point (ITT-             where
                          P: 6.0 (1.5)              LOCF) were analysed using an ANOVA                   1=very much
                          G: 5.7 (1.4)                                                                   better …        Baseline BPI: P=6.0 (1.5); G=5.7 (1.4)



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                                      model. Primary analysis for response to              7=very much    Endpoint BPI (LOCF): P=5.0 (2.6); G=3.8 (2.2)
                                      treatment and participant ratings of global          worse)         Difference (baseline – endpoint):
                                      improvement was CMH test for end point           •   Medical        P=1.0 (? SD); G=1.9 (? SD)
                                      values, using LOCF of all subjects who               Outcomes
                                      had at least one post-baseline                       Study sleep    “Estimated difference between groups”: -0.95 (95%
                                      assessment.                                          measure        CI: -1.68, -0.23); p=0.010
                                                                                       •   Montgomery
                                      Randomization: “… randomly assigned to               Asberg         TLP: It is not clear how to use these “secondary analysis”
                                      1 of 2 treatment groups … in a 1:1 ratio”            Depression     results for meta-analysis. Since they appear to be ITT-
                                      (p. 1337)                                            Rating Scale   LOCF similar to other studies, it may be reasonable to
                                                                                       •   MOS Short      include them. The multiple tests of statistical significance
                                      Concealment: “Gabapentin or                          Form 36 (SF-   are problematic but this would give an optimistic estimate
                                      matching placebo”                                    36)            of the overall pain effect of gabapentin which is at least
                                                                                                          comparable in time to other studies.
                                      Blinding: not tested                          NB: authors note
                                                                                    they did not apply    Secondary outcomes:
                                                                                    correction for        See original report for secondary outcomes other than
                                                                                    multiple tests of     PGIC (pp. 1340-1). The “Medical Outcomes Study Sleep
                                                                                    statistical           Problems Index Score” showed a relatively larger change
                                                                                    significance.         favouring G over P, compared with the pain score, which
                                                                                                          authors interpret as evidence that gabapentin improved
                                                                                                          sleep, etc.

                                                                                                          PGIC: not reported by individual categories of 7-point scale,
                                                                                                          nor by best 2 categories. Figure 3 shows only bar graphs for
                                                                                                          “worse”, “no change”, or “better”; the “better” category
                                                                                                          comprises 3 categories and is not comparable to 2-category
                                                                                                          groupings used in other studies. No histogram can be
                                                                                                          generated.




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 Study No. 22­ Kimos 2007 – GABAPENTIN FOR CHRONIC MASTICATORY MUSCLE PAIN (PUBLISHED) – SUMMARY prepared by Dr. TL Perry – FINAL – July 27, 1
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 Study No. 22­ Kimos 2007 – GABAPENTIN FOR CHRONIC MASTICATORY MUSCLE PAIN (PUBLISHED) – SUMMARY prepared by Dr. TL Perry – FINAL – July 27,
 2008
Study/ Design/dates                  Inclusion                   Intervention(s), experimental design,       Predefined                Outcomes hierarchy (Cochrane, investigators:                          Comments/conclusi
                                     criteria/baseline           N of subjects randomized (ITT)/ N who       outcomes/issues in        primary/secondary)                                                    ons of Dr. Perry
                                     characteristics             completed study                             statistical analysis
Study No. 22                         Chronic Masticatory         Study design: 12 week 1-center              Predefined                Doses attained: not reported, although some subjects in G             1. Trial reporting is
Kimos P, Biggs C et al.              Muscle pain (CMM)           Canadian outpatient DBRCT parallel          outcomes:                 group reached 4200 mg/d, achieving “partial pain control or no pain   hard to understand
Analgesic action of gabapentin                                                                                                         control at all”.                                                      in terms of the
                                                                 group study of gabapentin vs. placebo.
on chronic pain in the               Inclusion:                                                              Primary (VAS 10 cm                                                                              statistical analysis.
masticatory muscles : A                                          Screening not described. 12 weeks
                                          • Masticatory                                                      pain scale):              Mortality: not reported
randomized controlled trial.                                     double blind therapy. Assessments by
Pain 2007; 107: 151-60                        muscle pain >      one investigator at baseline, week 4,       Reported at                                                                                     2. Claimed
                                              6 months                                                       baseline and each         Serious Adverse Events: not reported                                  significance for
                                                                 week 8, and week 12.                                                                                                                        primary and
                                          • No traumatic,                                                    of 3 post-baseline
Support:: University of                       infectious,                                                    visits for the            Withdrawal Due to Adverse Events:                                     secondary
                                                                 Dose titration:                                                                                                                             endpoints is not
Alberta Fund for Dentistry                    inflammatory       Gabapentin titrated from baseline as 300    previous week (no         Not reported
(Grant No. 2003-01),                          cause                                                                                                                                                          reasonable, as
                                                                 mg/d, increased every 3 days until pain     mention of pain                                                                                 multiple tests were
Pharmascience (donated                    • Baseline pain        control with no adverse effects to a        score diaries). “A        Total Withdrawals:
gabapentin and placebo)                       score > 50 mm                                                                            P=8/25; G=6/25                                                        performed. The
                                                                 maximum of 4200 mg/d. Titration by          pain reduction of                                                                               graphical
                                              on 100 mm          telephone call from pharmacy research       30% would be
Dates: ? 2003 grant,                          VAS scale                                                                                Total patients with AE’s:                                             presentation does
                                                                 assistant (? Unblended – see p. 152 and     considered clinically                                                                           not allow
recruitment over 10 months,               • Pain on              154)                                                                  Not reported
completed before September                                                                                   significant.”                                                                                   comparison of the
                                              palpation in > 3
2005 (submission of MS)                                                                                                                                                                                      original numerical
                                              of 6 possible      Patient flow: (Figure 1, p. 155)                                      Total AE’s (patients may have > 1):
                                                                                                                                                                                                             data.
                                              points in              • Screened: 79                                                    Not reported
Design: Independent. 12                       temporalis or                                                  Secondary:
week 1-center Canadian
                                                                     • Excluded: 29                           “Palpation index”                                                                              3. Although the
                                              masseter                                                                                 Specific AE:
outpatient DBRCT parallel                     muscles                • Randomized: 50; P=25; G=25            (see text, p. 153)        Drowsiness (somnolence): P=5/25 (20%); G=7/25 (28%)                   study makes a
group study of gabapentin vs.        Exclusion:                      • Withdrawals: P=8/25, G=6/25                                     Dizziness: P=2/25 (8%); G=7/25 (28%)                                  good effort to
placebo. Screening not                                               • Completed: P=17/25, G=19/25           VAS-function              Memory & cognitive impairment: P=1/25 (4%); G=4/25 (16%)              present patient
described, variable washout               • Inflammatory
                                              TMD                    • Assessed despite dropout at           (“patients were trained   Ataxia: P=0/25 (0%); G=1/25 (4%)                                      flow, it’s claim
based on half-life of prior drugs,                                                                           to understand that
as needed. 12 weeks double                • Epilepsy,                     endpoint (ITT): P=20/25, G=24/25                             Weight gain: P=0/25 (0%); G=1/25 (4%)                                 that it performs
                                                                                                             one end of the scale      TLP: these outcomes are meta-analysable.
blind therapy.                                cardiac, renal,        • Early withdrawals with no follow-                                                                                                     true ITT analysis



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                                           hepatic                      up observation: P=5/25; G=1/25       represented no impact   Functional improvement: not reported (not an outcome)       is incorrect, as
Randomization/Conceal                      disorders               •                                         at all and the other                                                                only 44/50
ment: “a computer-generated            •   Dental/periodo      Analysis: (p. 154)                            end was                 >50% reduction in pain score:                               patients are
randomization code list was                ntal disease,       See original article. No power calculation.   representative of       not reported (not an outcome)                               accounted for at
utilized to randomly allocate              neuropathic                                                       extreme or severe
                                                                                                                                                                                                 the end of study.
patients in two study groups.              facial pain, etc.   Randomization: “a computer-generated          impact, reflecting      Primary outcome (VAS 10 cm pain scale, baseline vs. 4, 8,
For double-blinding purposes,          •   Recent split        randomization code list was utilized to       disability.” )          12 weeks):
concealed randomization and                                                                                                                                                                      4. Blinding almost
                                           users               randomly allocate patients in two study                               Reported as significant at 12 weeks (NOT ITT-LOCF,          certainly broken
the according allocation were
implemented by a research              •   Users of            groups..”. (p. 152)                                                   appears to be observed cases at 12 weeks)                   for gabapentin
assistant. Neither the patients            opioids,                                                          NB: no discussion       Report is only as Figure 2 (p. 156) which does ot provide   patients.
nor the main investigator was              acetaminophen       Concealment: “identical looking               of correction for       baseline nor week 4, 8, 12 scores, only SD’s (scores are
aware of the random group                  /opioid
                                                               capsules”                                     multiple tests          shown graphically). As repeated tests of statistical
allocation.” (p. 152)                      combinations,                                                                                                                                         5. Overall, this
                                                                                                                                     significance are performed and SD’s at week 12 (P: 2.67;    study is
                                           muscle                                                                                    G: 2.37) appear to overlap more than the separation of
                                                               Blinding: not tested; doubtful (from                                                                                              uninterpretable
Concealment: “identical                    relaxants
                                                                                                                                     graphed VAS pain scores, the difference does not appear
looking capsules” (p. 152)
                                                               description of pharmacist contacts with                                                                                           and not suitable
                                                               patients)                                                             to be statistically significant as claimed (“week 12,       for meta-analysis
Test of blinding: not reported;                                                                                                      P=0.026”)                                                   except for safety
                                   Allowable drugs:
“subjects in this study received
a weekly follow-up phone call
                                   TCA’s, SSRI’s,                                                                                                                                                outcomes.
                                   benzodiazepines if                                                                                This VAS pain score outcome is not suitable for
by a pharmacy research
                                   previously udsed                                                                                  meta-analysis.
assistant in order to help them
reach their minimum effective      regularly
dose and monitor for possible                                                                                                        Secondary outcomes:
side effects. Follow-up phone      Baseline                                                                                          See original article. Not interpretable and not
calls were directed to both        characteristics                                                                                   comparable to other studies.
study groups … in order to keep    Not described in
patient’s blinding
uncompromised.” (TLP:              conventional style or                                                                             PGIC: not reported (not an outcome)
suggests blinding may have         adequately.
been compromised by phone
calls)




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 Study No. 23 – McCleane 2001 – GABAPENTIN FOR LOW BACK PAIN (PUBLISHED) – SUMMARY prepared by Dr. TL Perry – FINAL – August 6, 2008                                                                                             1



 Study No. 23 – McCleane 2001 – GABAPENTIN FOR LOW BACK PAIN (PUBLISHED) – SUMMARY prepared by Dr. TL Perry – FINAL – August 6, 2008
Study/ Design/dates             Inclusion                     Intervention(s), experimental design,         Predefined                   Outcomes hierarchy (Cochrane, investigators:                     Comments/conclusi
                                criteria/baseline             N of subjects randomized (ITT)/ N who         outcomes/issues in           primary/secondary)                                               ons of Dr. Perry
                                characteristics               completed study                               statistical analysis
Study No. 23                    Low back pain (lumbar         Study design: 8 week single centre            Predefined                   Doses attained: not reported; apparently 1200 mg/d for           1. Reporting of
McCleane GJ. Does               and associated leg            Northern Ireland outpatient DBRCT             outcomes:                    gabapentin completers (P=34/40, G=31/40)                         methodology and
gabapentin have an analgesic    pain)                                                                                                                                                                     statistical analysis
                                                              parallel group study of gabapentin vs.
effect on background,                                                                                       Primary (NRS, 11—                                                                             is relatively
                                                              placebo. 2 week run-in, then 3 weeks                                       Mortality: not reported
movement and referred pain ?                                                                                                                                                                              incomplete.
                                Inclusion:                    dose escalation, then 3 weeks stable          point pain scale
A randomized, double-blind,
placebo controlled study. The       Adults attending a        dose.                                         from 0-10):                  Serious Adverse Events: not reported
Pain Clinic 2001; 13: 103-07.       hospital-based pain                                                     Not discussed                                                                                 2. Potential
                                    clinic                                                                  conventionally in                                                                             ―enrichment‖ bias
                                                              Dose titration:                                                            Withdrawal Due to Adverse Events:
                                    Paravertebral lumbar                                                    Method section. From                                                                          by exclusion of
Support: Not reported.                                        Gabapentin titrated from baseline as 300      text and Table II (p. 104,   not reported
                                    tenderness at 1                                                                                                                                                       patients who had
Appears to be independent,          vertebral level and       mg/d for week 1; then 300 mg b.i.d. for       105) the primary
approved by Regional                                                                                                                                                                                      been treated
                                    pain worse on             week 2; then 300 mg t.i.d. for week 3; then   outcome appears to be        Total Withdrawals:
Research Ethical Committee                                                                                  the difference between                                                                        previously with
                                    extension of back         300 mg q.i.d. (1200 mg/day) during weeks                                   not reported (8 patients “failed to attend for end of study
and U.K. Medicines Control                                                                                  mean NRS pain score                                                                           gabapentin or were
                                Exclusion:                    4-6.                                                                       review” but they are not reported by treatment group)
Committee (non-approved                                                                                     for each patient for daily                                                                    ―known to be
                                    “Features of
use of gabapentin).                 neuropathic pain”                                                       observations made                                                                             sensitive to it‖.
                                                              Patient flow: not described clearly nor                                    Total patients with AE’s:
                                    (shooting pain,                                                         during week 8 (final
                                                              shown as figure; deduced from text.           week of treatment) vs.       Not reported
Dates: ? 2000 or earlier            paresthesia,                                                                                                                                                          3. Back pain at rest
                                    numbness, allodynia)               Screened: not reported               mean NRS pain score                                                                           appears to be the
(reported 2001)                                                                                             for 2-week baseline          Total AE’s (patients may have > 1):
                                    adequate pain control              Excluded: not reported                                                                                                             outcome most
                                                                       Randomized: 80; P=40; G=40           period – for back pain at    P=13; G=19
                                    from NSAIDs or                                                                                                                                                        comparable to
Design: 8 week single               codeine-based                                                           rest, back pain on
                                                                       Withdrawals: not reported            movement, and leg pain.                                                                       overall NRS pain
centre Northern Ireland             analgesics                                                                                           Specific AE:                                                     score used in other
outpatient DBRCT parallel                                              Completed: P=34/40, G=31/40                                       Reporting is different from other studies and does not clarify
                                    previously treated with                                                                                                                                               studies, but
group study of gabapentin           gabapentin or “known                                                    Secondary:                   whether the numbers cited in Table III (p. 106) refer to the
                                                              Analysis: (p. 104)                            Not discussed                                                                                 recording may have
vs. placebo. 2 week run-            to be sensitive to it”                                                                               number of patients or the number of events. See original
                                                              No discussion of pre-specified statistical    conventionally in                                                                             been at different
in, then 3 weeks dose               expected to change                                                                                   paper for details.                                               times of day
                                    medication during         approach. “Average pain scores were           Method section. From
escalation, then 3 weeks            study period or unable    calculated and differences between study      text (p. 104, 105) the                                                                        (intended to be
stable dose.                                                                                                secondary outcomes           TLP: The above are not adequately reported and therefore         consistent for each
                                    to complete forms         groups compared using Student’s t-test.                                    not suitable for meta-analysis
                                                                                                            appear to be:                                                                                 patient) – most



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 Study No. 23 – McCleane 2001 – GABAPENTIN FOR LOW BACK PAIN (PUBLISHED) – SUMMARY prepared by Dr. TL Perry – FINAL – August 6, 2008                                                                                  2



                                                  Regression analysis was used to assess        a) the difference                                                                                   other studies asked
Randomization: not        Allowable drugs: usual relationships between duration of pain,        between mean 11-point        Functional improvement: not reported                                   for recording of
                          medications; no changes age, sex and changes in pain scores. P        NRS back mobility score                                                                             pain scores upon
described in detail                                                                             for each patient for daily
                                                  values < 0.05 were considered statistically                                >50% reduction in pain score:                                          morning awakening
                                                                                                observations made
Concealment: “identical   Baseline                significant.” No correction for multiple                                   not reported (not an outcome)                                          from sleep. If pain
                                                                                                during week 8 (final
                          characteristics         tests.                                                                                                                                            scores were
appearance” (capsules)                                                                          week of treatment) vs.
                                                                                                mean NRS pain score          Primary outcome (NRS 11-point pain scale, endpoint vs.                 recorded at other
                          Age (mean):               Randomization: “… randomly assigned in      for 2-week baseline          baseline): from Table II and text, p. 105                              times, any soporific
Test of blinding: not                               equal numbers to two groups, A and B        period, where a larger                                                                              effect of gabapentin
                          P: 47.8 (11.7)
reported                                            using a computer generated random           number reflected better                                                                             may be less
                          G: 41.3 (13.1)                                                                                     a) Back pain at rest, mean (SD):
                                                    number list.” (p. 104)                      mobility;                                                                                           obvious.
                                                                                                                             Baseline mean: P=6.51 (1.90); G=6.82 (2.08)
                                                                                                b) daily consumption of
                          Duration of pain                                                      concomitant analgesic        Endpoint: P=6.52 (2.06); G=6.31 (2.07)
                          (months):                 Concealment: “Both study drugs were                                      Difference: P=+0.01 (1.98); G=-0.51 (2.07); “not significant”*         4. Claimed
                                                                                                as number of tablets
                          P: 74.5 (82)              of identical appearance, and neither                                     (SD for differences calculated as mean of SDbaseline + SDendpoint)     statistical
                                                                                                taken per day.
                          G: 63.1 (45.3)            investigator nor study subject were                                                                                                             significance
                                                    aware of the identify of the study          Note: While the              b) Back pain with movement, mean (SD):                                 favouring
                          11-point NRS pain                                                     discussion is inadequate     Baseline mean: P=7.33 (1.64); G=7.48 (1.60)                            gabapentin for
                                                    capsule.” (p. 104)
                          score (back pain at                                                   compared with many           Endpoint: P=7.34 (1.52); G=7.01 (1.82)                                 outcomes of back
                          rest) at baseline as                                                  other studies, the           Difference: P=+0.01 (1.58); G=-0.47 (1.71); “p<0.05”*                  pain with
                                                    Blinding: Not tested. “… the blinding       method using daily NRS       (SD for differences calculated as mean of SDbaseline + SDendpoint)     movement or leg
                          mean (SD):                codes were broken at the end of the study   scale “at the same time                                                                             pain (? Difference
                          P: 6.51 (1.90)            period …” (p. 105)                          of day” for pain             a) Leg pain, mean (SD):                                                from baseline for
                          G: 6.82 (2.08)                                                        assessment for the           Baseline mean: P=6.57 (2.32); G=6.37 (2.27)                            gabapentin groups)
                                                                                                previous 24 hours is         Endpoint: P=6.33 (2.39); G=5.92 (2.61)                                 is impossible to
                                                                                                similar to most studies,
                                                                                                                             Difference: P=-0.24 (2.35); G=-0.45 (2.44); “p<0.05”*                  assess without
                                                                                                except that the time of
                                                                                                                             (SD for differences calculated as mean of SDbaseline + SDendpoint)     more detail of
                                                                                                day may not be on first
                                                                                                morning arising, which is                                                                           statistical method,
                                                                                                                             *It is unclear due to imprecision in method section what comparisons   and there is no
                                                                                                used in most other
                                                                                                                             the p-values apply to.
                                                                                                studies.                                                                                            correction for
                                                                                                                                                                                                    multiple
                                                                                                                             TLP: For meta-analysis of NRS pain scores we have used
                                                                                                                                                                                                    comparisons.
                                                                                                                             for back pain at rest (closest to overall NRS pain score
                                                                                                                             reported in other studies) the raw numbers and SDs for
                                                                                                                             the within group (placebo, gabapentin) differences from                5. Reduction of




                                                                                                                                                                                                                      2
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Study No. 23 – McCleane 2001 – GABAPENTIN FOR LOW BACK PAIN (PUBLISHED) – SUMMARY prepared by Dr. TL Perry – FINAL – August 6, 2008                                       3



                                                                                     baseline to endpoint. This does not require us to interpret      analgesic
                                                                                     the statistical analysis further.                                consumption in
                                                                                                                                                      gabapentin group,
                                                                                                                                                      although claimed to
                                                                                                                                                      be ―statistically
                                                                                     Secondary outcomes:                                              significant‖ is not
                                                                                                                                                      considered
                                                                                     a) Average mobility scores (11-point NRS): “there was no         clinically significant
                                                                                     significant change in average mobility scores in either group    by author. (p. 106)
                                                                                     during the treatment period” (p. 105; not reported further)
                                                                                                                                                      6. Author questions
                                                                                     b) Consumption of concomitant analgesics:                        overall clinical
                                                                                     P: not reported (“There was a small but statistically            benefit of
                                                                                     insignificant increase in analgesic consumption in the placebo   gabapentin.
                                                                                     group.”
                                                                                     G: Baseline=4.72 (2.83) doses/day; Endpoint=4.27 (3.15)
                                                                                     doses/day; difference=0.45 doses/day (2.89); “p=0.05”

                                                                                     PGIC: not reported (not an outcome)

                                                                                     Additional outcome reported:
                                                                                     At end of study unblinding, patients were offered the
                                                                                     chance to continue their study medication. Of 40 patients
                                                                                     initially randomized to gabapentin, 13/40 chose to
                                                                                     continue open label gabapentin, self-titrated to < 3600
                                                                                     mg/day. After a further 2 months, 5/13 (5/40 initially
                                                                                     randomized to gabapentin) wished to continue
                                                                                     gabapentin. The report does not state whether any
                                                                                     patients randomized to placebo later took gabapentin.




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Study No. 24 – SMITH 2005 – GABAPENTIN FOR CHRONIC PHANTOM LIMB & RESIDUAL LIMB PAIN – DBR CROSSOVER TRIAL (published) – FINAL                                                                                         1
Dr. Thomas L. Perry, August 7, 2008


Study No. 24 – SMITH 2005 – GABAPENTIN FOR CHRONIC PHANTOM LIMB & RESIDUAL LIMB PAIN – DBR CROSSOVER TRIAL (published) – FINAL
Study/Design/dates                     Inclusion                  Intervention(s), experimental         Predefined                Outcomes hierarchy (Cochrane, investigators:                  Comments/conclusions
                                       criteria/baseline          design,                               outcomes/issues in        primary/secondary)                                            of Dr. Perry
                                       characteristics            N of subjects randomized (ITT)/       statistical analysis
                                                                  N who completed study
Study No. 24                           Chronic post-              Study design: DBR Crossover           Predefined                Dose achieved: not reported                                   1. The reporting of this
Smith DG, Ehde DM et al.               amputation phantom         Trial, 18 weeks including 2           outcomes:                                                                               study is somewhat
Efficacy of gabapentin in              limb pain (PLP) or         treatment periods of 6 weeks                                    Mortality: Not reported                                       unusual and it is not
treating chronic phantom limb          residual limb pain         (plus week 7 dose tapering after      Primary: NRS (0-10                                                                      clear why subtracting
and residual limb pain. J              (RLP)                      first phase) separated by 5 week      point) pain rating for    Serious Adverse Events: Not reported                          the mean endpoint
                                                                  washout, comparing gabapentin         last 24 hours for PLP                                                                   scores from mean
Rehab Research &
                                       Inclusion:                 (G) with placebo to final dose of     and RLP. This was         Withdrawal Due to Adverse Events:                             baseline scores
Development 2005; 42: 645-                                                                                                                                                                      produces a different
                                            > 18 years            G<3600 mg/d.                          assessed 3 times for      Interpreted from text at p. 656-7 (see patient flow)
654                                                                                                     average pain and                                                                        result than the “Pre-
                                            > 6 months post-                                                                      P=0/24; G=0/24
                                            amputation (lower     Patient flow (p. 646-7):              worst pain during prior                                                                 Post” differences
Support: private donor support to                                                                       24 hours during week      Total withdrawals: P=0/24; G=0/24                             shown in Table 3, p.
                                            or upper limb)            Wide recruitment (p. 646)
Harborview Medical Center for Limb                                                                      prior to Phase I, week    Interpreted from text at p. 656-7 (see patient flow)          651.
Loss Research and National                  average pain rating       Screened: 78
                                            > 3 on 11-point                                             6 of Phase 1, week 5
Institute of Child Health and Human                                   Ineligible (insufficient pain,    of washout prior to                                                                     2. This study found a
                                            NRS scale during          abnormal kidney function): 25
                                                                                                                                  These appear suitable for meta-analysis
Development and National Institute                                                                      Phase 2, and week 6                                                                     numerically small but
of Neurological Disorders and               last month                Declined to participate (most
                                       Exclusion:                                                       of Phase 2 by             Total patients with AE’s: Not reported                        statistically non-
Stroke grant PO1 HD/NS33988                                           common reasons - prior            telephone interview                                                                     significant larger effect
                                            anticonvulsant            negative experience with
                                                                                                        conducted by              Most important AE’s: Not reported                             of gabapentin than
                                            medication                gabapentin or not wanting to
Dates: 1999-2003 (p. 653)                                                                               research study nurse.                                                                   placebo on phantom
                                            > 2 alcoholic             take it): 29
                                                                                                        Mean of 3 pain ratings                                                                  limb and residual limb
                                            drinks/day                Total exclusions: 54                                        Total AE’s (patients may have > 1 as total exceeds total
Trial design: Independent.                                                                              (average, worst) for                                                                    mean pain score
                                            history of kidney         Randomized: 24                                              patients with AE):
                                                                                                        PLP, RLP were used                                                                      difference from
                                            disease or “low           P/G=13                                                      Not reported
DBR Crossover Trial, 18 weeks                                                                           as weekly pain scores                                                                   baseline to endpoint.
                                            estimated                 G/P=11                            for baseline/endpoing
including 2 treatment periods of 6          creatinine                                                                            Disability: Not reported (data on “Functional Independence
weeks (plus week 7 dose-tapering                                      Completed crossover: 24/24        in each phase. (p.                                                                      The mean PLP pain
                                            clearance” (cutoff        (interpreted from text, p. 648,                             Measure” and Craig Handicap Assessment and Reporting
after first phase) separated by 5                                                                       647-9)                                                                                  score difference
                                            not specified)            “All participants received 6                                Technique” appear to have been collected at pre-treatment
week washout, comparing                                                                                                                                                                         appears to be the most
                                                                      weeks of therapy with                                       baselines and at week 6 for each phase (p. 648) but are not
gabapentin (G) with placebo to final                                                                                                                                                            suitable value for meta-
                                       Allowable drugs: not           gabapentin and 6 weeks of                                   reported in this publication.




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Study No. 24 – SMITH 2005 – GABAPENTIN FOR CHRONIC PHANTOM LIMB & RESIDUAL LIMB PAIN – DBR CROSSOVER TRIAL (published) – FINAL                                                                                       2
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dose of G<3600 mg/d                specified                     therapy with placebo            Secondary (p. 647-                                                                          analysis with other
                                                                 (lactose) in random order”      8):                       > 50% reduction in NRS pain score at endpoint vs.                 NRS pain score
Concealment: identical placebo     Baseline                      and from percentage                  “Meaningfulness      baseline: not reported (not an outcome)                           differences. The
capsules                           characteristics:              calculations of unblinding at        of change in pain”                                                                     numerical difference
                                       Mean age: 52.1            p. 649)                              on a 5-point scale   Primary outcome NRS pain score:                                   for G-P is almost
Randomization: “the study              (range 25-76)             Exposed to drug:                     from 1=”pain         NS = not statistically significant                                identical to that for
pharmacist conducted the               Mostly                    P=24, G=24                           decreased to a                                                                         RLP, so the choice is
randomization technique using          transfemoral,             Completed assigned                   meaningful           a) Average phantom limb pain, mean (SD):                          immaterial to the
computer-generated random              transtibial (3/24         treatments: apparently               extent” … 3= “no     Baseline: P=4.09 (2.44); G=4.38 (2.57)                            results of meta-
numbers.” (p. 648)                     patients upper            P=24/24, G=24/24                     change in pain”      Endpoint: P=3.60 (2.67); G=3.43 (2.45)                            analysis.
                                       limb)                     Withdrawn from treatments:           … 5=”pain            Difference: P=-0.49 (2.20); G=-0.94 (1.98), NS
Test of blinding: patients asked       Mostly                    apparently P=0/24; G=0/24;           increased to a       (Authors state “effect size” of 0.31 without explaining further   3. The larger
                                       injury/infection          not adequately reported              meaningful           how this is calculated. Difference G-P appears to = -0.45         percentage of patients
to guess therapy at end of each
                                       related                                                        extent”              but is not significant.)                                          reporting the
treatment phase
                                       amputations                                                                                                                                           secondary outcome,
                                                                                                      “Overall benefit”
                                       21/24 patients had    Drug doses/titration (p. 648):                                b) Average residual limb pain, mean (SD):                         “my pain decreased to
                                                                                                      on a 6-point scale
                                       phantom limb pain;    Titration from G=300 mg/d                                     Baseline: P=3.21 (2.43); G=3.63 (2.75)                            a meaningful extent”
                                                                                                      from 1=”benefits
                                       mean rating (SD) =    increased as tolerated or to                                  Endpoint: P=2.79 (2.28); G=2.26 (1.94)                            favoured gabapentin at
                                                                                                      far outweighed
                                       4.38 (2.57)           achievement of pain intensity                                 Difference: P=-0.74 (1.94); G=-1.22 (2.56), NS                    P<0.05 but there is no
                                                                                                      negative side
                                       20/24 patients had    rating =0 by 300 mg/d every 2-3                               (Authors stated “effect size” of 0.36 without explaining          adjustment for multiple
                                                                                                      effects”
                                       residual limb pain;   days to maximum of 3600 mg/d,                                 further how this is calculated. Difference cited in Table 3, p.   comparisons. Along
                                                                                                      …4=”although
                                       mean rating (SD) =    with matching approach for                                    651 differs numerically from the simple difference of the         with numerical excess
                                                                                                      both benefits and
                                       3.96 (2.73)           placebo capsules.                                             Baseline-Endpoint for both placabo and gabapentin, but this       of side effect complaint
                                                                                                      side effects, they
                                                                                                                           is not explained in text.)                                        in gabapentin group,
                                                             Statistical Analysis: (p. 649)           were about
                                                                                                                                                                                             this may be analogous
                                                             Unusually complicated                    equal”…
                                                                                                                           For meta-analysis of mean pain score difference from              to PGIC reports from
                                                             description with multiple paired         6=”negative side
                                                                                                                           baseline, we considered using the differences cited               other studies, but is
                                                             samples t-tests. See original            effects far
                                                                                                                           above for mean PLP and mean RLP. We chose mean                    not suitable for meta-
                                                             report.                                  outweighed
                                                                                                                           PLP as the most comparable outcome for meta-analysis              analysis.
                                                                                                      benefits”…
                                                                                                 (This is analogous        with NRS pain scores from other studies because it
                                                                                                                           represents a mean pain score during 1 week at baseline            4. The authors
                                                                                                 to, but not
                                                                                                                           and endpoint and because baseline NRS PLP scores                  conclude that “The
                                                                                                 comparable to PGIC
                                                                                                                           were > 4 for both placebo and gabapentin phases,                  findings suggest that,
                                                                                                 used in other
                                                                                                                                                                                             on average, gabapentin




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                                                                    studies.)              making this the closest comparator to other studies               does not provide
                                                                        “Pain              which require NRS mean pain > 4 at baseline.                      strong pain relief for
                                                                        interference”                                                                        these chronic pain
                                                                        with 7 daily       c) Worst phantom limb pain, mean (SD):                            conditions.”
                                                                        acgtivities        Baseline: P=5.59 (2.98); G=5.91 (3.15)
                                                                                           Endpoint: P=4.82 (3.22); G=4.65 (3.05)
                                                                        SF-MPQ             Difference: P=-0.58 (2.86); G=-1.15 (2.41), NS
                                                                        Depressive         (Authors stated “effect size” of 0.35 without explaining
                                                                        symptoms on        further how this is calculated. Difference cited in Table 3, p.
                                                                        “CES-D” 20-        651 differs numerically from the simple difference of the
                                                                        item scale         Baseline-Endpoint for both placabo and gabapentin, but this
                                                                        “Functional        is not explained in text.)
                                                                        Independence
                                                                        Measure” 18-       d) Worst residual limb pain, mean (SD):
                                                                        item measure of    Baseline: P=4.71 (3.00); G=4.71 (3.26)
                                                                                           Endpoint: P=4.21 (3.23); G=3.35 (2.93)
                                                                        disability
                                                                                           Difference: P=-0.65 (3.05); G=-1.22 (3.32)
                                                                        “Satisfaction      (Authors stated “effect size” of 0.32 without explaining
                                                                        with Life Scale”   further how this is calculated. Difference cited in Table 3, p.
                                                                        “Craig Handicap    651 differs numerically from the simple difference of the
                                                                        Assessment         Baseline-Endpoint for both placabo and gabapentin, but this
                                                                        and Reporting      is not explained in text.)
                                                                        Technique”, 27-
                                                                        item measure of
                                                                        disability         Secondary outcomes:
                                                                        Temporal           No significant differences were found for secondary
                                                                        pattern of PLP     endpoints except for the “meaningfulness of change in pain”:
                                                                        (constant,         P=5/24 (20.8%) vs. G=13/24 (54.2%) reported at end of
                                                                                           treatment phase that “my pain decreased to a meaningful
                                                                        variable
                                                                                           extent”; p<0.05 by chi-square but no correction for multiple
                                                                        intensity, some    comparisons. The analogous statement “Treatment benefits
                                                                        pain-free          outweighed side effects” is a composite of 2/6 possible
                                                                        periods)           answers and difference favouring gabapentin is non




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                                                                                             significant. A similar 2/6 statements composite “Treatment
                                                                    NB: none of these        side effects outweighed benefits” favoured placebo but was
                                                                    scores except for        non-significant. See original report pp. 649-52.
                                                                    SF-MPQ are
                                                                    comparable with
                                                                    commonly used            PGIC: not reported
                                                                    scales from other
                                                                    gabapentin DBRCT.

                                                                    Test of blinding:
                                                                    15/21 patients who
                                                                    answered question
                                                                    guessed gabapentin
                                                                    after gabapentin
                                                                    phase;. 12/20 patients
                                                                    who answered
                                                                    question after placebo
                                                                    phase guessed
                                                                    placebo. (p=0.44)
                                                                    Authors consider
                                                                    patients were not
                                                                    unblended.




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 Study No. 25 – Nikolajsen 2006 – GABAPENTIN FOR POST-AMPUTATION PAIN (PUBLISHED) – SUMMARY prepared by Dr. TL Perry – FINAL – August 6, 2008 1



 Study No. 25 – Nikolajsen 2006 – GABAPENTIN FOR POST-AMPUTATION PAIN (PUBLISHED) – SUMMARY prepared by Dr. TL Perry – FINAL August 6, 2008
Study/ Design/dates             Inclusion                    Intervention(s), experimental design,        Predefined                 Outcomes hierarchy (Cochrane, investigators:              Comments/conclusions
                                criteria/baseline            N of subjects randomized (ITT)/ N who        outcomes/issues in         primary/secondary)                                        of Dr. Perry
                                characteristics              completed study                              statistical analysis
Study No. 24                    Post-amputation pain         Study design: 30 day single hospital         Predefined                 Doses attained: median dose of placebo = 8 capsules       1. This is an entirely
Nikolajsen L, Finnerup NB       after lower limb             Danish inpatient/outpatient DBRCT            outcomes:                  (N=20), median dose of gabapentin = 7 capsules/2100       negative study.
et al. A Randomized Study       amputation for               parallel group study of gabapentin vs.                                  mg/d, range 900-2400 mg/d (N=21)
of the Effects of               peripheral vascular          placebo. Randomization after amputation.     NB: Not ITT; partial                                                                 2. Reporting of median
Gabapentin on                   disease                      Titration as tolerated from 300 mg/d on      ITT-LOCF but only for      Mortality: not reported                                   pain scores does not
Postamputation Pain.                                         first post-operative day to 1200 or 2400     41/46 patients who                                                                   allow meta-analysis with
Anesthesiology 2006 ;           Inclusion:                   mg/d depending on kidney function;           completed 1 week of        Serious Adverse Events: not reported                      mean pain scores
105 : 1008-15.                      > 18 undergoing          treatment to day 30.                         treatment and                                                                        reported by most
                                    amputation for PVD                                                    tolerated > 900 mg         Withdrawal Due to Adverse Events:                         studies.
Support: Pfizer-Pharmacia,      Exclusion:                   Dose titration:                              gabapentin were            P=2/23, G=2/23
Denmark; gabapentin plus            ipsilateral re-          Titration as tolerated from 300 mg on day    included in data                                                                     3. Adverse events
salary for research nurse.          amputation or            1; 900 mg/d on days 2-4; 1200 mg/d on        analysis – however no                                                                reporting is not
                                                                                                                                     Total Withdrawals:
Apparently independent              foot/toes only           days 5-6; 1500 mg/d on days 7-8; 1800        patients withdrawn                                                                   compatible with meta-
                                    dementia, psychiatric
                                                                                                                                     P=5/23; G=7/23
design; protocol approved by                                 mg/d on days 9-10; 2100 mg/d on days         due dose constraint                                                                  analysis.
Regional Ethics Committee,          disease, inability to    11-12; 2400 mg/d on days 13-30.              (p. 1010-11). P=3/23
                                    answer detailed pain                                                                             Total patients with AE’s:
Danish National Board of                                     Patients with creatinine clearance > 30      and G=2/23 patients                                                                  4. Follow-up
                                    questionnaire                                                                                    P=8/23; G=9/23
Health, Danish Data                                          mL/min but < 60 mL/min received              are excluded from                                                                    assessment of patients
                                    severe cardiac,
Protection Agency, and              pulmonary, or liver      maximum 1200 mg/d. Patients who could        ITT-LOCF analysis                                                                    is hard to follow, as N’s
                                                                                                                                     Total AE’s (patients may have > 1):
monitored by Unit of Good           disease                  not tolerate 1200/2400 mg/d could stay on    due to week 1 drop                                                                   vary for different
                                                                                                                                     Not reported
Clinical Practice, University       creatinine clearance <   lower tolerated dose, but patients who did   out.                                                                                 assessments and times.
of Aarhus.                          30 mL/min                not tolerate at least 900 mg/d were
                                                             withdrawn from study.                                                   Specific AE:
                                    alcohol or drug abuse                                                 Primary (NRS, 11—                                                                    5. Gabapentin not only
                                                                                                                                     Reporting is different from other studies. See original
Dates: enrolment period             known allergy to                                                      point pain scale                                                                     had no demonstrable
                                    gabapentin                                                                                       paper for details.
May 13, 2002 – May 24,                                       Patient flow: (p. 1011)                      from 0-10):                                                                          analgesic effect, but also
2005                                treatment with                    Screened: 55                                                                                                             did not prevent phantom
                                    anticonvulsant or TCA                                                 a) Incidence (rates) of    TLP: WDAE, total withdrawals, and patients
                                                                      Excluded: 9 did not consent                                                                                              or stump pain in this
                                                                                                          phantom pain at end of     experiencing AE are suitable for meta-analysis.
Design: 30 day single                                                 Randomized: 46; P=23/46;                                                                                                 DBRCT.
hospital Danish                 Allowable drugs: initial                                                  30 day treatment period
                                                                      G=23/46                             (calculated as a mean of   Functional improvement: not reported
                                epidural analgesia, oral




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inpatient/outpatient          opioids, acetaminophen             Withdrawals: P=5/23; G=7/23          the last 7 daily pain
DBRCT parallel group          (paracetamol) – NSAIDs                                                  scores) and at 6 months     >50% reduction in pain score:
                                                                 Completed: P=18/23; G=16/23
                              not used routinely                                                      (prevention);               not reported (not an outcome)
study of gabapentin vs.
placebo. Randomization                                  Analysis: (p. 1010)                           b) Intensity of stump and
after amputation. Titration   Baseline                  Pre-specified goal to reduce incidence        phantom pain, recorded      Primary outcome (NRS 11-point pain scale, endpoint
as tolerated from 300         characteristics           (risk) of post-amputation phantom pain        every evening and           vs. baseline): not reported as group means as in similar
mg/d to 2400 mg/d.                                      from expected 70% to 30% (40% absolute        summarized as the           studies, therefore not suitable for meta-analysis.
                              Age - mean (SD):          risk reduction) and to reduce intensity of    mean for previous 7
                              P: 69.8 (8.5)             stump and phantom pain by 2 points on         days at 7, 14, 21, and      Pre-specified primary outcomes for this study:
Randomization:                G: 70.8 (11.9)                                                          30 days post-
                                                        11-point NRS scale. Phantom pain
computer-generated                                                                                    amputation.
                                                        considered present if > 0 on NRS scale.                                   a) incidence of phantom pain (by group) among 41
randomization list in block   Preoperative pain         Power calculation estimated sample sizes                                  completers:
sizes of 8 and 10                                                                                     5 major post-operative
                              intensity on 11-point     of 18 patients/group to detect at beta=0.2,   interviews performed at     P=52.6%; G=55.0% at 30 days; p=0.88 (total N=39)
                              NRS score – median        alpha = 0.05.                                 7, 14, 30 days              P=50.0%; G=58.8% at 6 months; p=0.59 (total N=37)
Concealment: identical-       (range):                                                                (treatment phase) and 3
appearing capsules            P: 8 (1-10)               Randomization: computer-generated             and 6 months (follow-up     b) intensity of phantom and stump pain (by group
prepared by the hospital      G: 8 (2-10)               randomization list in block sizes of 8 and    phase relevant to           median) among 41 completers at 30 days:
pharmacy in identical                                   10” (p. 1009)                                 prevention of pain)         Phantom pain:
containers marked with        Daily preoperative                                                                                  P=1.2 (range 0-6.6); G=1.5 (range 0-9.0); p=0.60 (total
consecutive patient           opioid consumption as     Concealment: “identical-appearing             Secondary:                  N=33)
numbers                       mg/d of ―morphine         capsules … in identical containers                                        Stump pain:
                              equivalents‖ – median     marked with the name of the project                Frequency,             P=1.0 (range 0-5.4); G=0.85 (range 0-8.2); p=0.68 (total
                              (range):                                                                     duration and           N=33)
Test of blinding: not                                   and consecutive patient numbers.” (p.              intensity of
                              P: 50 mg/d (0-270)
reported                      G: 55 mg/d (0-280)        1009)                                              phantom pain
                                                                                                           attacks
                                                                                                                                  The authors note no difference between gabapentin and
                                                                                                                                  placebo.
                              Patients with diabetes:   Blinding: Patient and examiner asked               Descriptions of
                                                        whether patient was taking placebo or              pain
                              P=7/20                                                                                              Secondary outcomes:
                              G=2/21; (P=0.07)          gabapentin at 30 days (last day on drug).          Consumption of
                                                                                                           opioids at day 30      See publication for details.
                                                                                                           and at 6 months        The authors note no difference between gabapentin and
                                                                                                                                  placebo for any secondary pain outcome, nor for post-
                                                                                                                                  operative opioid consumption.
                                                                                                                                  G: Baseline=4.72 (2.83) doses/day; Endpoint=4.27 (3.15)




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                                                                                    doses/day; difference=0.45 doses/day (2.89); “p=0.05”

                                                                                    PGIC: not reported (not an outcome)

                                                                                    Test of blinding:
                                                                                    After 30 days of treatment, 10/39 patients correctly
                                                                                    identified treatment.

                                                                                    TLP: because pain scores are reported as medians
                                                                                    only, they are not suitable for meta-analysis.




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Gabapentin project study summary, Protocol 1032-001 - Postoperative Dental Pain – Final Study Detail Summary, Prepared by Kelsey Innes, B.Sc.,                                1
reviewed by Dr. Thomas L. Perry - July 30, 2008




                                                                        UNPUBLISHED
                                                    STUDY DETAIL SUMMARY AND ANALYSIS: DESJARDINS
                                                   PROTOCOL NUMBER 1032-001, RESEARCH REPORT 720-04378
                                                             POST-OPERATIVE DENTAL PAIN



Summary of Dr. T. L. Perry:

Study conducted from 05/14/99 – 08/02/99; report dated 02/17/00

The study authors state that “Better analgesia was demonstrated for 2 of the GBP/NPN combinations, GBP250/NPN250 and GBP125/NPN250, compared with their NPN
component, GBP250, and with placebo.” However, in terms of the primary pain efficacy variable, SPID6, these combination treatments were only slightly numerically superior,
not statistically significant. For example, the p-value for the comparison of GBP250/NPN250 with NPN 250 was 0.0946 and the p-value for the comparison between
GBP125/NPN250 and NPN250 was 0.0646, neither significant (let alone amongst multiple dependant comparisons). Furthermore, they are clinically meaningless as NPN550
produced a better SPID6 score. This does not, as the authors would have it, suggest the ability of Gabapentin to potentiate the analgesic effect of Naproxen.


Conclusion:

Single-dose Gabapentin does not add to the analgesic efficacy of Naproxen for post-operative dental pain.



NB: GBP = Gabapentin, NPN = Naproxen.




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Study / Design / Dates     Inclusion Criteria /        Intervention(s),        Predefined Outcomes / Issues in                   Outcomes Hierarchy (Cochrane, investigators: primary                 Comments / Conclusions of
                           Baseline                    Experimental Design, N Statistical Analysis                               / secondary)                                                         Authors (see Discussion /
                           Characteristics             of Subjects Randomized                                                                                                                         Conclusion, pp. 58-59 of 437)
                                                       (ITT) / N Who Completed
                                                       Study                                                                                                                                          NB: Recorded for interest
                                                                                                                                                                                                      only and are not necessarily
                                                                                                                                                                                                      the opinion of Dr. T.L. Perry
Protocol Number: 1032-     Postoperative Dental        Patient Flow:             Predefined Outcomes:                            1. Mortality                                                         1. In the current study, better
001                        Pain                        Number of Patients                                                                                                                                analgesia was demonstrated
                                                       Screened: 563             Primary Efficacy Variable (more than            •   No patient deaths occurred during this study (p. 56 of 437)         for 2 of the GBP/NPN
Protocol Date: March       Inclusion Criteria:         Number of Patients        1):                                                                                                                     combinations,
30th, 1999 (report dated   • If female, negative       Randomized: 483           According to the protocol (p.68 of 437) the     2. Serious Adverse Events                                               GBP250/NPN250 and
February 17th, 2000).          pregnancy test (at      Number randomized to      primary efficacy variables are as follows:                                                                              GBP125/NPN250,
                               Screening and, if       each treatment group:     • Time to onset of analgesia                    •   No serious adverse events were reported during this study           compared with their NPN
Research Report No:            different, predose      1. Placebo: n=52          • Duration of analgesia                             (p.57 of 437)                                                       component, GBP250, and
RR720-04378                    on Study Day 1)         2. Gabapentin 250 mg: n   • Pain Intensity Difference (PID)                                                                                       with placebo.
                               and use of a                = 50                      o PI measured on 4-point scale              3. Withdrawals Due to Adverse Events
Study Design: Single           reliable form of        3. Gabapentin 125 mg               (0=none, 1 = mild, 2= moderate,                                                                             2. The active comparator,
dose, double-blind,            contraception;              and Naproxen Sodium            3 = severe)                            •   No patients withdrew from this study due to an adverse              NPN550, provided
placebo-controlled,        • Age between 18                125 mg: n = 50            o At baseline only, PI measured on              event (p. 57 of 437)                                                significantly better pain relief
comparative efficacy           and 65 years            4. Gabapentin 250 mg               a 10 cm VAS                                                                                                    compared with placebo on
study of Gabapentin in         (inclusive);                and Naproxen Sodium       o PID = difference between                  4. Total Withdrawals (p. 217 of Pain report,)                           the summed pain intensity
Combination with           • Negative alcohol              125 mg: n = 52                 baseline pain intensity and the                                                                                difference over 6 hours
Naproxen Sodium in             breath test on day      5. Gabapentin 125 mg               pain intensity at some other time      •   2 patients did not complete this study because they left prior      (SPID6, p <0.001) and on
patients with post-            of surgery prior to         and Naproxen Sodium            point (negative indicates that PI          to the end of the 12-hour evaluation period.                        the individual PI and PR
operative dental pain.         surgery;                    250 mg: n=50                   higher at time point than at           •   1 of these patients was in the Gabapentin 250mg group, the          evaluations at all time points
                           • Understanding the         6. Gabapentin 250 mg               baseline)                                  other was in the Naproxen Sodium 125 mg group.                      (p <0.001).
Study Duration: single         nature of the study;        and Naproxen Sodium   • Pain Relief (PR)
dose.                      • Written informed              250 mg: n = 50            o 5-point categorical scale: None =         5. Total Adverse Events:                                             3. The distribution of mean
                               consent;                7. Naproxen Sodium 125             0, a little = 1, moderate = 2, a lot                                                                           SPID6 scores across the 9
Investigator: Daniels S,   • Reliable,                     mg: n=50                       = 3, complete = 4                      Placebo: 23/52 (44.2%)                                                  treatment arms appears to
Desjardins P                   cooperative, and in     8. Naproxen Sodium 250    • Pain Relief Intensity Difference              GBP250: 25/50 (50.0%)                                                   be consistent with and within
                               the opinion of the          mg: n=50                  (PRID) time-effect curves.                  GBP125/NPN125: 24/50 (48%)                                              the random variability
Medication Dosage              investigator, able to   9. Naproxen Sodium 550        o PRID = PID + PR at a given time           GBP250/NPN125: 23/52 (44%)                                              inherent in the model. In
(dependant):                   understand the              mg: n=79                       point.                                 GBP125/NPN250: 24/50 (48%)                                              addition, a dose response
1. Placebo                                                                                                                       GBP250/NPN250: 17/50 (34%)                                              was demonstrated between

                                                                                                                                                                                                                        2 of 2
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2. Gabapentin 250 mg            pain information                                    Secondary Efficacy Variables                  NPN125: 20/50 (40%)                                                 250 and 550 mg NPN.
   (GBP250)                     required;             Study Design:                 (according to protocol):                      NPN250: 20/50 (40%)
3. Gabapentin 125 mg        •   Self-rated                                          • Patient global impression of the            NPN550: 30/79 (38%)                                           4. Of the baseline factors used
   and Naproxen                 postoperative pain                                      medication                                                                                                 to test the generalizability of
   Sodium 125 mg                intensity on a 4-                                       o 1=poor, 2 = fair, 3 = good, 4 =         Note that not all of these values were reported and had to be    the ANCOVA model, those
   (GBP125/NPN125)              point categorical                                           very good, 5 = excellent              inferred from Figure 12 (p. 51 of 437) and Table 17 (p.52 of     that significantly influenced
4. Gabapentin 250 mg            scale of moderate                                                                                 437). The report specifies total AE’s in the groups placebo,     the SPID6 outcome were
   and Naproxen                 ors evere; and                                      According to the report (p. 7 of 437,p. 20    GBP 250, all GBP/NPN combinations, NPN components,               baseline pain intensity, race,
   Sodium 125 mg            •   Self-rated                                          of 437) as well as the analysis plan, p.333   NPN 550.                                                         age, and gender.
   (GBP250/NPN125)              postoperative pain                                  of 437 (no date on analysis plan)
5. Gabapentin 125 mg            intensity on a 100-   Figure 1: Gabapentin and                                                                                                                    5. Results of this initial study
   and Naproxen                 mm VAS of ³45         Naproxen Sodium Dose          The primary efficacy measure was the          6. Validated measures of improvement in global function            strongly suggest that
   Sodium 250 mg                mm.                   combinations used in study    summed pain-intensity difference over the     including return to work, study, activities of daily living        gabapentin may potentiate
   (GBP125/NPN250)                                    (p. 15 of 437).               first 6 hours post dose (SPID6).                                                                                 the analgesic efficacy of
6. Gabapentin 250 mg        Exclusion Criteria                                                                                    •   None reported in this study                                    naproxen sodium. This
   and Naproxen             • History or clinical                                   Secondary measures                                                                                               potentiation is most
   Sodium 250 mg                evidence of renal                                   • Pain intensity difference (PID) from        7. > 50% reduction in pain score (NRS, VRS) from baseline          apparent from 2 hours after
   (GBP250/NPN250)              disease;                                               baseline                                   to endpoint                                                        dosing and persists through
7. Naproxen Sodium          • Surgery                 Table on pp. 6-11 of 437 of   • Pain relief (PR),                                                                                              the 12-hour evaluation
   125 mg (NPN125)              complication;         unpublished report.           • Summed pain relief and pain-intensity       •   Not a predefined endpoint for this study.                      period. A BID dosing regime
8. Naproxen Sodium          • Patient was a                                            difference (PRID)                                                                                             seems feasible in view of
   250 mg (NPN250)              woman who was                                       • Time-to-analgesia by 2 stopwatch            8. Mean between-group difference in change of pain score           the persistence of the effect.
9. Naproxen Sodium              breastfeeding;                                         procedure (T_ANALG),                       (NRS, VRS) from baseline to pre-defined endpoint by ITT-
   550 mg (NPN550)          • History of serious                                    • Time-to rescue medication                   LOCF –where this was the pre-defined primary endpoint in        6. The results of this study also
                                adverse reaction to                                    (T_REMED), and                             trial                                                              indicate that the interaction
Patients Randomized:            any analgesic                                       • Overall assessment of study                 • VAS/NRS NOT defined as primary outcome,                          between gabapentin and
483                             agent or any                                           medication (responder analysis).           • Primary efficacy variable was SPID6                              nonsteroidal anti-
                                medication to be                                                                                                                                                     inflammatory agents
Study Center(s): Clinical       used in the                                                                                       SPID-6 Results (appendix C.08, pp.208-211 of 437)                  warrants further
Research Center of Scirex       operative                                                                                                                                                            investigation. Potentiation
Corporation, Austin             procedure or                                                                                      Placebo: n=52                                                      was indicated at both the
Texas.                          postoperative                                                                                     Mean: 0.04                                                         125 and 250 mg doses of
                                period;                                                                                           SD: 4.52                                                           GBP, but no dose response
Study Dates: 05/14/99 –     • History of any                                                                                      Gabapentin 250 mg: n = 50                                          was demonstrated.
08/02/99                        bleeding disorder;                                                                                Mean: 1.63                                                         However, the use of NPN
                                                                                                                                  SD:6.05                                                            doses lower than 250 mg
                            • Patient gabapentin
Study Approval: The                                                                                                                                                                                  (ie, 125 mg) is not supported
                                                                                                                                                                                                                   3 of 3
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duly constituted                 use within the past                                                 Gabapentin 125 mg and Naproxen Sodium 125 mg: n = 50                    by this data.
institutional review board       6 months;                                                           Mean: 3.76
of the Clinical Research     •   Patient participated                                                SD: 5.27                                                            7. In general, the single doses
Center.                          in Study 1032-001                                                   Gabapentin 250 mg and Naproxen Sodium 125 mg: n = 52                   of study medications were
                                 earlier; or                                                         Mean: 4.25                                                             well-tolerated.
PUBLISHED: N/a               •   Patient was taking                                                  SD: 5.19
                                 or took an                                                          Gabapentin 125 mg and Naproxen                                      8. Overall, CNS and digestive
Final study report               investigational                                                     Sodium 250 mg: n=50                                                    system adverse events were
(unpublished):                   agent or                                                            Mean: 6.85                                                             not statistically different from
Parke-Davis Research             participated in                                                     SD: 4.65                                                               the placebo group for any
Report Number RR 720-            another research                                                    Gabapentin 250 mg and Naproxen                                         treatment group. The
04378 dated February         •   protocol within the                                                 Sodium 250 mg: n = 50                                                  absolute rates observed
17th, 2000.                      previous 60 days                                                    Mean: 6.60                                                             were also numerically no
Authors include Giordani         (amended from 120                                                   SD: 5.25                                                               worse in the combination
AB, Buroker Kilgore M,           to 60 days).                                                        Naproxen Sodium 125 mg: n=50                                           groups compared with the
Mundel T, Yan C.                                                                                     Mean: 4.82                                                             component groups in the
                             This is protocol Number                                                 SD: 4.88                                                               combination.
                             1032-001, why would a                                                   Naproxen Sodium 250 mg: n=50
                             patient be excluded if                                                  Mean: 5.10                                                          9. In patients with pain
                             they had participated in                                                SD: 4.76                                                               resulting from dental
                             this study?                                                             Naproxen Sodium 550 mg: n=79                                           surgery, this study
                                                                                                     Mean: 7.42                                                             demonstrated statistically
                                                                                                     SD: 5.48                                                               significantly better analgesic
                                                                                                                                                                            effects (SPID6) of the
                                                                                                     *Note that the above means differ slightly from the least squares      GBP250/NPN250 and
                                                                                                     means found by ANCOVA which are reported in Appendix D.2               GBP125/NPN250
                                                                                                     and figure 4.                                                          combinations compared with
                                                                                                                                                                            placebo and GBP250, and
                                                                                                                                                                            numerically superior effects
                                                                                                                                                                            compared with NPN250. In
                                                                                                                                                                            addition, efficacy was
                                                                                                                                                                            detected on PI, PIR, and
                                                                                                                                                                            PRID scales at times
                                                                                                                                                                            ranging between 3 and 6
                                                                                                                                                                            hours postdose. The orally
                                                                                                                                                                            administered, single-dose
                                                                                                     Figure 4 – p. 37 of 437                                                combination therapy was
                                                                                                                                                                                             4 of 4
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                                                                                                                                                              well-tolerated with no
                                                                                             SPID6 least squares means and pairwise comparisons for the       remarkable adverse effects.
                                                                                             treatment groups can be found in Appendix D.2 (pp.338-339 of
                                                                                             437). Note that in the Tables below (pulled from Appendix D.2)
                                                                                             A = Naproxen 125 mg, B = Gabapentin 125 mg, and C =
                                                                                             Naproxen 550 mg.




                                                                                             *Note that the LS means listed below have been rounded to 4
                                                                                             decimal places.
                                                                                             Placebo:
                                                                                             LSMean: 0.0744
                                                                                             95% CI: (-1.2129, 1.3617)
                                                                                             GBP250:
                                                                                             LSMean: 1.5804
                                                                                             95% CI: (0.2676, 2.8931)
                                                                                             GBP125/NPN125:
                                                                                             LSMean: 3.7928
                                                                                             95% CI: (2.4800, 5.1055)
                                                                                             GBP125/NPN250:
                                                                                             LSMean: 6.8005
                                                                                             95% CI: (5.4877, 8.1132)
                                                                                             GBP250/NPN125:
                                                                                             LSMean: 4.2067
                                                                                             95%CI: (2.9194, 5.4940)
                                                                                             GBP250/NPN250:
                                                                                             LSMean: 6.6328
                                                                                             95% CI: (5.3200, 7.9455)
                                                                                             NPN125:
                                                                                             LSMean: 4.8528
                                                                                             95% CI: (3.5400, 6.1655)

                                                                                                                                                                          5 of 5
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                                                                                             NPN250:
                                                                                             LSMean: 5.0504
                                                                                             95% CI: (3.7376, 6.3631)
                                                                                             NPN550:
                                                                                             LSMean: 7.4610
                                                                                             95% CI: (6.4166, 8.5054)




                                                                                             Tables 11 and 12 from the report also contain certain pairwise
                                                                                             comparisons.




                                                                                             Table 11 (pp. 38 of 437)




                                                                                             Table 12 – p.39 of 437


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                                                                                             •   All 3 NPN treatment groups were significantly different from
                                                                                                 placebo
                                                                                                 o (p = 0.0001 for all 3 NPN groups compared to placebo)
                                                                                             •   dose response was demonstrated for NPN:
                                                                                                 o NPN125 and NPN250 were both significantly different
                                                                                                      from NPN550
                                                                                                 o NPN125 to NPN550 p = 0.0024
                                                                                                 o NPN250 to NPN550 p = 0.0049)

                                                                                             GBP250/NPN250:
                                                                                             • Significantly different from placebo (p = 0.0001)
                                                                                             • Significantly different from GBP250 (p = 0.0001)
                                                                                             • Not significantly different from NPN250 (p = 0.0946) but
                                                                                                numerically superior

                                                                                             GBP125/NPN250:
                                                                                             • Significantly different from placebo (p = 0.0001)
                                                                                             • Significantly different from GBP250 (p = 0.0001)
                                                                                             • Not significantly different from NPN250 (p = 0.0646) but
                                                                                                numerically superior

                                                                                             GBP125/NPN125:
                                                                                             • Significantly different from placebo (p = 0.0001)
                                                                                             • Significantly different from GBP250 (p = 0.0196)

                                                                                             GBP250/NPN125:
                                                                                             • Significantly different from placebo (p = 0.0001)
                                                                                             • Significantly different from GBP250 (p = 0.0052)
                                                                                             • See Figure 4 (p.37 of 437), Table 11 (p.38 of 437) and
                                                                                                Table 12 (p.39 of 437), for details)

                                                                                             9. % of patients achieving “much improved” or “moderately
                                                                                             improved”

                                                                                             •   Was not an outcome, global impression of change was
                                                                                                 assessed on a scale in which patients rated their medication
                                                                                                                                                                7 of 7
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                                                                                                 from 1=poor to 5 = excellent
                                                                                             •   Not a predefined outcome of this study how we have
                                                                                                 defined it but there was a responder analysis
                                                                                             •   Responders were defined as patients who, at 12 hours
                                                                                                 postdose or at the time of rescue medication, evaluated
                                                                                                 their study medication as “good,” “very good,” or “excellent”
                                                                                                 overall. The analysis used all available data for the ITT
                                                                                                 population.
                                                                                             •   The proportion of responders (patients who rated their study
                                                                                                 medication overall as “good,” “very good,” or “excellent”) in
                                                                                                 all 4 combination treatment groups was statistically
                                                                                                 significantly different from that of placebo and GBP250.
                                                                                             •   The proportion of responders in the GBP125/NPN250 and
                                                                                                 GBP250/NPN250 groups was not significantly different from
                                                                                                 that of NPN250 or NPN550.
                                                                                             •   No min-test comparisons of the responder analyses were
                                                                                                 significant for any GBP/NPN combination.




                                                                                             Table 16 – p-values for responder analysis (p. 49 of 437)

                                                                                             10. Histogram presentation of all PGIC 7-point results

                                                                                             •   N/A




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                                                                          UNPUBLISHED
                                                   STUDY DETAIL SUMMARY AND ANALYSIS: SUNSHINE & KATZ
                                                    PROTOCOL NUMBER 1032-002, RESEARCH REPORT 720-04479
                                                          ACUTE OSTEOARTHRITIS PAIN OF THE KNEE

Summary of Dr. T. L. Perry:

Study conducted from 12/20/99 – 6/19/00; unpublished report dated 10/31/00.

The authors state that “No conclusions regarding the performance of GBP125/NPN250 as an acute analgesic were possible due to the failure, in this multicenter implementation, of
the OA flare pain model to separate active treatments from placebo.” This can be seen by examining the 95% confidence intervals for the least squares means of the treatment
groups for the primary efficacy variable, SPDI6, and noticing that they all overlap with the 95% confidence interval for placebo. There are also no significant p-values in the 2-
way comparisons for the SPID6 least squares means. The authors assert that for patients with osteoarthritis of the knee, GBP125/NPN250 provided pain relief and performed on
other outcome measures significantly better than placebo. However, GBP125/NPN250 was not statistically different from NPN550 on most Study Phase 2 measures.


Conclusion:

Single-dose Gabapentin at 125 mg was not efficacious for 6-hour acute pain relief in osteoarthritis. Twice daily Gabapentin at 250 mg/d was not efficacious for relief of
osteoarthritis pain over 27 days, but numerically increased adverse events (37% of gabapentin patients vs. 25% for placebo and 29% for naproxen) and was associated
with numerically increased incidence of edema, dizziness, somnolence, and asthenia (the typical adverse events known to be caused by gabapentin). This suggests that
even low-dose Gabapentin causes neurological adverse events and edema.



NB: GBP = Gabapentin, NPN = Naproxen.




                                                                                                                                                                             1 of 1
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Study / Design /         Inclusion Criteria /     Intervention(s),                        Predefined Outcomes /               Outcomes Hierarchy (Cochrane, investigators: primary /             Comments / Conclusions of
Dates                    Baseline Characteristics Experimental Design, N of               Issues in Statistical               secondary)                                                         Authors (See Discussion and
                                                  Subjects Randomized (ITT) /             Analysis                                                                                               Conclusion pp. 69-70 of 580)
                                                  N Who Completed Study
                                                                                                                                                                                                 NB: Recorded for interest
                                                                                                                                                                                                 only and are not necessarily
                                                                                                                                                                                                 the opinion of Dr. T.L. Perry
Protocol Number:         Acute Osteoarthritis (OA)      Patient Flow:                     Predefined Outcomes:                1. Mortality                                                       1. The data from the second (4
1032-002                 of the knee                    Number of Patients Screened:                                                                                                                week) phase of this study
                                                        441                               According to the initial study      •   No patients died during this study                                demonstrate that gabapentin
Protocol Date: August    Inclusion Criteria:            Number of Patients                protocol, dated August 5th, 1999                                                                          in combination with
5th, 1999 (Research      • OA of the knee,              Randomized: 262                   (p.82 of 580):                      2. Serious Adverse Events                                             naproxen sodium has
Report dated October         specifically:              Number randomized to each                                                                                                                   potential for subacute or
31st, 2000)                  o Knee pain rated on       treatment group:                  The primary efficacy variable:      •   Two male patients in the GBP125/NPN250 group, aged 74             chronic treatment of OA.
                                 a 5-point                                                • Summed pain intensity                 and 73 years, experienced serious adverse events during the    2. The active comparator,
Research Report No:              categorical scale      Placebo: n = 53                       difference over the 6 hours         study (Table 18, p.67 of 580).                                    NPN550, was reliably
RR720-04479                      as mild, moderate,     GBP125/NPN250 for entire              of clinic evaluation on Day 1       o Patient 007003 was hospitalized and found to have a             separated from placebo
                                 or severe in           study: n = 52                         (SPID-6) post dose.                     duodenal ulcer with gastric erosion (duodenal ulcer)          across most Study Phase 2
Sub-Studies:                     intensity when         GBP 125 for dose 1,                                                           considered associated with treatment.                         endpoints.
• Protocol 1032-003              walking on a flat      GBP125/NPN250 for phase 2: n      Secondary Efficacy Variables            o Patient 008009 was diagnosed with a stenosis of the          3. Statistical separation of
   (RR720-30044)                 surface. (Patients     = 51                              for Stage I (Day 1):                        carotid artery (peripheral vascular disorder) considered      GBP125/NPN250 from
   o A long-term,                who rated their        NPN250 for dose 1 and             • Pain intensity (PI)                       unrelated to treatment and underwent a carotid                placebo was also observed
       open-label,               pain as extreme or     GBP125/NPN250 for phase 2: n      • Pain intensity difference                 endarterectomy during the study.                              during most of Study Phase
       multicenter,              none were              = 54                                   (PID)                                                                                                2, however significance
       safety study of           excluded.);            NPN550 for entire study: n = 52   • Pain relief (PR) time-effect      3. Withdrawals Due to Adverse Events                                  levels in comparisons with
       Gabapentin in         o Knee pain present                                               curves over 6 hours                                                                                  placebo were generally
       Combination               for at least 15 of                                       • Total Pain Relief over the 6      •   A total of 7 patients WDAE                                        higher for NPN550 than for
       with Naproxen             the preceding 30                                              hours of clinic evaluation                                                                           GBP125/NPN250.
       Sodium (CI-               days;                                                         (TOTPAR6)                                                                                         4. GBP125/NPN250 was not
       1032) in              o Grade 2, 3, or 4 OA      Table occurring on pp.7-13 of     • PID and PR at 12 hours post                                                                             statistically different from
       Patients with             by x-ray criteria as   Research Report.                       dose                                                                                                 NPN550 on most Study
       osteoarthritis            defined by the                                           • Percent of patients rescuing                                                                            Phase 2 measures.
       of the knee.              Kellgren and           Study Populations/ Statistical         with acetaminophen                                                                                5. No separation of active
• Protocol 1032-004              Lawrence Grading       Analysis                                                              Table 19 (p. 68 of 580) a summary of treatment emergent adverse       treatments from placebo
                                                                                          • Time to Rescue
                                 System of OA, 9                                                                                                                                                    was demonstrated during
                                                                                                                                                                                                                 2 of 2
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    (RR720-04481)                  documented with a                                                                               events that led to withdrawal.                                       the single-dose evaluation,
    o A 1-week,                    report from an x-       •   The analysis set was the       Secondary Efficacy Variables                                                                              Study Phase 1. Thus the
       randomized,                 ray of the study            intent-to-treat (ITT)          for Stage 2 (Days 2-7):              Placebo: 2/53 patients (3.8%)                                        question of whether there is
       double-blind,               joint taken either at       population, defined as all     • Average acetaminophen              • Headache                                                           a therapeutic interaction
       Placebo- and                Screening or within         patients randomized to              usage                           • Rash                                                               between GBP and NPN that
       Positive-                   1 year prior to             treatment who received at      • The change scores from                                                                                  might permit the use of
       controlled,                 Screening.                  least one dose of study             baseline in the average daily   GBP125/NPN250: 3/157 (1.9%)                                          GBP125/NPN250 in the
       parallel-group     •   Men or women of any              medication.                         pain scores and quality of      • Abdominal Pain, Metroorrhagia                                      more acute flare setting was
       study of the           race or ethnic group         •   All Study Phase 2 efficacy          sleep scores                    • Dizziness                                                          not answered.
       protective             (women had to be                 analyses and comparisons       • The change scores from             • Duodenal Ulcer                                                  6. The generalizability analysis
       effects of             postmenopausal,                  included only the patients          baseline at day 7 in the                                                                             showed a strong treatment
       Gabapentin on          surgically sterilized, or        who were originally                 Patient and Clinical Global     NPN550: 2/52 (3.8%)                                                  by center interaction. An
       Naproxen               using a method of                randomized to                       Assessments of OA               • Headache                                                           examination of the
       Sodium-                contraception                    GBP125/NPN250, placebo,             (osteoarthritis)                • Vomiting                                                           characteristics of the centers
       induced upper          acceptable to the                or NPN550.                     • Subscores on Western                                                                                    that demonstrated assay
       gastrointestinal       investigator);               •   Only safety data were used          Ontario and McMaster            4. Total Withdrawals:                                                sensitivity indicated that they
       mucosal injury     •   At least 45 years of             for these patients for Study        University (WOMAC)                                                                                   had prior experience in
       in volunteers.         age;                             Phase 2.                            subscales                       Study Phase I (Day 1):                                               acute analgesic trial
                          •   Able (sufficient visual      •   Study Phase 2 data                                                  GBP125/NPN250: 1/52 (1.9%)                                           methodology, enrolled large
Study Design:                 and auditory acuity with         imputation used the last        Secondary Efficacy Variables                                                                             numbers of patients, or
                                                                                                                                   • Adverse event
Randomized, Double-           glasses or hearing aid)          observation carried forward    for Stage 3 (Days 2-28):                                                                                  participated in a
                                                                                                                                   NPN250: 1/54 (1.9%)
Blind, Placebo- and           to complete the                  method for missing efficacy    • Same endpoints as in Stage                                                                              methodology training
                                                                                                                                   • Adverse event
Positive- Controlled,         required assessment              data.                               2                                                                                                    program.
                                                                                                                                   NPN550: 1/52 (1.9%)
Parallel-Group,               questionnaires, tests,                                          • SF-36                                                                                                7. For patients with OA of the
Multicentre Study                                                                                                                  • other                                                              knee, GBP125/NPN250
                              and evaluations;             List of Investigators:                                                  (3 total withdrawals in phase I)
                          •   In good health (other                                           The analysis plan is dated                                                                                provided pain relief and
Study Country: US             than the signs and                                              December 22, 1999 and contains                                                                            performed on other outcome
                                                                                                                                   Study Phase II (Days 2 – 28)                                         measures significantly better
                              symptoms associated                                             some amendments made at the
Study Duration: 4             with diagnosed OA) and                                          investigator’s meeting (see                                                                               than placebo and not
weeks.                                                                                                                             Placebo: 11 / 53 (20.75%)                                            substantially differently from
                              capable of ambulating                                           pp.175-208 of 580)                   • Lack of efficacy: 6/53 (11.3%)
                              continuously without                                                                                                                                                      NPN550 during the 4-week
Investigators:                                                                                                                     • Adverse Event: 2/53 (3.8%)                                         portion of this study.
                              assistance (a cane was                                          The primary efficacy variable
Moskowitz R, Sunshine                                                                                                              • Other: 3/53 (5.7%)                                              8. No conclusions regarding
                              the only allowable                                              (according to analysis plan):
A, Schnitzer T, et al.        ambulation aid) for at                                          • Summed pain intensity                                                                                   the performance of
                                                           Table 1: p.17 of 580.                                                   GBP125/NPN250: 13/157 (8.3%) (or 13 of the 155 who entered           GBP125/NPN250 as an
                              least 5 minutes;                                                    difference over the first 6
Medication Dosage                                                                                                                  phase II, unsure which denominators to use, paper has used 157)      acute analgesic were
                          •   Concurrent diseases                                                 hours (SPID6)
(dependant):                                                                                                                       • Lack of efficacy: 5/157 (3.2%)                                     possible due to the failure, in
                                                                                                                                                                                                                      3 of 3
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In phase 1 (day 1),            (e.g., coronary artery                                                            •   Adverse Event: 3/157 (1.9%)                                      this multicenter
patients were                  disease, diabetes,                              The secondary efficacy            •   Other: 5/157 (3.2%)                                              implementation, of the OA
randomized to receive a        hypertension) under                             variables (according to the                                                                            flare pain model to separate
single dose of one of          good control as                                 analysis plan)                    NPN550: 5/52 (9.6%)(same problem with denominators since 51          active treatments from
the following                  determined by the                               • PID at 0.5, 1,2,3,4,5,6,9 and   entered phase 2 in this group)                                       placebo.
1. Placebo                     investigator;                                       12 hrs                        • Lack of efficacy: 2/52 (3.8%)                                   9. GBP125/NPN250 was well-
2. Gabapentin 125          •   OA symptoms clearly                                 o for scale see p.26 of       • Adverse Event: 2/52 (3.8%)                                         tolerated over a 4-week
     mg and Naproxen           less severe in joints                                    580                      • Other: 1/52 (1.9%)                                                 course of treatment.
     Sodium 250 mg             other than the knee joint                       • PR at 0.5, 1,2,3,4,5,6,9 and
     (GBP125/NPN250)           of interest;                                        12 hrs                        For more details, see Table 8, p. 45 of 580
3. Gabapentin 125mg                                                                o See p.27 of 580 for
     (GBP125)              Exclusion Criteria:                                          scale.                   5. Total Adverse Events:
4. Naproxen Sodium         • Women who were                                    • PRID at 0.5, 1,2,3,4,5,6,9
     250 mg (NPN250)           pregnant or lactating;                              and 12 hrs                    Placebo: 14/53 (26.4%)
5. Naproxen Sodium         • Evidence of a clinically                          • SPID6 and SPID12                • Mild: 8/53 (15.1%)
     550 mg (NPN550)           significant or unstable                         • TOTPAR6 and TOTPAR12            • Moderate: 5/53 (9.4%)
                               comorbid condition in                           • SPRID6 and SPRID12              • Severe: 1/53 (1.9%)
For the study phase (II)       addition to OA;                                 • Time to rescue medication       GBP125/NPN250: 65/157 (41.4%)
(days 2 – 28) patients     • Anticipated need for                              • Daily Quality Sleep score       • Mild: 29/157 (18.5%)
were treated BID with          surgery during the                              • Daily pain scores               • Moderate: 30/157 (19.1%)
study medication.              washout or double-blind                             o P. 28 of 580                • Severe: 6/157 (3.8%)
Patients who received          treatment phase;
GBP125 or NPN250 in                                                            • Patient and Clinician Global    NPN550: 16/52 (30.8%)
                           • Current evidence, or                                  Assessment of                 • Mild: 9/52 (17.3%)
phase I were treated           history within 6 months
with GBP125/NPN250                                                                 Osteoarthritis at baseline,   • Moderate: 7/52 (13.5%)
                               prior to Screening, of                              Week 1 and Week 4
in phase II.                                                                                                     • Severe: 0/52 (0.0%)
                               myocardial infarction                               o P.28 of 580 (patient)
                               (MI), angioplasty, or                               o P.30 of 580 (clinical)
Number of Study                                                                                                  Total During Study Phase I
                               coronary bypass;                                • Patient Global Assessment
Centers: 13 centers in                                                                                           15 patients experienced adverse events in phase 1, headache and
                           • Blood pressure >180                                   of Study Medication at
the US                                                                                                           dizziness were the only adverse events reported by more than 1
                               mm Hg systolic or >100                              Week1, Week 2 and Week 4      patient.
                               mm Hg diastolic, upon 3                             o P. 28 of 580
Investigator’s                 repeated measures;
Meeting: October 29th,                                                         • WOMAC Osteoarthritis            Placebo: 2/53 (3.8%)
                           • Clinically significant                                index at Baseline, Week 1     GBP125/NPN250: 7/52 (13.5%)
30th, 1999                     abnormal ECG (in the                                and Week 4                    GBP125: 3/51 (5.9%)
                               opinion of the                                      o P. 29 of 580                NPN250: 1/54 (1.9%)
Study Dates: First             investigator);
patient randomized on                                                          • SF 36 Quality of Life at        NPN550: 2/52 (3.8%)
                                                                                                                                                                                                   4 of 4
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December 20th, 1999       •   Serum creatinine                                    Baseline and Week 4
last patient ended            greater than 1.5 times                              o P. 30 of 580                    See table 16 on p. 65 of 580 for details.
double-bind treatment         the upper limit of normal
on June 19th, 2000.           (ULN);                                          The research report makes no
The randomization code    •   Liver function tests                            reference to stages, only Phase
was broken on June            greater than 2 times the                        1 (Day 1) and Phase 2 (Days 2-
19th, 2000.                   ULN; or                                         28). I cannot find anything in the    Total During Study Phase II:
                          •   Any laboratory value                            amendments that reconciles this.
Study Approval:               outside normal limits                           According to the research report:     Placebo: 13/53 (24.5%)
                              and considered                                                                        GBP125/NPN250: 58/157 (36.9%)
PUBLISHED: N/a                clinically significant by                       The primary efficacy variable         NPN550: 15/52 (28.8%)
                              the investigator.                               (according to research report):
Final study report                                                            • The summed pain intensity           See table 17 on p. 66 of 580 for details including most common
(unpublished):                                                                    difference over the first 6       side effects in phase 2.
Parke-Davis Research                                                              hours (SPID6) postdose
Report Number RR
720-04479 dated                                                               Secondary Study Phase 1
October 31st, 2000.                                                           measures of
Authors include Buroker                                                       Efficacy (according to
Kilgore M, Diaz F,                                                            research report):
Giordani AB, Mundel T,                                                        • Included pain intensity
Sesti AM, Ventura AY                                                               difference (PID);
                                                                              • pain relief (PR);
                                                                              • pain relief intensity
                                                                                   difference (PRID);
                                                                              • summed pain intensity
                                                                                   difference over 12 hours
                                                                                   (SPID12);                        6. Validated measures of improvement in global function
                                                                              • total pain relief over the first    including return to work, study, activities of daily living
                                                                                   6 and 12 hours (TOTPAR6
                                                                                   and TOTPAR12);                   •   None reported in this study.
                                                                              • summed pain relief intensity
                                                                                   difference over first 6 and 12   7. > 50% reduction in pain score (NRS, VRS) from baseline to
                                                                                   hours (SPRID6 and                endpoint
                                                                                   SPRID12);
                                                                              • percentage of patients              •   Not a predefined outcome.

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                                                                     rescuing;
                                                                 •   time-to-rescue;                 8. Mean between-group difference in change of pain score
                                                                 •   Proportion of responders        (NRS, VRS) from baseline to pre-defined endpoint by ITT-
                                                                     from Patient Global             LOCF –where this was the pre-defined primary endpoint in
                                                                 •   Assessment of Study             trial
                                                                     Medication at Hour 12.          • SPID6 was the predefined primary efficacy variable

                                                                 Study Phase 2 efficacy              SPID-6 Results (Appendix C.2.04, p.291 of 580)
                                                                 measures included (according
                                                                 to research report):                Placebo: n = 53
                                                                 • Weekly average                    Mean: 6.37
                                                                      acetaminophen use;             SD: 4.26
                                                                 • Change from Baseline (Day         GBP125/NPN250: n = 52
                                                                      1) in mean (averaged by        Mean: 6.06
                                                                      week) pain scores and          SD: 3.98
                                                                      quality sleep scores;          GBP 125: n = 51
                                                                 • Change from Baseline (Day         Mean: 5.58
                                                                      1) in the Patient              SD: 4.44
                                                                 • and Clinician Global              NPN250:n = 54
                                                                      Assessments of OA at Days      Mean: 6.28
                                                                      7 and 28;                      SD: 3.32
                                                                 • change from Baseline (Day         NPN550 for entire study: n = 52
                                                                      1) in Western Ontario and      Mean: 6.09
                                                                      McMaster Universities Likert   SD: 3.58
                                                                      Version 3.1 (WOMACLK3.1)       *Note that the means reported above differ slightly from the least
                                                                      Osteoarthritis Index           squares means reported in Appendix D.2 (p. 450 of 580) and in
                                                                      subscale scores at Days 7      Figure 2 (below)
                                                                      and 28;
                                                                 • Change from Baseline (Day
                                                                      1) in SF-36 Health Survey
                                                                      subscale scores at Day 28;
                                                                 • Proportion of responders
                                                                      from Patient Global
                                                                      Assessment of Study            Figure 2 – p.47 of 580
                                                                      Medication at Days 7, 14,
                                                                      and 28.                        Least Squares Means (Appendix D.2, p.450 of 580):

                                                                                                                                                                          6 of 6
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                                                                                            *Note that here, lsmeans have been rounded to 4 decimal places

                                                                                            Placebo: n = 53
                                                                                            LSMean: 6.3101
                                                                                            95% CI: (5.3899, 7.2304)
                                                                                            GBP125/NPN250: n = 52
                                                                                            LSMean: 6.1376
                                                                                            95% CI: (5.2208, 7.0543)
                                                                                            GBP 125: n = 51
                                                                                            LSMean: 5.5830
                                                                                            95% CI: (4.6476, 6.5184)
                                                                                            NPN250:n = 54
                                                                                            LSMean: 6.2868
                                                                                            95% CI: (5.3821, 7.1915)
                                                                                            NPN550 for entire study: n = 52
                                                                                            LSMean: 6.3063
                                                                                            95% CI: (5.3896, 7.2229)

                                                                                            P-Values and Effect Sizes (Appendix D.2, p.451 of 580)
                                                                                            *Note that both the effect sizes and the p-values have been rounded to 2 decimal places.


                                                                                            GBP125 – NPN250:
                                                                                            Estimate: -0.70
                                                                                            P-Value: 0.27
                                                                                            GBP 125 – NPN550:
                                                                                            Estimate: -0.72
                                                                                            P-Value: 0.26
                                                                                            GBP 125 – Placebo:
                                                                                            Estimate: -0.73
                                                                                            P-Value: 0.26
                                                                                            GBP 125/NPN250 - GBP125:
                                                                                            Estimate: 0.55
                                                                                            P-Value: 0.39
                                                                                            GBP 125/NPN250 – NPN250:
                                                                                            Estimate: -0.15
                                                                                            P-Value: 0.82
                                                                                            GBP 125/NPN250 – NPN550:

                                                                                                                                                                                       7 of 7
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                                                                                            Estimate: -0.17
                                                                                            P-Value: 0.79
                                                                                            GBP 125/NPN250 – Placebo:
                                                                                            Estimate: -0.17
                                                                                            P-Value: 0.78
                                                                                            NPN250 – NPN550:
                                                                                            Estimate: -0.02
                                                                                            P-Value: 0.98
                                                                                            NPN250 – Placebo:
                                                                                            Estimate: -0.02
                                                                                            P-Value: 0.97
                                                                                            NPN550 – Placebo:
                                                                                            Estimate: -0.00
                                                                                            P-Value: 0.9952

                                                                                            •   No significant difference between GBP125/NPN250 and
                                                                                                placebo, GBP125, or NPN250 was observed on the SPID-6

                                                                                            See table 9 (p.48 of 580) for details:




                                                                                            •   Was a significant centre effect on SPID

                                                                                            9. % of patients achieving “much improved” or “moderately
                                                                                            improved”

                                                                                            •   The study admits that the Likert scales were often mislabelled
                                                                                                (see sections 4.5.1.5 and 4.5.1.8)
                                                                                                o At Screening, Days 1, 7, and 28, or at time of Early
                                                                                                    Termination, patients were asked: “Considering all the
                                                                                                    ways your arthritis affects you, how has your arthritis
                                                                                                    been during the past 24 hours?”
                                                                                                o The patient’s response on a numeric Likert scale (0 =
                                                                                                    None, 1 = Mild, 2 = Moderate, 3 = Severe, or 4 =

                                                                                                                                                                 8 of 8
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                                                                                                     Extremely Severe) was recorded
                                                                                                o    For most patients at some visits the Likert scale was
                                                                                                     mislabelled (0 = Very Good, 1 = Good, 2 = Fair, 3 = Poor,
                                                                                                     or 4 = Very Poor).
                                                                                                o The descriptors had the same inherent order on both
                                                                                                     versions of the scale; however, no attempt was made to
                                                                                                     test whether both sets of descriptors elicited the same
                                                                                                     numerical responses from patients.
                                                                                            • Due to frequently mislabelled liker scales the validity of these
                                                                                                assessment data is uncertain
                                                                                            • Again the PGIC were significantly different for
                                                                                                GBP125/NPN250 and NPN550 compared with placebo by
                                                                                                week 1 and differences continued to week 4,
                                                                                                o no difference between GBP125/NPN250 and NPN550
                                                                                            • See appendix C.2.10 for details.
                                                                                            See table 13 (60/58) for details, however, suggest not using data
                                                                                            due to aforementioned problems.




                                                                                            •   Responder analysis was patient global assessment of study
                                                                                                medication
                                                                                                o Responders were those who rated their medication as
                                                                                                   good, very good, or excellent
                                                                                                o According to p.51 of 580, no difference in the proportion
                                                                                                   of responders among treatment groups were observed.
                                                                                                o See appendix C.2.12, and C.2.13 for details.

                                                                                            10. Histogram presentation of all PGIC 7-point results
                                                                                            • N/a
                                                                                            • Data not on 7-point scale and also not usable due to
                                                                                                mislabelled scales, see above for details.


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                                                                        UNPUBLISHED
                                              STUDY DETAIL SUMMARY AND ANALYSIS: DESJARDINS
                                             PROTOCOL NUMBER 1035-001, RESEARCH REPORT 720-04455
                                                       POST-OPERATIVE DENTAL PAIN


Summary of Dr. T. L. Perry:

Study conducted from 12/28/99 – 02/23/000; report dated 06/28/00

According to the authors, the GPB250/HC10 group provided significantly better pain relief than the placebo and GPB250 groups on most efficacy measures. This is not surprising
since the effect is due to opioid analgesia.

The authors also point out that GBP250/HC10 combination provided analgesic relief more quickly than either of its components, however, the median time-to-analgesia of the
GBP250/HC10 group (82 minutes) was statistically significantly longer than the APAP1000/HC10 group (32 minutes).

However, for the primary pain efficacy variable, SPID6, the GPB250/HC10 treatment was not significantly better than HC10 (p-value = 0.0771) and was significantly worse than
the APAP1000/HC10 combination treatment (p-value = 0.0016). The estimated difference between GBP250/HC10 and APAP1000/HC10 was 2.8 (rounded), favouring
APAP1000/HC10, much larger than the numerical difference of 0.6 between GBP250 and placebo (favours Gabapentin, P = 0.49).


Conclusion:

Single-dose Gabapentin did not add to the analgesic efficacy of hydrocodone in post-operative dental pain, and was inferior to acetaminophen.


NB: GBP = Gabapentin, HC = Hydrocodone.




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Study / Design /          Inclusion Criteria /              Intervention(s),         Predefined Outcomes / Issues in Statistical              Outcomes Hierarchy (Cochrane,                          Comments / Conclusions
Dates                     Baseline Characteristics          Experimental Design, N   Analysis                                                 investigators: primary / secondary)                    of Study Authors (see
                                                            of Subjects                                                                                                                              Discussion and Conclusion
                                                            Randomized (ITT) / N                                                                                                                     on pp. 48-50 of 371)
                                                            Who Completed Study
                                                                                                                                                                                                     NB: Recorded for interest
                                                                                                                                                                                                     only and are not necessarily
                                                                                                                                                                                                     the opinion of Dr. T. L. Perry
Protocol Number:          Postoperative Dental Pain                                  According to the protocol (p.58 of 371), the             1. Mortality                                           1. The GPB250/HC10 group
1035-001                                                    Table 6: p.32 of 371     outcomes were as follows:                                                                                           provided significantly
                          RR720-04455                                                                                                         •   No patients died during this study (p.48 of 371)       better pain relief than the
Original Protocol         Note that the inclusion /                                  Predefined Primary Outcome:                                                                                         placebo and GPB250
Date: November 15th,      exclusion criteria for RR720-                                                                                       2. Serious Adverse Events                                  groups on most efficacy
1999                      04483 were the same.                                       •   The Summed Pain Intensity Difference over the                                                                   measures.
                          Inclusion Criteria:                                            first 6 hours.                                       •   No patients experienced serious adverse events     2. The GBP250/HC10
Research Report No:       • Age between 18 and 40                                                                                                 during this study (p.48 of 371).                       significantly outperformed
RR720-04455                                                 Patient Flow:                                                                                                                                the HC10 group the 3-
                              years (inclusive);                                     Secondary Outcomes
                          • Scheduled for an                                                                                                  3. Withdrawals Due to Adverse Events                       and 4-hour PID and 4-
Date of RR720-04455:                                        Number of Patients                                                                                                                           hour PRID, giving positive
                              outpatient oral surgical                               •   SPID 8
June 28th, 2000                                             Screened: 375                                                                                                                                min-test results for the
                              procedure to remove 1 to
                                                            Number of Patients       •   Totpar 6, Totpar 8 (total pain relief at 6 and 8     •   No patients withdrew due to an adverse event
                              2 ipsilateral third molars,                                hours)                                                   during this study (p.48 of 371).                       combination at these time
                                                            Randomized: 325                                                                                                                              points.
                              at least 1 of which was                                •   SPRID 6, SPRID 8 (Sum of pain relief intensity
Study Design: A                                             Number randomized to                                                                                                                     3. The PR, PID, and PRID
                              mandibular and fully or                                    difference over the first 6 and 8 hours)             4. Total Withdrawals:
single-dose, double-                                        each treatment group:                                                                                                                        curves suggest that
                              partially impacted in bone;                            •   PID (Pain intensity difference at 20, 40, and 60
blind, placebo-           • Good health as                                               minutes and every hour up to eight hours)            •   All patients completed this study (p.8 of 371).        gabapentin potentiates
controlled, comparative                                     Placebo: n=51                                                                                                                                the analgesic effects of
                              determined by medical         GBP250/HC10: n=75        •   PR (Pain relief at 20, 40, and 60 minutes and
efficacy study.               history and physical                                       every hour up to eight hours)                        5. Total Adverse Events:                                   HC10.
                                                            GBP250: n=77
                              examination;                                           •   PRID (Pain relief intensity difference) at 20, 40,                                                              • The GBP250/HC10
Study Country: US                                           HC10: n=76
                          • Negative alcohol breath                                      and 60 minutes and every hour up to eight            •   A total of 104 / 325 (32%) patients experienced             and HC10 curves are
                                                            APAP1000/HC10: n= 46
                              test on day of surgery                                     hours)                                                   an adverse event during this study                          comparable for the
Study Duration: Single        prior to surgery;                                                                                               •   See table 15 on page 45 of 371 for details.                 first 2 hours.
                                                                                     •   Time to onset
Dose                      • Written informed consent;                                                                                                                                                    • After this time, HC10




                                                                                                                                                                                                                 2 of 10
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                          •   Reliable, cooperative, and                       •   Time to rescue medication                           Placebo: 13/51 (25.5%)                                        begins losing
Investigators:                able to understand the                           •   Patient global assessment of study medication       • Mild: 1/51 (2.0%)                                           potency, but
Desjardins P                  information required in the                          was also a secondary efficacy parameter.            • Moderate: 8/51 (15.7%)                                      GBP250/HC10
                              pain questionnaire;                                                                                      • Severe: 4/51 (8%)                                           retains its potency
Medication Dosage         •   Self-rated postoperative                         This is mirrored by the research report (p. 7 of 371)   GBP250/HC10: 33/75 (44.0%)                                    through 8 hours. In
(dependant):                  pain intensity on a 4-point                                                                              • Mild: 7/75 (9.3%)                                           this regard, the pain
In phase 1 (day 1),           categorical scale as                                                                                     • Moderate: 14/75 (18.7%)                                     relief provided by
patients were                 moderate or severe; and                                                                                  • Severe: 12/75 (16.0%)                                       GBP250/HC10
randomized to receive a   •   Self-rated postoperative                                                                                 GBP250: 14/77 (18.2%)                                         seems to mirror
single dose of one of         pain intensity on a 100                                                                                  • Mild: 6/77 (7.8%)                                           HC10 during the early
the following                 mm VAS of > 45 mm.                                                                                                                                                     time course and then
                                                                               Table included on pages 6-9 of 371 of RR720-            • Moderate: 5/77 (6.5%)
                                                                               04455                                                                                                                 GBP250 at later time
                                                                                                                                       • Severe: 3/77 (3.9%)
1. Placebo                Exclusion Criteria:                                                                                                                                                        points, providing
                                                                                                                                       HC10: 30/76 (39.5%)
2. Gabapentin 250         • History or clinical                                                                                                                                                      more comprehensive
   mg, hydrocodone                                                                                                                     • Mild: 10/76 (13.2%)                                         pain relief than either
                              evidence of renal disease;                                                                               • Moderate: 10/76 (13.2%)
   10 mg                  • Occurrence of oral                                                                                                                                                       component alone.
   (GBP250/HC10)                                                                                                                       • Severe: 10/76 (13.2%)                               4. The GBP250/HC10
                              surgery complication;                                                                                    APAP1000/HC10: 14/46 (30.4%)
3. Gabapentin 250                                                                                                                                                                               combination provided
                          • History of serious adverse                                                                                 • Mild: 5/46 (10.9%)
   mg                                                                                                                                                                                           analgesic relief more
                              reaction to any analgesic                                                                                • Moderate: 4/46 (8.7%)
4. Hydrocodone 10                                                                                                                                                                               quickly than either of its
                              agent or any medication
   mg (HC10)                                                                                                                           • Severe: 5/46 (10.9%)                                   components. Although the
                              to be used in the
5. Acetaminophen                                                                                                                                                                                median time-to-analgesia
                              operative procedure or
   1000 mg,                                                                                                                            The most common side effects included:                   of the GBP250/HC10
                              postoperative period;
   hydrocodone 10                                                                                                                      • Dizziness                                              group (82 minutes) was
                          • History of any bleeding
   mg                                                                                                                                  • Headache                                               statistically significantly
                              disorder;
   (APAP1000/HC10)                                                                                                                     • Nausea                                                 longer than the
                          • Patient gabapentin use                                                                                                                                              APAP1000/HC10 group
                              within the past 6 months;                                                                                • Vomiting
Patients Randomized:                                                                                                                   • Somnolence                                             (32 minutes), the median
Randomization             • Patient use of any                                                                                                                                                  time-to-remedication was
Procedure:                    analgesic, centrally acting,                                                                                                                                      not significantly different
                              or anti-inflammatory                                                                                     See Table 16 on page 46 of 371 for all adverse
                                                                                                                                       events reported by >4% of patients in any treatment      between the groups. The
Number of Study               medication within 24                                                                                                                                              latter finding suggests that
                              hours of surgery;                                                                                        group.
Study Dates:                                                                                                                                                                                    a TID dosing schedule
                          • Prior participation in                                                                                                                                              may be appropriate for




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According to RR720-           Study 1035-001;                                                                                                                             GBP250/HC10.
04455                     •   Patient was taking or took                                                                                                               5. The results of this study
• 12/28/99 –                  an investigational agent or                                                                                                                 suggest that while
    02/23/000                 participated in another                                                                                                                     GBP250/HC10 is effective
• Note that RR720-            research protocol within                                                                                                                    in relieving pain, it is not a
    04483 took place          the past 60 days.                                                                                                                           Vicodin analog. The
    between 02/25/00                                                                                                                                                      SPID6 results and the
                                                                                                                  6. Validated measures of improvement in global
    and 03/15/00                                                                                                                                                          onset of action profile for
                                                                                                                  function including return to work, study, activities
                                                                                                                                                                          the GBP250/HC10
                                                                                                                  of daily living
Study Approval:                                                                                                                                                           treatment group are
                                                                                                                                                                          reminiscent of the results
                                                                                                                  • None reported in this study.
PUBLISHED: N/a                                                                                                                                                            seen with Tramadol 100
                                                                                                                                                                          mg in a dental pain model.
                                                                                                                  7. > 50% reduction in pain score (NRS, VRS) from
Final study report                                                                                                                                                        Thus, the combination
                                                                                                                  baseline to endpoint
(unpublished):                                                                                                                                                            may prove to be more
                                                                                                                                                                          analogous to Tramadol
                                                                                                                  • Not a predefined primary endpoint of this study.      100 mg.
RR720-04455
Parke-Davis                                                                                                                                                            6. Single-dose treatment
                                                                                                                  8. Mean between-group difference in change of           with GBP250/HC10 was
Pharmaceutical
                                                                                                                  pain score (NRS, VRS) from baseline to pre-             generally well-tolerated.
Research, Divisions of
                                                                                                                  defined endpoint by ITT-LOCF –where this was            There were no
Warner-Lambert
                                                                                                                  the pre-defined primary endpoint in trial               withdrawals due to
Company, Ann Arbor
                                                                                                                  • Not a predefined outcome of this study                adverse events or serious
Michigan. Number
RR720-04455. Dated                                                                                                • The primary endpoint here was SDID 6.                 adverse events.
June 28th, 2000. PD                                                                                                                                                    7. The most frequent
Authors include Diaz F,                                                                                           Summary of SPID6 (Appendix C.2.01, p.211 of 371)        adverse events
Dougherty KM, Henry                                                                                                                                                       associated with
GC, Mundel T.                                                                                                     Placebo:                                                GBP250/HC10 treatment
Investigator listed as                                                                                            n:51                                                    were dizziness,
Desjardins P.                                                                                                     Mean: 1.30                                              headache, nausea,
                                                                                                                  SD: 4.49                                                vomiting, and
                                                                                                                                                                          somnolence.
                                                                                                                  GBP250/HC10:                                            • The incidence of
                                                                                                                  n=75                                                         dizziness in this




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                                                                                                       Mean: 3.76                                                    group was additive of
                                                                                                       SD: 5.07                                                      that seen in the
                                                                                                                                                                     GBP250 and HC10
                                                                                                       GBP250:                                                       groups.
                                                                                                       n=77                                                     • Dizziness was the
                                                                                                       Mean: 1.92                                                    only adverse event
                                                                                                       SD: 5.05                                                      seen at a significantly
                                                                                                                                                                     higher rate in the
                                                                                                       HC10:                                                         GBP250/HC10 group
                                                                                                       n=76                                                          versus the placebo
                                                                                                       Mean: 2.44                                                    group.
                                                                                                       SD: 5.00                                              8. In patients with pain
                                                                                                                                                                resulting from dental
                                                                                                       APAP1000/HC10:                                           surgery, this study
                                                                                                       n= 46                                                    demonstrated statistically
                                                                                                       Mean: 6.57                                               significantly better
                                                                                                       SD: 4.93                                                 analgesic effects (SPID6)
                                                                                                                                                                of the GBP250/HC10
                                                                                                       See Figure 4, (p.33 of 371) for least squares means      group compared with the
                                                                                                       of SPID 6 for each treatment group.                      placebo and GBP250
                                                                                                                                                                groups, and numerically
                                                                                                                                                                better than the HC10
                                                                                                                                                                group.
                                                                                                                                                                • In addition, efficacy
                                                                                                                                                                     was detected by
                                                                                                                                                                     positive min-test
                                                                                                                                                                     results on the PID at
                                                                                                                                                                     3 and 4 hours
                                                                                                                                                                     postdose and PRID 4
                                                                                                                                                                     hours postdose.
                                                                                                                                                                • The GBP250/HC10
                                                                                                                                                                     combination was
                                                                                                                                                                     well-tolerated with no




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                                                                                                       Table 7: p-values and Min-Test results for SPID-6     remarkable side
                                                                                                       Endpoints: GBP250/HC10 Combination (p.34 of 371)      effects.




                                                                                                       Table 8: P-values for planned SPID 6 Comparisons
                                                                                                       (p.34 of 371).


                                                                                                       Appendix D.2 (see pages 297, 298 of 371) contains
                                                                                                       the lsmeans, and 95% CI’s for SPID6 as well as the
                                                                                                       effect sizes, p-values and 95% confidence intervals
                                                                                                       for all the SPID6 comparisons.(note that estimates
                                                                                                       and the LS means have been rounded here to 4
                                                                                                       decimal places)




                                                                                                       From page 297 of Appendix D.2
                                                                                                       Placebo:
                                                                                                       LSMean: 1.3362
                                                                                                       95% CI: (0.0508, 2.6216)
                                                                                                       GBP250/HC10:
                                                                                                       LSMean: 3.7641
                                                                                                       95% CI: (2.7042, 4.8240)
                                                                                                       GBP250:




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                                                                                                       LSMean: 1.9217
                                                                                                       95% CI: (0.8756, 2.9677)
                                                                                                       HC10:
                                                                                                       LSMean: 2.4174
                                                                                                       95% CI: (1.3644, 3.4703)
                                                                                                       APAP1000/HC10:
                                                                                                       LSMean: 6.5532
                                                                                                       95% CI: (5.1998, 7.9066)




                                                                                                       P. 298 of Appendix D.2

                                                                                                       APAP1000/HC10 – Placebo:
                                                                                                       Estimate: 5.2169
                                                                                                       P-Value: 0.0001
                                                                                                       GBP250 – APAP1000/HC10:
                                                                                                       Estimate: -4.6315
                                                                                                       P-Value: 0.0001
                                                                                                       GBP250 – HC10:
                                                                                                       Estimate: -0.4957
                                                                                                       P-Value: 0.5116
                                                                                                       GBP250 – Placebo:
                                                                                                       Estimate: 0.5854
                                                                                                       P-Value: 0.4876
                                                                                                       GBP250/HC10 – APAP1000/HC10:
                                                                                                       Estimate: -2.7890
                                                                                                       P-Value: 0.0016
                                                                                                       GBP250/HC10 – GBP250:
                                                                                                       Estimate: 1.8425




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                                                                                                       P-Value: 0.0155
                                                                                                       GBP250/HC10 – HC10:
                                                                                                       Estimate: 1.3468
                                                                                                       P-Value: 0.0771
                                                                                                       GBP250/HC10 – Placebo:
                                                                                                       Estimate: 2.4279
                                                                                                       P-Value: 0.0044
                                                                                                       HC10 - APAP1000/HC10:
                                                                                                       Estimate: -4.1358
                                                                                                       P-Value: 0.0001
                                                                                                       HC10 – Placebo:
                                                                                                       Estimate: 1.0811
                                                                                                       P-Value: 0.2014

                                                                                                       9. % of patients achieving “much improved” or
                                                                                                       “moderately improved”

                                                                                                       •   Not a predefined outcome.
                                                                                                       •   Pain relief (PR) was assessed at time 0, at 20
                                                                                                           and 40 minutes, and at hours 1 – 8 on a 5-point
                                                                                                           categorical scale:
                                                                                                                     o 0 = None
                                                                                                                     o 1 = A little
                                                                                                                     o 2 = Moderate
                                                                                                                     o 3 = A lot
                                                                                                                     o 4 = Complete
                                                                                                       •   The GBP250/HC10 curve was significantly better
                                                                                                           than the placebo group for hours 1-6 and better
                                                                                                           than the GBP250 group for hours 0.66 (40
                                                                                                           minutes) through 3.
                                                                                                       •   The GBP250/HC10 group was not significantly
                                                                                                           better than HC10 at any point.
                                                                                                       •   At the 5- through 8- hour time points, PR scores




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                                                                                                           for the GBP250/HC10 and APAP1000/HC10
                                                                                                           groups showed little or no separation from each
                                                                                                           other.
                                                                                                       •   Mean PR scores over time can be seen in figure
                                                                                                           7, p.39 of 371.
                                                                                                       •   See appendix C.2.07, p.217 of 371 for PR
                                                                                                           measurements
                                                                                                       •   See appendix D.5 (p.310 of 371) for PR
                                                                                                           comparisons at each time point.
                                                                                                       •   Patients also performed an overall assessment
                                                                                                           of study medication

                                                                                                       •   Patients also performed an overall assessment
                                                                                                           of study medication at the end of the 8-hour-in-
                                                                                                           clinic assessment period:
                                                                                                                     o 1 = poor
                                                                                                                     o 2 = fair
                                                                                                                     o 3 = good
                                                                                                                     o 4 = very good
                                                                                                                     o 5 = excellent
                                                                                                       •   Responders were defined as those patients who
                                                                                                           evaluated their study medication as “excellent,”
                                                                                                           “very good,” or “good” on the Patient Global
                                                                                                           Assessment of Study Medication at 8 hours
                                                                                                           postdose, or at time of rescue medication.
                                                                                                       •   Significant differences in responder rates were
                                                                                                           detected among treatment groups.
                                                                                                       •   The GBP250/HC10 group:
                                                                                                           o Had a significantly better responder rate
                                                                                                                 (45.3%) than the placebo group (25.5%) (p
                                                                                                                 = 0.026)
                                                                                                           o Was numerically better than the GBP250
                                                                                                                 group (31.2%) (p = 0.095),




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                                                                                                           o    Was no different than the HC10 group
                                                                                                                (36.8%) (p = 0.323).
                                                                                                       •   APAP1000/HC10 group had the highest
                                                                                                           responder rate (76.1%) and was statistically
                                                                                                           significantly better than all other treatment
                                                                                                           groups.
                                                                                                       •   See appendix C.2.04 for a complete summary of
                                                                                                           the Global Assessment of Study Medication
                                                                                                           (p.214 of 371)
                                                                                                       •   See appendix D.14 (p.369 of 371) for analysis.

                                                                                                       10. Histogram presentation of all PGIC 7-point
                                                                                                       results

                                                                                                       •   N/A – not a predefined outcome.




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Gabapentin project study summary, Protocol 1035-001 Addendum B, RR 720-04483 - Postoperative Dental Pain – Final Study Detail Summary –                                         1
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                                                                         UNPUBLISHED
                                                 STUDY DETAIL SUMMARY AND ANALYSIS: DESJARDINS
                                           PROTOCOL NUMBER 1035-001, ADDENDUM B, RESEARCH REPORT 720-04483
                                                          POST-OPERATIVE DENTAL PAIN


Summary of Dr. T.L. Perry:

Initial study conducted from 12/28/99 – 02/23/000; Addendum B conducted from 02/25/2000 – 3/15/2000; report dated 10/31/00

This “Addendum B” study appears to have been an attempt to salvage statistical significance by adding more subjects, or by increasing the dose of Gabapentin. The results are
unchanged.

According to the authors, the GBP/HC combination groups tended to have greater pain relief than placebo! (hydrocodone effect)

No apparent analgesic benefit was obtained by increasing GBP to 500 mg in the combination, and the frequency of adverse effects increased with higher doses of Gabapentin
(GBP500 43% vs. placebo 10%, p not given).



Conclusion:

Single-dose Gabapentin is not efficacious for post-operative dental pain, but increases adverse events.



NB: GBP = Gabapentin, HC = Hydrocodone.




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Study / Design /            Inclusion Criteria /              Intervention(s),        Predefined Outcomes / Issues in Statistical             Outcomes Hierarchy (Cochrane,                          Comments / Conclusions
Dates                       Baseline Characteristics          Experimental Design, N Analysis                                                 investigators: primary / secondary)                    of Study Authors (see
                                                              of Subjects Randomized                                                                                                                 Discussion and Conclusion
                                                              (ITT) / N Who Completed                                                                                                                on pp 34-36 of 245)
                                                              Study
                                                                                                                                                                                                     NB: Recorded for interest
                                                                                                                                                                                                     only and are not necessarily
                                                                                                                                                                                                     the opinion of Dr. T. L. Perry
Protocol Number:            Postoperative Dental Pain                                  According to the Protocol (p.43 of 245)                1. Mortality                                           1. The GBP125/HC10
1035-001, Addendum B                                          Patient Flow:                                                                                                                              combination performed
                            RR720-04483                                                Predefined Primary Outcome:                            •   No patients died during this study (p.33 of 245)       numerically better than
Original Protocol           Note that the inclusion /         Number of Patients                                                                                                                         the GBP250/HC5 and
Date: November 15th,        exclusion criteria for RR720-     Screened: 140            •   The Summed Pain Intensity Difference over          2. Serious Adverse Events                                  GBP500/HC10
1999                        04455 were the same.              Number of Patients           the first 6 hours.                                                                                            combinations on all
                                                              Randomized: 101                                                                 •   No patients experienced serious adverse events         efficacy measures, and
Note that addendum B        Inclusion Criteria:               Number randomized to     Secondary Outcomes                                         during this study (p.33 of 245)                        the GBP500/HC10
of the protocol (p.127 of   • Age between 18 and 40           each treatment group:                                                                                                                      combination performed
245) explains the               years (inclusive);                                     •   SPID 8                                             3. Withdrawals Due to Adverse Events                       numerically better than
extension of the study      • Scheduled for an                Placebo: n=20            •   Totpar 6, Totpar 8 (total pain relief at 6 and 8                                                              the GBP250/HC5
with 100 more patients.         outpatient oral surgical      GBP250/HC5: n=20             hours)                                             •   No patients withdrew due to an adverse event           combination.
The rationale is given.         procedure to remove 1 to      GBP125/HC10: n=20        •   SPRID 6, SPRID 8 (Sum of pain relief intensity         during this study (p.33 of 245).                   2. The 1035-01 Main
Addendum B has been             2 ipsilateral third molars,   GBP500/HC10: n=20            difference over the first 6 and 8 hours)                                                                      Protocol/Addendum A and
copied into this                at least 1 of which was       GBP500: n=21             •   PID (Pain intensity difference at 20, 40, and 60   4. Total Withdrawals:                                      Addendum B were
document at the end of          mandibular and fully or                                    minutes and every hour up to eight hours)                                                                     conducted at the same
the table.                      partially impacted in bone;                            •   PR (Pain relief at 20, 40, and 60 minutes and      •   1/21 patient in the GBP 500 group did not              center by the same
                            • Good health as                                               every hour up to eight hours)                          complete the study                                     personnel, with
This study, Addendum            determined by medical                                  •   PRID (Pain relief intensity difference) at 20,     •   See table 6, p. 27 of 245 for details (also            Addendum B commencing
B of Protocol 1035-001,         history and physical                                       40, and 60 minutes and every hour up to eight          included in Interventions column.                      within 48 hours of the
was conducted to                examination;                                               hours)                                                                                                        completion of the Main
collect data for            • Negative alcohol breath                                                                                         5. Total Adverse Events:                                   Protocol/Addendum A.
                                                                                       •   Time to onset
pharmacokinetic /               test on day of surgery        Table 6, p.27 of 245                                                                                                                   3. The different parts of the
                                                                                       •   Time to rescue medication
pharmacodynamic                 prior to surgery;                                                                                             •   A total of 31 patients (31%) in this study             study had different




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modeling of the             •   Written informed consent;                         •   Patient global assessment of study medication           experienced at least 1 adverse event                treatment groups and
gabapentin and              •   Reliable, cooperative, and                            was also a secondary efficacy parameter.            •   The percentage of patients who experienced          sample sizes. Within
hydrocodone                     able to understand the                                                                                        adverse events ranged from 10% of the placebo       these constraints, the
combination. These              information required in the                       This is mirrored by the research report (p. 7 of 245)       and GBP250/HC5 groups to 55% of the                 results of 1035-01 Main
data will be used to help       pain questionnaire;                                                                                           GBP500/HC10 group.                                  Protocol/Addendum A and
determine the optimal       •   Self-rated postoperative                                                                                  •   Most patients (77%) experienced adverse events      Addendum B were
doses of gabapentin             pain intensity on a 4-point                                                                                   that were mild to moderate in intensity.            compared.
and hydrocodone for             categorical scale as                                                                                                                                           4. The SPID6 results
use in future clinical          moderate or severe; and                                                                                   Placebo: 2/20 (10.0%)                                   obtained with
studies. The                •   Self-rated postoperative                                                                                  • Mild: 0/20 (0%)                                       GBP125/HC10 treatment
pharmacokinetic results                                                           Table included on each pages 6-8 of 245 of the                                                                  appear consistent with
                                pain intensity on a 100                                                                                   • Moderate: 0/20 (0%)
are summarized in a                                                               Research Report.                                                                                                those obtained with
                                mm VAS of > 45 mm.                                                                                        • Severe: 2/20 (10.0%)
separate report.                                                                                                                          GBP125/HC10: 2/20 (10.0%)                               GBP250/HC10 treatment,
                            Exclusion Criteria:                                                                                           • Mild: 1/20 (5.0%)                                     10 suggesting that GBP
The same efficacy data      • History or clinical                                                                                         • Moderate: 0/20 (0%)                                   doses of 125 or 250 mg in
were collected for              evidence of renal disease;                                                                                                                                        combination with HC10
                                                                                                                                          • Severe: 1/20 (5.0%)
Addendum B patients                                                                                                                                                                               provide comparable pain
                            • Occurrence of oral                                                                                          GBP250/HC5: 7/20 (35%)
as for patients in the                                                                                                                                                                            relief (Table 9, p.35 of
                                surgery complication;                                                                                     • Mild: 2/20 (10.0%)
1035-01 Main                                                                                                                                                                                      245).
                            • History of serious adverse                                                                                  • Moderate: 3/20 (15.0%)
Protocol/Addendum A.                                                                                                                                                                              • The pain relief
                                reaction to any analgesic                                                                                 • Severe: 2/20 (10.0%)
The small number of                                                                                                                                                                                    provided by these
                                agent or any medication                                                                                   GBP500/HC10: 11/20 (55.0%)
patients in each                                                                                                                                                                                       combinations seems
                                to be used in the                                                                                         • Mild: 2/20 (10.0%)
treatment group                                                                                                                                                                                        similar over time, as
                                operative procedure or                                                                                    • Moderate: 7/20 (35%)
precluded inferential                                                                                                                                                                                  evidenced from
                                postoperative period;                                                                                     • Severe: 2/20 (10.0%)
analyses of these data.                                                                                                                                                                                plotting the mean
                            • History of any bleeding                                                                                     GBP500: 9/21 (42.9%)                                         PRID scores (Figure
Research Report No:             disorder;                                                                                                 • Mild: 3/21 (14.3%)                                         4, p.35 of 245).
RR720-04483 (Protocol       • Patient gabapentin use                                                                                      • Moderate: 6/21 (28.6%)                                • Also, no apparent
1035-001, Addendum              within the past 6 months;                                                                                 • Severe: 0/21 (0.0%)                                        analgesic benefit
B).                         • Patient use of any                                                                                                                                                       was obtained by
                                analgesic, centrally acting,                                                                              See Table 8 on p. 31 of 245 for more details.                increasing GBP to
Date of RR720-04483:            or anti-inflammatory                                                                                                                                                   500 mg in the
October 31st, 2000              medication within 24                                                                                      The most common side effects included:                       combination (Figure
                                hours of surgery;                                                                                         • Dizziness




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Study Design: A           •   Prior participation in                                                              •   Headache                                                  4, p.35 of 245), and
single-dose, double-          Study 1035-001;                                                                     •   Nausea                                                    increased side effects
blind, placebo-           •   Patient was taking or took                                                                                                                        occurred with the
controlled, comparative       an investigational agent or                                                         • The adverse events reported by 2 or more                    GBP500/HC10
efficacy study.               participated in another                                                                  patients per treatment group included dizziness,         combination.
                              research protocol within                                                                 nausea, and headache.                            5. The SPID6 results
Study Country: US             the past 60 days.                                                                   • Dizziness was the most frequent adverse event          suggest that the HC5
                                                                                                                       experienced by patients receiving the GBP/HC        dose in combination with
Study Duration: Single                                                                                                 combinations.                                       GBP250 is not as
Dose                                                                                                                   o For the combination treatment groups              effective as the HC10
                                                                                                                            containing HC10, the incidence of dizziness    dose in the combination
Investigators:                                                                                                              increased with the amount of GBP in the        (Table 9, p.35 of 245).
Desjardins P                                                                                                                combination.                                   This trend is also
                                                                                                                       o The frequency of dizziness was 30% for the        observed with the mean
Medication Dosage                                                                                                           GBP125/HC10 group compared with 45%            PRID scores (Figure 5,
(dependant):                                                                                                                for the GBP500/HC10 group.                     p.36 of 245).
Patients were                                                                                                          o The frequency of dizziness for patients        6. Single-dose treatment
randomized to receive                                                                                                       treated with GBP125/HC10 was similar to        with the GBP/HC
one of the following:                                                                                                       that of patients treated with GBP250/HC10      combinations was
                                                                                                                            (28%).                                         generally well-tolerated.
1. Placebo                                                                                                        • For a detailed overview of adverse events, see         • The frequency of
2. Gabapentin 250                                                                                                      Appendix C.3 (p.209 of 245)                              dizziness increased
   mg/Hydrocodone 5                                                                                                                                                             with increasing doses
   mg (GBP250/HC5)                                                                                                6. Validated measures of improvement in global                of GBP and HC.
3. Gabapentin 125                                                                                                 function including return to work, study, activities  7. Based    on summary
   mg, Hydrocodone                                                                                                of daily living                                          statistics, GBP/HC
   10 mg                                                                                                                                                                   combination groups
   (GBP125/HC10)                                                                                                  • None reported in this study.                           tended to have greater
4. Gabapentin 500                                                                                                                                                          pain relief than placebo.
   mg, Hydrocodone                                                                                                7. > 50% reduction in pain score (NRS, VRS) from         The greatest relief was
   10 mg                                                                                                          baseline to endpoint                                     seen in the
   (GBP500/HC10)                                                                                                                                                           GBP125/HC10 treatment
5. Gabapentin 500                                                                                                 • Not a predefined primary endpoint of this study.       group.
   mg (GBP 500)




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Patients Randomized:                                                                                       8. Mean between-group difference in change of
Randomization                                                                                              pain score (NRS, VRS) from baseline to pre-
Procedure:                                                                                                 defined endpoint by ITT-LOCF –where this was
                                                                                                           the pre-defined primary endpoint in trial
Number of Study                                                                                            • Not a predefined outcome of this study
Study Dates:                                                                                               • The primary endpoint here was SPID 6.

According to RR720-                                                                                        Summary of SPID6 (p.28 or 245)
04483
• 02/25/2000 –                                                                                             Placebo:
    3/15/2000                                                                                              n:20
• Note that RR720-                                                                                         Mean: 0.78
    04455 took place                                                                                       SD: 2.99
    over 12/28/99 –
    02/23/000                                                                                              GBP250/HC5:
                                                                                                           n=20
Study Approval:                                                                                            Mean: 2.08
                                                                                                           SD: 4.51
PUBLISHED: N/a
                                                                                                           GBP125/HC10:
Final study report                                                                                         n=20
(unpublished):                                                                                             Mean: 3.45
                                                                                                           SD: 4.94
RR720-04483
Pfizer Global Research                                                                                     GBP500/HC10:
& Development Ann                                                                                          n=20
Arbor Laboratories, Ann                                                                                    Mean: 2.30
Arbor Michigan. Report                                                                                     SD: 6.47
Number RR 720-04483
dated October 31st,                                                                                        GBP500:
2000. Authors include                                                                                      n=21
Authors include Diaz F,                                                                                    Mean: 0.46




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Dougherty KM, Henry                                                                                        SD: 4.68
GC, Mundel T.                                                                                              See table 7 (p.28 of 245)
Investigator listed as
Desjardins P.




                                                                                                           Table 9 (p.35 of 245) contains a comparison of SPID
                                                                                                           6 for the first part of the protocol


                                                                                                           It would seem that RR720-04483 contains no table
                                                                                                           analogous to Appendix D.2 on page 298 of 371 of
                                                                                                           RR720-04455 in which the p-values for all the
                                                                                                           treatment comparisons for SPID 6 are given.

                                                                                                           9. % of patients achieving “much improved” or
                                                                                                           “moderately improved”

                                                                                                           •   Not a predefined outcome.
                                                                                                           •   Pain relief (PR) was assessed at time 0, at 20
                                                                                                               and 40 minutes, and at hours 1 – 8 on a 5-point
                                                                                                               categorical scale:
                                                                                                                         o 0 = None
                                                                                                                         o 1 = A little
                                                                                                                         o 2 = Moderate




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                                                                                                                  o 3 = A lot
                                                                                                                  o 4 = Complete
                                                                                                    •   The GBP125/HC10 treatment group showed a
                                                                                                        maximal effect on the PR at 2 hours postdose.
                                                                                                        The GBP125/HC10 treatment group means at
                                                                                                        this time point were numerically better than
                                                                                                        those achieved by any other treatment group at
                                                                                                        any time point throughout the 8-hour time
                                                                                                        course. The effects seen for the GBP500/HC10
                                                                                                        group were better overall than for the
                                                                                                        GBP250/HC5 group. The placebo and GBP500
                                                                                                        groups had the smallest effect.
                                                                                                    •   For a full summary of pain relief measurements
                                                                                                        see Appendix C.2.07 (p.205 of 245)
                                                                                                    •   The report does not seem to contain information
                                                                                                        regarding the p-values of PR comparisons.

                                                                                                    •   Patients also performed an overall assessment
                                                                                                        of study medication at the end of the 8-hour-in-
                                                                                                        clinic assessment period:
                                                                                                                  o 1 = poor
                                                                                                                  o 2 = fair
                                                                                                                  o 3 = good
                                                                                                                  o 4 = very good
                                                                                                                  o 5 = excellent
                                                                                                    •   Responders were defined as those patients who
                                                                                                        evaluated their study medication as “excellent,”
                                                                                                        “very good,” or “good” on the Patient Global
                                                                                                        Assessment of Study Medication at 8 hours
                                                                                                        postdose, or at the time of rescue medication.
                                                                                                    •   The percentage of responders was highest for
                                                                                                        the GBP125/HC10 group (40%), followed by the
                                                                                                        GBP250/HC5 and GBP500/HC10 groups (35%




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                                                                                                        each). The GBP500 and placebo treatment
                                                                                                        groups had responder rates of 24% and 10%,
                                                                                                        respectively.
                                                                                                    •   See appendix C.2.04 (p.202 of 245) for all
                                                                                                        details regarding responder analysis.


                                                                                                    10. Histogram presentation of all PGIC 7-point
                                                                                                    results

                                                                                                    •   N/A – not a predefined outcome.




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Addendum B of Protocol 1035-001 (RR720-04483)




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                                                                         UNPUBLISHED
                                               STUDY DETAIL SUMMARY AND ANALYSIS: SUNSHINE A, KATZ JA
                                                 PROTOCOL NUMBER 1035-002, RESEARCH REPORT 720-04471
                                             POST-OPERATIVE PAIN FOLLOWING MAJOR ORTHOPAEDIC SURGERY


Summary of Dr. T.L. Perry

Study conducted from 12/03/1999 – 08/25/2000; report dated 12/20/2000

The authors conclude “250 mg of gabapentin does not appear to substantially potentiate the analgesic efficacy of 10 mg of hydrocodone in this model.”

For SPID6, Gabapentin was not superior to placebo. The GBP250/HC10 group did not significantly outperform the HC10 group on any of the efficacy measures examined.

Conclusions:

Single-dose Gabapentin 250 mg was not efficacious for treatment of post-operative pain following major orthopaedic surgery.



NB: GBP = Gabapentin, HC = Hydrocodone




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Study / Design /          Inclusion Criteria / Baseline          Intervention(s), Experimental          Predefined Outcomes / Issues in            Outcomes Hierarchy (Cochrane,                       Comments / Conclusions of
Dates                     Characteristics                        Design, N of Subjects                  Statistical Analysis                       investigators: primary / secondary)                 Authors (see Discussion and
                                                                 Randomized (ITT) / N Who                                                                                                              Conclusion, pp. 51-52 of 380)
                                                                 Completed Study
                                                                                                                                                                                                       NB: Recorded for interest only
                                                                                                                                                                                                       and are not necessarily the
                                                                                                                                                                                                       opinion of Dr. T. L. Perry
Protocol Number:          Post-Operative Pain Following          Patient Flow:                          Predefined Outcomes:                       1. Mortality                                        1. This study compared the
1035-002.                 Major Orthopaedic Surgery.             Number of Patients Screened: 238                                                                                                          pain relief provided by
                                                                 Number of Patients Randomized:         According to the Study Protocol            P = 1/49 (2.0%), no other deaths.                       GBP250/HC10 after
Original Protocol         Inclusion Criteria:                    200                                    (p.62 of 380):                                                                                     orthopedic surgery with that
Date: October 5th, 1999                                          Number randomized to each                                                         •   One patient died in this study due to cardiac       of the active comparator and
                          •   Eighteen years of age or older;    treatment group:                       Primary Efficacy Parameter:                    arrest, the patient was in the placebo              component of the
Research Report No:       •   Have undergone one of the                                                 • SPID6, the sum of pain intensity             treatment group.                                    combination, HC10; the
RR720-04471                   following major inpatient          •   Placebo: n = 49                        difference over the first 6 hours.     •   Patient 002131, Study 1035-002-002, a 73-           other component of the
                              orthopaedic surgical               •   GBP250/HC10: 51                                                                   year-old white male in a CI-1035 study for          combination, GBP250; and
Date of Research              procedures:                        •   GBP250: 50                         Secondary Efficacy Parameters:                 the treatment of pain due to total knee             placebo.
Report: December 20th,        o Total knee replacement;          •   HC10: 50                           • SPID4 and SPID8 (sum of pain                 arthroplasty had a cardiac arrest and died      2. The HC10 group
2000                          o Total hip replacement;                                                     intensity difference over the first 4       on Study Day 2 (1 day post treatment)               consistently outperformed
                              o Hip hemiarthroplasty                                                       and 8 hours)                                o History includes hypertension and                 the placebo group on all
Study Design: A                    (replacement of femoral                                              • TOTPAR4, TOTPAR6, and                             irregular heartbeat and shortness of           efficacy measures,
single-dose, double-               head);                                                                  TOPAR8 (total pain relief over the               breath.                                        demonstrating the validity of
blind, placebo-               o Total shoulder                                                             first 4, 6, and 8 hours)                    o Concomitant medication consisted of               the trial.
controlled, comparative            replacement;                                                         • SPRID4, SPRID6, and SPRID8                        digoxin, lisinopril and propafenone        3. The GBP250/HC10 group
efficacy study.               o Major rotator cuff tear                                                    (sum of pain relief intensity                    hydrochloride.                                 provided significantly better
                                   repair (acute complete                                                  difference over the first 4, 6, and 8       o One day prior to the study, the patient           pain relief than the placebo
Study Country: US                  tears);                                                                 hours)                                           had the total knee arthroplasty.               and GBP250 groups on the
                              o Osteotomy (major lower           See table 7 (p. 33 of 380) for more    • PID (pain intensity difference at 20,    •   On Study Day 1, he was treated with a               majority of efficacy
Study Duration: Single             extremities only;             details.                                  40, and 60 minutes and 2, 3, 4, 5,          single dose of the study medication.                measures.
Dose                               Amendment 2 added                                                       6, 7, and 8 hours)                          o Following the study period, the patient       4. The GBP250/HC10 group
                                   upper extremities);                                                  • PR (pain relief at 20, 40, and 60                 began treatment with oxycodone                 did not significantly
Investigators:                o Open reduction internal                                                    minutes and 2, 3, 4, 5, 6, 7, and 8              hydrochloride for pain.                        outperform the HC10
Sunshine A, Katz JA                fixation (isolated lower                                                hours)                                      o He developed confusion and had the                group on any of the
                                   extremities without other     This table is contained on pages 6-9   • PRID (pain relief intensity                       cardiac arrest the following day, Study        efficacy measures
Investigator’s                o coexisting major trauma;         of 380 of the Research Report.            difference at 20, 40, and 60                     Day 2.                                         examined.

                                                                                                                                                                                                                        2 of 2
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Meetings:                            Amendment 2 added                                                         minutes and 2, 3, 4, 5, 6, 7, and 8   •   The investigator considered the fatal event          •    The PR, PID, and PRID
November 18th, 1999                  upper extremities);                                                       hours)                                    unlikely related to the study medication.                 curves for the
January 21st, 2000              o Spinal fusions; or                                                       •   Time-to-Onset (using 1-stopwatch          o The PGRD medical reviewer                               GBP250/HC10 group
*note that second               o Amendment 2 added                                                            method),                                       considered the labelled event unlikely               were very similar to the
meeting occurred after               Triple arthrodesis.           Table 1 (p.11 of 380) contains a list   •   Time-to-Rescue                                 related to the study medication.                     curves for HC10 group.
study began.                • Have no clinically significant       of investigators.                                                                 •   See page 50 of 380 for details.                     • Pain relieving effects of
                                                                                                           •   Patient Global Assessment
                                illness which would                                                                                                                                                                the active treatments
Medication Dosage               contraindicate the patient’s                                               According to the final research           2. Serious Adverse Events                                     (GBP250/HC10 and
(dependant):                    participation in the trial as                                              report (pp.17,18 of 380) the primary                                                                    HC10) were seen as
Patients were randomly          determined by medical history,                                             and secondary efficacy outcomes           P = 2/49 (4.1%)                                               early as 40 minutes
assigned to                     physical examination, or                                                   are the same as defined in the                                                                          postdose.
1. Placebo                      laboratory findings as recorded                                            original protocol.                        •   Two patients experienced a serious adverse          • These data suggest that
2. Gabapentin 250               in their hospital chart;                                                                                                 event during this study (Table 20, p.51 of                250 mg of gabapentin
     mg, hydrocodone        • Reliable, cooperative, and able                                                                                            380).                                                     does not potentiate the
     10 mg                      to understand the information                                                                                        •   Both patients were in the placebo group.                  effects of 10 mg of
     (GBP250/HC10)              required in the pain                                                                                                     Patient 002131 died due to heart arrest                   hydrocodone in this
3. Gabapentin 250               questionnaire / analgesia                                                                                                o The heart arrest occurred 1 day after                   model.
     mg                         diary;                                                                                                                        study completion.                              • This is in contrast to the
4. Hydrocodone 10           • Experiencing self-rated                                                                                                    o Patient 002108 had an accidental injury                 apparent potentiation
     mg                         postoperative pain on a 4-point                                                                                               (fractured femur) during physical                    effects of gabapentin
                                categorical scale as moderate                                                                                                 therapy. The accident, which occurred                with hydrocodone in a
Patients Randomized:            (2 points) or severe (3 points);                                                                                              1 day after study completion, resulted in            dental pain model,
200                         • Able to take oral medication.                                                                                                   surgery and the patient recovered.                   Protocol 1035-001.
                            Exclusion Criteria:                                                                                                                                                           5. The study also examined
Randomization               • Clinical evidence of renal                                                                                                                                                     the affect of baseline opiate
Procedure:                      disease with a serum                                                                                                                                                         concentrations and the
                                creatinine level >2.0 mg/dL;                                                                                                                                                 ability to metabolize
Number of Study             • Orthopedic surgery                                                                                                                                                             hydrocodone on the primary
Centres: 2 centers              complication, that, in the                                                                                           Table 20, p.51 of 380.                                  efficacy measure, SPID6.
recruited patients in the       opinion of the investigator,                                                                                                                                                 • No significant alteration
United States.                  precluded the patient’s                                                                                              3. Withdrawals Due to Adverse Events                          in SPID6 results was
                                participation in the study;                                                                                                                                                        seen when either of
Study Dates:                • History of serious adverse                                                                                             HC10: 6/50 (12.0%)                                            these factors was
12/03/1999 –                    reaction to, or known allergy to                                                                                     GBP250: 3/50 (6.0%)                                           incorporated in the
08/25/2000                      hydrocodone, opioids, or                                                                                             GBP250/HC10: 1/51 (2.0%)                                      primary ANCOVA
                                Gabapentin;                                                                                                                                                                        model.
Study Approval:
                                                                                                                                                                                                                           3 of 3
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                          •   History of chronic opioid use or                                                          •   All 10 withdrawals were due to fever.             •   The percentage of poor
PUBLISHED: N/a                opioid abuse within 6 months                                                              •   None of the cases of fever were considered            metabolizers of
                              prior to study entry;                                                                         associated with treatment.                            hydrocodone in this
Final study report        •   History of any bleeding                                                                   •   See Appendix B.3 for details (p.191 of 380)           study was 8%. This is in
(unpublished):                disorder;                                                                                                                                           close agreement with
Pfizer Global Research    •   Prior use of Gabapentin within                                                            4. Total Withdrawals:                                     the 7% estimate of poor
& Development. Ann            the past 6 months;                                                                                                                                  metabolizers among
Arbor Laboratories, Ann   •   Prior participation in Study                                                              Total Withdrawals: 11/200 (5.5%)                          Caucasians.
Arbor Michigan. Report        1035-001; and                                                                                                                               6. Single-dose treatment with
Number RR 720-04471       •   Patient was taking or took an                                                             Placebo: 0/49 (0.0%)                                 GBP250/HC10 was
dated December 20th,          investigational agent or                                                                  GBP250/HC10: 1/51 (2.0%)                             generally well-tolerated.
2000. Authors include         participated in another                                                                   • WDAE – 1/51 (2.0%)                              7. The most frequent adverse
Dougherty KM, Henry           research protocol within the                                                              GBP250: 3/50 (6.0%)                                  events associated with
GC, Mundel T, Yan C.          past 30 days.                                                                             • WDAE 3/50 (6.0%)                                   GBP250/HC10 treatment
                                                                                                                        HC10: 7/50                                           were somnolence and
                                                                                                                        • WDAE: 6/50 (12.0%)                                 dizziness. No adverse
                                                                                                                        • Other: 1/50 (2.0%)                                 events were experienced at
                                                                                                                                                                             a significantly higher
                                                                                                                                                                             frequency in the
                                                                                                                                                                             GPB250/HC10 group
                                                                                                                                                                             compared with the placebo
                                                                                                                                                                             group.
                                                                                                                                                                          8. The combination of
                                                                                                                                                                             GBP250/HC10 was
                                                                                                                                                                             significantly better than
                                                                                                                                                                             placebo in relieving
                                                                                                                                                                             postsurgical pain; however,
                                                                                                                                                                             250 mg of gabapentin does
                                                                                                                                                                             not appear to substantially
                                                                                                                                                                             potentiate the analgesic
                                                                                                                        Table 7 – 33/80.                                     efficacy of 10 mg of
                                                                                                                                                                             hydrocodone in this model.
                                                                                                                        5. Total Adverse Events:                             A single oral dose of
                                                                                                                                                                             GBP250/HC10 was well-
                                                                                                                        Placebo: 13/49 (26.5%)                               tolerated with no remarkable
                                                                                                                        • Mild: 7/49 (14.3%)                                 side effects.

                                                                                                                                                                                          4 of 4
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                                                                                                       • Moderate: 4/49 (8.2%)
                                                                                                       • Severe: 2/49 (4.1%)
                                                                                                       GBP250/HC10: 9/51 (17.6%)
                                                                                                       • Mild: 5/51 (9.8%)
                                                                                                       • Moderate: 4/51 (7.8%)
                                                                                                       • Severe: 0/51 (0.0%)
                                                                                                       GBP250: 10/50 (20.0
                                                                                                       • Mild: 3/50 (6.0%)
                                                                                                       • Moderate: 7/50 (14.0
                                                                                                       • Severe: 0/50 (0.0%)
                                                                                                       HC10: 15/50 (30%)
                                                                                                       • Mild: 7/50 (14.0
                                                                                                       • Moderate:8/50 (16.0
                                                                                                       • Severe: 0/50 (0.0%)

                                                                                                       See table 18 (pp.47, 48 of 380) for more details.

                                                                                                       6. Validated measures of improvement in
                                                                                                       global function including return to work,
                                                                                                       study, activities of daily living

                                                                                                       •   None listed in this study

                                                                                                       7. > 50% reduction in pain score (NRS, VRS)
                                                                                                       from baseline to endpoint

                                                                                                       •   Not a predefined efficacy parameter.

                                                                                                       8. Mean between-group difference in change
                                                                                                       of pain score (NRS, VRS) from baseline to
                                                                                                       pre-defined endpoint by ITT-LOCF –where
                                                                                                       this was the pre-defined primary endpoint in
                                                                                                       trial

                                                                                                       •   The primary efficacy parameter in this study
                                                                                                           was SPID6, the sum of pain intensity
                                                                                                                                                           5 of 5
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                                                                                                           difference over the first 6 hours.

                                                                                                       SPID 6 Results by Treatment Group (See
                                                                                                       Appendix C.2.01, p.212 of 380)

                                                                                                       Placebo: n = 49
                                                                                                       Mean: -0.16
                                                                                                       SD: 3.09
                                                                                                       GBP250/HC10: n=51
                                                                                                       Mean: 2.65
                                                                                                       SD: 4.08
                                                                                                       GBP250:n=50
                                                                                                       Mean: 1.03
                                                                                                       SD: 3.89
                                                                                                       HC10: n=50
                                                                                                       Mean: 2.53
                                                                                                       SD: 3.92

                                                                                                       The following are the p-values for the 2-way
                                                                                                       comparison of each treatment group with regard
                                                                                                       to SPID6 (see appendix D.2.1, p.276 of 380).
                                                                                                       Note that below, estimates have been rounded
                                                                                                       to 4 decimal places.

                                                                                                       GBP250 - HC10:
                                                                                                       Estimate: -1.5888
                                                                                                       p-value = 0.0198
                                                                                                       GBP250 - Placebo:
                                                                                                       Estimate: 1.1965
                                                                                                       p-value =0.0799
                                                                                                       GBP250/HC10 - GBP250:
                                                                                                       Estimate: 1.6576
                                                                                                       p-value = 0.0146
                                                                                                       GBP250/HC10- HC10:
                                                                                                       Estimate: 0.0688
                                                                                                       p-value = 0.9187
                                                                                                       GBP250/HC10 - Placebo:
                                                                                                                                                        6 of 6
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                                                                                                       Estimate: 2.8540
                                                                                                       p-value = 0.0001
                                                                                                       HC10 - Placebo:
                                                                                                       Estimate: 2.7853
                                                                                                       p-value = 0.0001

                                                                                                       •   The GBP250/HC10 group was statistically
                                                                                                           significantly better than the placebo (p =
                                                                                                           0.0001) and GBP250 groups (p = 0.0146)
                                                                                                           on the SPID6 primary efficacy measure
                                                                                                           (Table 8, p.35 of 380).
                                                                                                           o The GBP250/HC10 group did not
                                                                                                                separate from the HC10 group (p =
                                                                                                                0.9187)
                                                                                                           o Min-test result was therefore negative.
                                                                                                           o In other planned comparisons, the
                                                                                                                HC10 group was significantly better
                                                                                                                than all other treatment groups except
                                                                                                                GBP250/HC10 (Table 9, p.35 of 380).
                                                                                                       •   The SPID6 efficacy measure for the
                                                                                                           GBP250 group was not statistically
                                                                                                           significantly better than that of the placebo
                                                                                                           group.




                                                                                                       Table 8: p.35 of 380




                                                                                                                                                           7 of 7
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                                                                                                       Table 9 – p.35 of 380.

                                                                                                       9. % of patients achieving “much improved”
                                                                                                       or “moderately improved”
                                                                                                       • Not a predefined efficacy outcome
                                                                                                       • A nurse observer queried patients regarding
                                                                                                           pain relief at the following target time points:
                                                                                                           0.33 (20 minutes), 0.66 (40 minutes), 1, 2, 3,
                                                                                                           4, 5, 6, 7, and 8 hours postdose. If rescue
                                                                                                           medication was administered, final
                                                                                                           assessment was made immediately before
                                                                                                           the dose was taken.
                                                                                                       • Pain relief was recorded using a 5-point
                                                                                                           categorical scale:
                                                                                                           o 0 = none
                                                                                                           o 1 = A little
                                                                                                           o 2 = Moderate
                                                                                                           o 3 = A Lot
                                                                                                           o 4 = Complete
                                                                                                       • The time effect curve for the GBP250/HC10
                                                                                                           group was very similar to that of the HC10
                                                                                                           group.
                                                                                                       • Separation between the placebo and
                                                                                                           GBP250/HC10 groups and the placebo and
                                                                                                           HC10 groups was observed as early as 40
                                                                                                           minutes after administration of study
                                                                                                           medication.
                                                                                                       • The PR time effect curve for the
                                                                                                           GBP250/HC10 group was statistically
                                                                                                           significantly better than the placebo group
                                                                                                           for Hours 0.66 (40 minutes) through 5 and
                                                                                                                                                              8 of 8
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                                                                                                           the GBP250 group for Hours 0.66 (40
                                                                                                           minutes) through 4 (Figure 6, p.41 of 380).
                                                                                                       •   The PR time effect curve for the
                                                                                                           GBP250/HC10 group was not statistically
                                                                                                           significantly better than the HC10 group at
                                                                                                           any time point.
                                                                                                       •   See Figure 6 (p.41 of 380) for more details
                                                                                                       •   See Appendix C.2.07 for Summary of Pain
                                                                                                           Relief (p.218 of 380)
                                                                                                       •   See appendix D.5 for analysis of Pain Relief
                                                                                                           (p.292 of 380)
                                                                                                       •   Patients also completed a Global
                                                                                                           Impression of Study Medication
                                                                                                       •   Only patient global impression was global
                                                                                                           impression of study medication on a 5-point
                                                                                                           scale, tested at end of 8-hours in clinic
                                                                                                           o 1=Poor
                                                                                                           o 2=Fair
                                                                                                           o 3=Good
                                                                                                           o 4=Very Good
                                                                                                           o 5=Excellent
                                                                                                       •   Responders were defined as those patients
                                                                                                           who evaluated their study medication as
                                                                                                           “excellent,” “very good,” or “good” on the
                                                                                                           Patient Global Assessment of Study
                                                                                                           Medication at 8 hours postdose, or at the
                                                                                                           time of rescue medication.
                                                                                                       •   See Appendix C.2.04 (215/280) and tables
                                                                                                           16, 17 (p.45 of 380) for details.

                                                                                                       Responder rates were as follows:
                                                                                                       Placebo: 9/49 (18.4%)
                                                                                                       GBP250/HC10: 33/51 (64.7%)
                                                                                                       GBP250: 18/50 (36%)
                                                                                                       HC10: 30/50 (60%)


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                                                                                                       10. Histogram presentation of all PGIC 7-
                                                                                                       point results

                                                                                                       •   N/A, no 7-point PGIC like in other trials.




                                                                                                                                                        10 of 10
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Acute Study No. 6 – Berry 2005 – Acute herpes zoster pain ‐ DBR CROSSOVER TRIAL (published) – FINAL – Dr. TL Perry, July 27, 2008                                                                                 1



Acute Study No. 6 – Berry 2005 – Acute herpes zoster pain ‐ DBR CROSSOVER TRIAL (published) – FINAL – Dr. TL Perry, July 27, 2008
Study/Design/dates               Inclusion                  Intervention(s),             Predefined                 Outcomes hierarchy (Cochrane, investigators:                       Comments/conclusions of
                                 criteria/baseline          experimental design,         outcomes/issues in         primary/secondary)                                                 Dr. Perry
                                 characteristics            N of subjects randomized     statistical analysis
                                                            (ITT)/ N who completed
                                                            study
Acute Study No. 6 (Berry         Acute herpes zoster        Study design: 6 hour         Predefined outcomes:       Safety outcomes: None of the following is suitable for             1. This is an interesting
2005)                            (“shingles”)               double blind crossover RCT                              meta-analysis because of short duration and single dose.           study which is not directly
                                                            comparing G with P as 2      Primary: Pain severity                                                                        comparable with any other
Berry JD, Peterson KL. A         Inclusion:                 arms (P/G or G/P), with >    (VAS;100 mm scale) at      Mortality: Not reported                                            study. Because it reports
single dose of gabapentin        • Herpes zoster rash       24 hours washout between     intervals during 6 hours                                                                      median pain scores, where
reduces acute pain and                onset < 45 days of    crossovers (medians: 2       after dose.                Serious Adverse Events: Not reported                               most other studies report
allodynia in patients with            enrolment             days for each sequence;                                                                                                    means, interpretation is
herpes zoster. Neurology         • Average daily pain       range: 1-6 days between      Secondary:                 Withdrawal Due to Adverse Events:                                  more difficult. Presentation
2005; 65: 444-447                     > 40 mm on a 100-     crossovers).                                            P=0/26; G=0/26                                                     of both means and
                                      mm visual analog                                   •   Allodynia area                                                                            medians, and/or
                                      scale (VAS)           Patient flow (Table 1,                                  Total withdrawals: P=0/26; G=0/26                                  presentation of individual
                                                                                         •   Allodynia severity
                                                                                                                                                                                       curves from patients during
Support: Pfizer (investigator-                              text):                       •   SF-MPQ
                                                            • Screened: not reported                                                                                                   phase 1 and phase 2 would
initiated grant)                 Exclusion:                                              •   Category of pain       Total patients with AE’s: not reported comparably to other
                                                                                                                                                                                       have been interesting. No
                                 •   Current use of         • Excluded: not reported         relief                 studies
                                                                                                                                                                                       data are presented on
Dates: November 2002 –               gabapentin             • Randomized: 26 as          •   AE                                                                                        patients’ overall preference
December 2003                    •   Other untreated            P/G=13                                              Most important AE’s (Table 5): not reported comparably to
                                                                                                                                                                                       for P or G phase, which
                                     pain as severe as          G/P=13                                              other studies
                                                                                                                                                                                       would have been easy to
Trial design: Independent.           HZ pain                •   Completed crossover:     Test of blinding: not                                                                         ascertain and report.
                                                                26                                                  NB: Authors note that “sleepiness, lightheadedness, and
                              •      Orthostasis                                         described
                                                                                                                    unsteady gait were greater after gabapentin, but wer not
DBR Crossover Trial comparing •      Renal                  •   Exposed/completed                                                                                                      2. No outcomes are
fixed dose gabapentin 900 mg                                    drug: P=26, G=26                                    correlated with reduction in pain severity …” (insignificant and
                                     insufficiency (not                                                             trivial square of correlation coefficient). However, they appear   suitable for meta-
(G) with placebo (P) for 6
                                     defined)               •   Withdrawn from                                                                                                         analysis.
hours, before or after a                                                                                            to have summed AE for which gabapentin at this dose in
                                                                treatments: P=0/13;
minimum 24 hour washout.                                                                                            similar subjects did not cause any AE, with those AE for which
                                                                G=0/13                                                                                                                 3. The most interesting
                                 Allowable drugs: stable                                                            it did (dilution of effect would negate any real correlation of
                                 topical analgesics, oral                                                           sedation or dizziness with benefit)                                feature of this study is
Concealment: identical           NSAIDs,                    Drug doses:                                                                                                                the suggestion that it



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Acute Study No. 6 – Berry 2005 – Acute herpes zoster pain ‐ DBR CROSSOVER TRIAL (published) – FINAL – Dr. TL Perry, July 27, 2008                                                    2



placebo                            acetaminophen, opioids,   Single dose of 900 mg             Total AE’s (patients may have > 1 as total exceeds total    might be possible to tell
                                   antidepressants, taken    given at baseline (time 0)        patients with AE):                                          after the first dose of
Randomization: “computer-          up to 2 hours before                                        Not reported                                                gabapentin whether a
generated, blocked, stratified     experimental medication   Statistical Analysis: (p.
                                                             444)
                                                                                                                                                           patient’s pain will
on age (> 50 or < 50) and time                                                                 None of the above is suitable for meta-analysis because of improve, which is
since rash onset (> 14 or < 14     Baseline                  Power calculation for             short duration and single dose
                                                             sample size based on effect                                                                   pharmacologically logical
days) was administered by a        characteristics:
                                   Mean age: 58 (range 21-   size of 30%, SD: 40%, 2-                                                                      and similar to most oral
study pharmacist not otherwise                                                                 Disability: not reported
involved in the study.” (p. 444)   80)                       tailed alpha 0.05, beta 0.2.                                                                  or parenteral analgesics
                                   Pain scores for P/G       Test for carry-over planned.
                                                                                               > 50% reduction in NRS pain score at endpoint vs.
                                                                                                                                                           (e.g. acetaminophen,
                                   group, G/P group          See original report.                                                                          NSAID, opioid) and a
                                                                                               baseline: not reported (not an outcome)
                                   reported as medians                                                                                                     notion very familiar to
                                   (not means)                                                 Primary outcome VAS pain score:                             patients seeking
                                   See Table 1, p. 445                                         Scores are reported as medians at various time points       symptomatic relief.
                                                                                               and are not comparable with other studies, e.g. Gilron
                                                                                               2005.                                                       4. The argument that
                                                                                               Figure (unnumbered) on p. 446 describing % reduction        analgesia was not
                                                                                               from baseline suggests curves separate after 1.5 hours      correlated with sedation
                                                                                               and were waning by 6 hours, but reports medians, not        or dizziness is
                                                                                               means. (No comparable curve for sedation or dizziness       undermined by the
                                                                                               is provided.)                                               apparent inclusion of AE
                                                                                               The reporting of outcomes is virtually impossible to        not associated with
                                                                                               understand, although the graph looks intriguing in          gabapentin in the
                                                                                               suggesting that if gabapentin has an effect on patients, it correlation calculation
                                                                                               is virtually immediate in this model (probably for AE as    (dilution effect).
                                                                                               well as pain reduction).
                                                                                                                                                           5. Uncertain effect of
                                                                                               Secondary outcomes:                                         exclusion of patients
                                                                                               See original report. None are comparable to other           currently taking gabapentin.
                                                                                               studies, nor are clearly clinically meaningful.
                                                                                               PGIC: not reported




                                                                                                                                                                                     2
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TAI 2002 – Excluded study No. 1 ‐ GABAPENTIN vs. PLACEBO FOR NEUROPATHIC PAIN AFTER SPINAL CORD INJURY – DBRCT (PUBLISHED VERSION ONLY) – final ‐                                                                   1
Dr. Thomas L. Perry, July 19, 2008


TAI 2002 – Excluded Study No. 1 ­ GABAPENTIN vs. PLACEBO FOR NEUROPATHIC PAIN AFTER SPINAL CORD INJURY – DBR CROSSOVER TRIAL (Published) ­
SUMMARY
Study/Design/dates                Inclusion criteria/baseline            Intervention(s), experimental     Predefined                   Outcomes hierarchy                   Comments/conclusions of Dr. Perry
                                  characteristics                        design,                           outcomes/issues in           (Cochrane, investigators:
                                                                         N of subjects randomized          statistical analysis         primary/secondary)
                                                                         (ITT)/ N who completed study
Excluded Study No. 1              Post spinal cord injury                Study design: 10 week double      Predefined outcomes:         Mortality:Not reported               1. This study makes no overall claim
Tai, Q, Kirshblum S, et al.       Inclusion:                             blind crossover RCT comparing                                                                       for efficacy of gabapentin., and the
Gabapentin in the Treatment of    • 18-85 years old                      G with placebo, with 2 week       Primary:                     Serious Adverse EventsNot            claim of 1 “significantly different” pain
Neuropathic Pain After Spinal     • “neuropathic pain confirmed by       washout on placebo before                                      reported; (total of 2 or 3 SAE,      score out of 10 possible subscores is
                                       a spinal cord injury physician”   crossover.                        Not clearly specified in     from text, but not                   not valid statistically because of the
Cord Injury: A prospective,
                                  • traumatic injury > 30 days old                                         methods section. As          differentiable by group)             tiny study size and multiple
randomized, double-blind,                                                                                                                                                    comparisons. Only 7/14 patients
crossover trial. J. Spinal Cord   • 11-point “Neuropathic Pain           Patient flow(p. 101):             interpreted from “Results”
                                                                         • Sceened: not reported           section, primary             Withdrawal Due to Adverse            enrolled completed the study and the
Medicine 2002; 25: 100-105.            Scale” score > 4 “representing
                                                                                                           outcomes appears to be a     Events:3/14 (group not               dropouts are not accounted for
                                       moderate to severe pain”          • 3 dayrun-in period (not
                                                                                                           difference at p < .05 for    identified)                          adequately. The outcome described is
                                  Exclusion:                                 described further)
Support: American Academy of                                                                               any of 10 possible sub-                                           very different from other studies, and
Physical Medicine and             • severe cognitive impairment          •   Excluded: not reported                                                                          not suitable for meta-analysis. The
                                                                                                           scores of “Neuropathic       Total patients with AE’s: not
Rehabilitation, Eastern           • major depression or score > 16       •   Randomized: 14
                                                                                                           Pain Index”.                                                      safety data are deficient and not
                                                                                                                                        reported (at least 3, group not
Paralyzed Veterans                     on Beck Depression Inventory      •   Withdrew: 7 (1 WDAE, 6                                     identified)                          suitable for meta-analysis. 3/7 patients
Association.                      • creatinine clearance < 60                other reaons)                 No indication is given of                                         were taking chronic oxycodone,
                                       mL/min                            •   Completed: 7                  consideration for multiple   Most important AE’s: not             ibuprofen, and amitriptyline
                                                                                                           comparisons.                                                      simultaneously, and others took
Trial design: apparently                                                                                                                reported
                                  Allowable drugs: concurrent            Drug doses:                                                                                         oxycodone as needed, but the
spontaneous by investigators.                                                                                                                                                amounts are not reported.
                                  medications already in use,            • Starting dose G=300 mg/d x                                   Primary Outcome Pain
                                  including anticonvulsant,                  2 days                                                     scores: not interpretable,
Small study of 7 ionpatients      antidepressant, other analgesics,                                                                                                          2. We should exclude this study from
and outpatients of the UMDNJ-                                            • Then 600 mg/d x 5 days                                       claim of statistically significant
                                  also new p.r.n. analgesics allowed                                                                    difference in “unpleasant            further analysis because it is too
New Jersey Medical School,                                               • Then 900 mg/d x 1 week                                                                            seriously flawed to draw any
                                                                         • Then 1200 mg/d x 1 week                                      feeling” as 1/10 subscores of
New Jersey, USA.                  NB: 3/7 subjects completing trial                                                                     Neuropathic Pain Scale at            reasonable conclusions.
                                  took continuous release                • Then 1800 mg/d x 1 week
                                                                                                                                        p=0.028 by Wilcoxon signed
DBR placebo-controlled            oxycodone, ibuprofen, and              (or equivalent placebo
                                                                                                                                        rank test ignores multiple
                                                                         capsules, all in t.i.d. divided




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Dr. Thomas L. Perry, July 19, 2008


crossover trial, totalling10   amitriptyline during the trial and   doses)                                   comparisons.
                               an unknown number took
weeks, plus 3 day initial run-in.
                               oxycodone/acetaminophen (pp.         Analysis:
Patients randomized to placebo 102, 103, 104)                       Comparison of 11 point NRS
(initial group B) or gabapentin                                     scores for 10 different
                                    Baseline characteristics:       “neuropathic pain descriptors” at
(initial group A) for 4 weeks at
                                    Age (range): 27-48              baseline, end of week 4 for each
initial dose of G=300 mg/d (or      Mostly cervical cord injuries   phase (P, G) – differences
placebo), titrated to 1800 mg/d                                     between gabapentin-treated vs.
by Day 22, then stable dose                                         placebo-treated groups in either
until Day 28; then washout x 2                                      group (A or B) tested by
weeks on placebo (? single                                          Wilcoxon signed rank test, with
blind), then treatment with                                         significance set at p < 0.05. No
alternative arm, also for 4                                         adjustment for multiple
weeks.                                                              comparisons specified in
“Drugs placed in identical                                          methods section. (p. 102)
capsules to achieve blinding.”
(p. 359)

Patients screened and enrolled
before January 2002 (dates not
indicated, publication submitted
January 16, 2002 – p. 100)

Randomization: “Pharmacist
used a random distribution
table for assignment” to Group
A (initial treatment with G) or
Group B (initial placebo control)
(p. 101)

Concealment:



                                                                                                                                                    2
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Both drugs in gelatin-coated
capsule form with “identical
shape and colour”




                                                                                                                                                    3
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       UNKNOWN SPONSOR – Excluded study No. 2 - Perez HE, Sanchez GF. Gabapentin Therapy for Diabetic Neuropathic Pain (letter) American J. Medicine 2000; 108: 689 –                                                     1
       Prepared by Thomas L. Perry, M.D. – FINAL – July 22, 2008


Study / Design / Dates         Inclusion Criteria /             Intervention(s),                   Predefined Outcomes / Issues            Outcomes Hierarchy (Cochrane, Comments / Conclusions
                               Baseline Characteristics         Experimental Design, N of          in Statistical Analysis                 investigators: primary /
                                                                Subjects Randomized                                                        secondary)
                                                                (ITT) / N Who Completed
                                                                Study
Excluded study 2               Painful diabetic neuropathy.     Study Design:                      Predefined Outcomes:                    Mortality                           1. This report is so incomplete that it is
Perez HE, Sanchez GF                                                                                                                                                           impossible to determine whether it describes a real
(Department of Medicine,       Inclusion Criteria:              Parallel group study described     Appears to be a reduction of at least   Not reported                        experiment or not. There is no description of
Division of Endocrinology,     • Diabetic patients referred     as “double-blind, controlled       50% in VAS pain score (vs. baseline)                                        methods sufficient to determine whether patients
Instituto Mexicano del             for management of            trial”, but no details are         at each visit. (“Our goal was to        Serious Adverse Events              were randomized, whether patients or investigators
Seguro Social, Monterrey,          neuropathic pain “after      provided.                          decrease the self-reported pain score                                       were blinded, whether patients experienced any of
Mexico                             conventional treatment                                          during all examinations by more than    Not reported                        the expected adverse effects, or whether
                                   failed”                      Flow of Participants:              half.”)                                                                     observations of patients’ self-reported pain score
Date of Study: ? – given       • Diagnosis by clinical          Letter does not state that                                                 Withdrawals Due to Adverse          were recorded “during all examinations” as the
editing times, substantially       examination and              patients were randomized,          NO STATISTICAL ANALYSIS PLAN            Events:                             authors indicate would have been the primary
prior to June 1, 2000 – NB:        electrophysiologic study     although Cochrane review           IS DESCRIBED, AND NO                                                        outcome.
the Pfizer/Parke-Davis-            (no details)                 suggests they were, based on       METHODS WHATSOEVER ARE                  Not reported
sponsored LADPN open-          • Pain score > 60 on 100-        unpublished subsequent             REPORTED.                                                                   One cannot reasonably include this report in
label study was run from           point VAS                    correspondence with authors.                                               Adverse Events:                     any meta-analysis, nor consider it valid for any
February 16 to 4 December                                       No information is provided                                                                                     purpose. It does not make sense for the
2001; LADPN published          Exclusion Criteria:              about technique of double-                                                 Not reported                        Cochrane systematic review (2005) to have
report does not indicate       • None reported                  blind, concealment,                                                                                            included these data, which relate to a “greater than
Perez HE or Sanchez GF as                                       randomization. Two groups                                                  Total Patients with Adverse         50% reduction of VAS pain score”, not to a “Patient
investigators for LADPN.                                        are shown in a table:                                                      Events:                             Global Impression of Change/PGIC”, and which
                                                                P = 15                                                                                                         are also completely disparate from all similar data
                               Baseline Characteristics:        G = 17                                                                     Not reported                        (Figure 1, p. 16 of Wiffen PJ et al. Cochrane
1 page letter published in     Mean age 54, duration of         Total = 32 patients                                                                                            systematic review 2005), yet are included also in
American J. Medicine, June     diabetes 14 years, HbA1c                                                                                    Primary outcome (> 50% reduction    Figure 5 of the same review.
2000:                          9.1%                             Gabapentin patients were                                                   in VAS pain score, from baseline,
                                                                started on 300 mg twice/day                                                at all visits):
Perez HE, Sanchez GF.                                           and titrated to maximum of
Gabapentin Therapy for                                          1200 mg/day in successive                                                  Not reported
Diabetic Neuropathic                                            office visits, based on clinical
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       UNKNOWN SPONSOR – Excluded study No. 2 - Perez HE, Sanchez GF. Gabapentin Therapy for Diabetic Neuropathic Pain (letter) American J. Medicine 2000; 108: 689 –   2
       Prepared by Thomas L. Perry, M.D. – FINAL – July 22, 2008


Pain (letter) American J.                         symptoms.                                              The authors report only number and
Medicine 2000; 108:                                                                                      % of patients achieving this endpoint
689                                               Patients were observed for 3                           at 1 month, although they state that
                                                  months with multiple office                            patients were observed for 3 months:
Purportedly a DBRCT                               visits (number and timing not
but no details provided                           reported).                                             P = 2/15 (13%)
in report; Cochrane                                                                                      G = 14/17 (82%)
review 2005 (Wiffen PJ                            Authors state that patients
et al) states that                                were observed for 3 months                             p reported as 0.00012 (“Fisher’s
correspondence with                               but present data only for “pain                        exact test or Student’s t test”)
authors clarified                                 relief at 1 month” defined as
randomization, but                                “at least 50% reduction in pain                        THIS IS NOT A RELIABLE
gives no details.                                 score”.                                                STATISTICAL TEST AS THE
                                                                                                         OUTCOME REPORTED APPEARS
                                                                                                         TO BE A POST-HOC ANALYSIS OF
                                                                                                         A SINGLE TIME POINT, RATHER
                                                                                                         THAN THE APPARENT PRE-
                                                                                                         DEFINED PRIMARY ENDPOINT
                                                                                                         (assessment of pain at multiple
                                                                                                         visits)
